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                                     EXHIBIT A

                                    Proposed Order




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                          Debtor.1                        Re: Docket No. ___


   ORDER (A) APPROVING BIDDING PROCEDURES AND PROTECTIONS IN
CONNECTION WITH CERTAIN OF THE DEBTOR’S ASSETS FREE AND CLEAR OF
  LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS; (B) SCHEDULING AN
 AUCTION AND SALE HEARING; (C) APPROVING THE FORM AND MANNER OF
         NOTICE THEREOF; AND (D) GRANTING RELATED RELIEF

             Upon consideration of the Debtor’s Motion for Entry of an Order: (I)(A) Approving

Bidding Procedures and Protections in Connection with a Sale of Certain of the Debtor’s Assets

Free and Clear of Liens, Claims, Encumbrances, and Interests; (B) Scheduling an Auction and

Sale Hearing; (C) Approving the Form and Manner of Notice Thereof; and (D) Granting Related

Relief and (II)(A) Authorizing and Approving the Sale of Debtor’s Assets Free and Clear of All

Liens, Claims, Interests, and Encumbrances; and (B) Granting Related Relief (the “Sale

Motion”)2, the Declaration of Jay Quickel in Support of First Day Motions [D.I. 10] and the

Declaration of Jay Quickel in Support of the Sale Motion (collectively, the “Quickel

Declarations”), the Declaration of Adam Meislik in Support of the Sale Motion (the “Meislik

Declaration”, and collectively with the Sale Motion and the Quickel Declarations, the “Sale

Pleadings”) filed by the above-captioned debtor and debtor-in-possession (the “Debtor”); the Court

having reviewed the Sale Pleadings and the record in the Debtor’s chapter 11 case (the “Chapter

11 Case”); the Court having considered the statements of counsel to the Debtor and other parties


1
  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.
2
  Except where otherwise indicated, capitalized terms used but not defined herein shall have the meanings ascribed
to them in the Sale Pleadings or the Agreement (each as defined herein), as applicable.



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in interest, the Court finds that establishing bidding and sale procedures in connection with a sale

of the Assets (collectively, the “Bidding Procedures”), in accordance with the provisions contained

herein (the “Bidding Procedures Order”), is in the best interests of the Debtor’s estate.

       IT IS HEREBY FOUND AND DETERMINED THAT:

       A.      Findings of Fact and Conclusion of Law. The findings and conclusions set forth

herein constitute the Court’s findings of fact and conclusions of law pursuant to Rule 7052 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), made applicable to this

proceeding pursuant to Rule 9014 of the Bankruptcy Rules. To the extent any findings of fact

herein constitute conclusions of law, they are adopted as such. To the extent any conclusions of

law herein constitute findings of fact, they are adopted as such.

       B.      Jurisdiction and Venue. The Court has jurisdiction over the Sale Motion and the

transaction contemplated in the Agreement (as defined herein) pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012, and this matter is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2)(A), (M), and (O). Venue in this district is proper under 28 U.S.C. §§

1408 and 1409.

       C.      Basis for Relief. The statutory bases for the relief requested in the Sale Motion are

(i) sections 105, 363, 365, and 503 of title 11 of the United States Code (the “Bankruptcy Code”)

and (ii) Rules 2002(a)(2), 6004, 6006, and 9014 of the Bankruptcy Rules and Rules 2002-1 and

6004-1 of the Local Rules for the United States Bankruptcy Court District of Delaware (the “Local

Rules”).

       D.      Notice. As evidenced by the certificates of service filed with the Court, proper,

timely, adequate, and sufficient notice of, and a reasonable opportunity to object or otherwise to

be heard regarding: the Sale Motion and the relief sought therein, and such notice complied with


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all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules, and Local Rules, and

no other or further notice is required except as set forth herein with respect to a hearing (the “Sale

Hearing”) before the Court to approve the transactions contemplated by (i) that certain Asset

Purchase Agreement by and between Agway Farm & Home Supply LLC and True Value

Company, L.L.C. (the “Stalking Horse Bidder”) in substantially the same form as attached hereto

as Exhibit 4 (the “Agreement”); and (ii) that certain Asset Purchase Agreement (“FL Hardware

APA” and together with the Agreement, the “Agreements”) by and between the Debtor and Florida

Hardware, LLC (“FL Hardware” and collectively with the Stalking Horse Bidder, the “Stalking

Horse Bidders”) in substantially the same form as attached hereto as Exhibit 5.

       E.      Approval of the Bidding Procedures. The Debtor has demonstrated good and

sufficient reasons for the Court to: (i) approve the Bidding Procedures; (ii) set the Auction and the

Sale Hearing and approve the form and manner of notice of the Auction and the Sale Hearing; and

(iii) grant the Break-up Fee as provided in this Bidding Procedures Order. The entry of this

Bidding Procedures Order is in the best interests of the Debtor, its estate, creditors, and all other

parties in interest. The Bidding Procedures are fair, reasonable, and appropriate and are designed

to maximize the value to be achieved for the Assets. The Bidding Procedures and the Agreements

were each negotiated in good faith and at arm’s length by the Debtor, the official committee of

unsecured creditors (the “Committee”) and the Stalking Horse Bidders. The Agreements represent

the highest or otherwise best offer that the Debtor has received to date to purchase the Purchased

Assets, including the Inventory Assets. The selection of the Stalking Horse Bidders were fair and

appropriate and is in the best interests of the Debtor’s estate under the circumstances.




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        F.      Break-up Fee. The Debtor has proposed to pay the Break-up Fee in the amount of

3% of the purchase price to each of the Stalking Horse Bidders. The Debtor has demonstrated a

compelling business justification of the payment of the Break-up Fee under the circumstances set

forth in this Order and in the Agreements. The Break-up Fee (i) is payable as provided in each

Agreement, (ii) is of substantial benefit to the Debtor’s estate, (iii) is reasonable and appropriate

in light of the size and nature of the sale and the efforts that have been or will be expended by the

relevant Stalking Horse Bidders, notwithstanding that the proposed sale is subject to higher and

better offers for the Assets, (iv) was negotiated by the parties at arm’s length and in good faith,

and (v) is necessary to ensure that the relevant Stalking Horse Bidder will continue to pursue its

proposed acquisition of the Purchased Assets contemplated in the Agreement. The Debtor shall

be responsible for payment of the Break-Up Fee which shall be paid only in the event that the

relevant Stalking Horse Bidders is not the successful bidder for the Assets. The relevant Stalking

Horse Bidder is unwilling to commit to purchase the Purchased Assets under the terms of the

Agreement without approval of the Break-up Fee.

        G.      Local Rule. The Bidding Procedures comply with the requirements of Local Rule

6004-1(c).

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED THAT:

        1.      The Sale Motion is GRANTED with respect to all issues other than the approval of

the Sale, to the extent set forth herein.

        2.      Except as provided to the contrary herein, all objections to the Sale Motion or the

relief provided herein that have not been withdrawn, waived, or settled, and all reservations of

rights included therein, are overruled and denied on the merits with prejudice.




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           3.       Approval of Bidding Procedures. The Bidding Procedures, attached hereto as

Exhibit 1, are hereby approved in their entirety, are incorporated herein by reference, and shall

govern the bids and proceedings related to the sale and the Auction, and the key dates for the sales

process, attached hereto as Exhibit 2 (the “Bidding Procedures Key Dates”), are hereby approved

in their entirety and incorporated herein by reference.

           4.       The Debtor is authorized to take any and all actions necessary or appropriate to

implement the Bidding Procedures.

           5.       Stalking Horse Bidder. True Value Company, L.L.C. is approved as the Stalking

Horse Bidder for the Purchased Assets, in accordance with the terms of the Agreement. Florida

Hardware, LLC is approved as the Stalking Horse Bidder for the Inventory Assets, in according

with the terms of the FL Hardware APA.

           6.       Bid Deadline. October 10, 2022 at 5:00 p.m.,3 is hereby set as the Bid Deadline,

as further detailed in the Bidding Procedures.

           7.       Auction. If the Debtor receives one or more Qualified Bids (as defined in the

Bidding Procedures) (other than the bid submitted by the Stalking Horse Bidder) by the Bid

Deadline, the Auction shall take place on October 10, 2022 at 10:00 a.m., at the offices of Morris

James, 500 Delaware Avenue, Suite 1500, Wilmington, DE 19801, or such other place as the

Debtor, in consultation with the Consultation Parties (as defined in the Bidding Procedures) shall

notify all proposed attendees. All parties other than Debtor’s local counsel may attend the Auction

via Zoom video conference pursuant to instructions to be provided no later than twenty-four (24)

hours prior to the Auction. The Auction shall be conducted in accordance with the Bidding

Procedures and will be stenographically recorded.



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    Unless expressly stated otherwise, all references to time refer to prevailing Eastern Time.


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         8.       Break-up Fee. Section 3.3 of the Agreement and of the FL Hardware APA is hereby

approved in its entirety and binding upon the Debtor, its estate, and all parties in interest. In

connection therewith, the Debtor’s obligation to pay the Break-up Fee, as provided in the

Agreements, is hereby approved in its entirety and shall survive termination of the Agreements.

         9.       Payment of Break-up Fee.             If the relevant Stalking Horse Bidder is not the

Successful Bidder, the Debtor shall pay a break-up fee to the Stalking Horse Bidder in an amount

equal to 3% of the purchase price (the “Break-Up Fee”)4 inclusive of the actual, reasonable, and

documented expenses of the Stalking Horse Bidder incurred in connection with the negotiation,

execution, and preparation for the consummation of the transactions contemplated in the

Agreement. The Break-up Fee is payable within two Business Days after the closing of the

transaction with the Successful Bidder (or the Backup Bidder that becomes the Successful Bidder).

For the avoidance of doubt, the Stalking Horse Bidder does not waive its right to the Break-up Fee

by placing an Overbid(s), and shall be allowed to credit bid the amount of the Break-up Fee in any

Overbid(s).

         10.      The obligation to pay the Break-up Fee in full by wire transfer of immediately

available funds when due shall not be discharged, modified, or otherwise affected by any chapter

11 plan in the Chapter 11 Case or by any other order or action of the Court, including but not

limited to conversion of the Chapter 11 Case to a case under Chapter 7. The Break-up Fee shall

be an allowed administrative expense claim.

         11.      No Break-up Fees for Other Bidders. Except for the Stalking Horse Bidder, no

other entity (as defined in the Bankruptcy Code) submitting an offer or Bid for the Purchased


4
  Similarly, if FL Hardware is not the Successful Bidder for the Inventory Assets, the Debtor shall pay a break-up fee
to FL Hardware in an amount equal to 3% of the Purchase Price (as “Purchase Price” is defined in the FL Hardware
APA). All other terms relating to the Break-up Fee (as defined herein) shall apply to the break-up fee authorized to
be paid to FL Hardware.


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Assets or a Qualified Bid shall be entitled to any expense reimbursement, or break-up, termination,

or similar fees or payment.

       12.      The Sale of the Purchased Assets is consistent with the Debtor’s privacy policy and

the appointment of a consumer privacy ombudsman is not required under 11 U.S.C. §

363(b)(1)(B).

       13.      Sale Notice. The notice of the sale of the Purchased Assets, substantially in the

form attached hereto as Exhibit 3 (the “Sale Notice”), is hereby approved in its entirety.

       14.      Service of the Sale Notice and Bidding Procedures Order. No later than two (2)

Business Days after entry of the Bidding Procedures Order, the Debtor will cause the Sale Notice

and this Bidding Procedures Order to be sent by electronic mail, if known, and first-class mail,

postage prepaid, to the following: (a) all creditors or their counsel known to the Debtor to assert a

lien (including any security interest), claim, right, interest, or encumbrance of record against all or

any portion of the Purchased Assets; (b) the Office of the United States Trustee for the District of

Delaware; (c) counsel to each of the Stalking Horse Bidders; (d) counsel to the Committee; (e) all

parties in interest who have requested notice pursuant to Bankruptcy Rule 2002; (f) all applicable

federal, state, and local taxing and regulatory authorities of the Debtor or recording offices or any

other governmental authorities that, as a result of the sale of the Purchased Assets or Inventory

Assets, may have claims, contingent or otherwise, in connection with the Debtor’s ownership of

the Purchased Assets or Inventory Assets or have any known interest in the relief requested by the

Sale Pleadings; and (g) all potential bidders previously identified or otherwise known to the

Debtor.

       15.      Notice. Compliance with the foregoing provisions for the Sale Notice shall

constitute sufficient notice of the Debtor’s proposed sale of the Purchased Assets or Inventory




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Assets free and clear of liens, claims, interests, and encumbrances, pursuant to section 363(f) of

the Bankruptcy Code and otherwise, and, except as set forth in this Bidding Procedures Order, no

other or further notice of the sale shall be required to be provided by the Debtor.

       16.     Sale Objections. Any objections to the sale of any the Assets and the sale

contemplated in the Agreements, or the relief requested in the Sale Motion, must: (a) be in writing;

(b) state the basis of such objection with specificity; (c) comply with the Bankruptcy Rules and

the Local Rules; (d) be filed with the Clerk of the United States Bankruptcy Court for the District

of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before October 10,

2022 at 4:00 p.m. (the “Sale Objection Deadline”); and (e) be served upon: (i) the Debtor,

Jay.quickel@agway.com; (ii) counsel to the Debtor, Shulman Bastian Friedman & Bui LLP, 100

Spectrum Center Drive, Suite 600, Irvine, California 92618, Attn: Alan J. Friedman, Melissa Lowe

and    Max     Casal,    afriedman@shulmanbastian.com,         mlowe@shulmanbastian.com         and

mcasal@shulmanbastian.com, and Morris James LLP, 500 Delaware Avenue, Suite 1500,

Wilmington, DE 19801, Attn: Jeffrey Waxman and Brya Keilson, jwaxman@morrisjames.com

and bkeilson@morrisjames.com; (iii) counsel to the Stalking Horse Bidder True Value Company,

L.L.C., Beck, Chaet, Bamberger & Polsky, S.C., 330 E. Kilbourn Avenue, Suite 1085, Milwaukee,

WI 53202, Attn: Devon J. Eggert, deggert@bcblaw.net; (iv) counsel to the Stalking Horse Bidder

FL Hardware, Smith Gambrell Russell, 50 N. Laura Street, Suite 2600, Jacksonville, FL 32202,

Attn: Brandon Dodd, bdodd@sgrlaw.com and Brian Hall, bhall@sgrlaw.com; (v) the Office of the

United States Trustee, United States Trustee, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn: Richard Schepacarter, Richard.Schepacarter@usdoj.gov; and

(vi) counsel to the Committee, Pachulski Stang Ziehl & Jones LLP, Attn: Bradford J. Sandler,

bsandler@pszjlaw.com and Paul J. Labov, plabov@pszjlaw.com.




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       17.     The proposed form of Sale Order shall be filed no later than October 14, 2022 at

4:00 p.m.

       18.     Participation in the Bidding Process. All entities that participate in the bidding

process or the Auction shall be deemed to have knowingly and voluntarily submitted to the

exclusive jurisdiction of the Court with respect to all matters related to the terms and conditions

of the transfer of Assets, the Auction, and any transaction contemplated herein.

       19.     Sale Hearing. The Sale Hearing shall be held before the Court on October 17,

2022 at 3:00 p.m. The Sale Hearing may be continued, from time to time, without further notice

to creditors or other parties in interest other than by filing a notice on the Court’s docket.

       20.     Backup Bidder.      Notwithstanding anything in the Bidding Procedures to the

contrary, if an Auction is conducted, the entity with the second highest or otherwise best Qualified

Bid at the Auction, as determined by the Debtor, in the exercise of its business judgment, and in

consultation with the Consultation Parties (as defined in the Bidding Procedures), will be

designated as the Backup Bidder. The Backup Bidder shall be required to keep its Backup Bid

open and irrevocable until the earlier of (i) the closing of the transaction with the Successful

Bidder, and (ii) thirty (30) days following entry of the Sale Order (the “Outside Backup Date”)

subject to the Stalking Horse Bidder’s rights under the Agreement, and any deposit received from

the Backup Bidder shall be maintained by the Debtor until the Outside Backup Date. Following

the Sale Hearing, if the Successful Bidder fails to consummate the Successful Bid, the Debtor shall

proceed to consummate the Backup Bid with the Backup Bidder. A hearing to authorize a sale to

the Backup Bidder will be held before the Court on no less than five (5) days’ notice, with

objections due at least one (1) day prior to such hearing (the “Backup Sale Hearing”). For the




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avoidance of doubt, the scope of such hearing shall be limited to issues relating to the identity of

the Backup Bidder.

       21.     Bidding Procedures Order Controls. To the extent that any chapter 11 plan

confirmed in the Chapter 11 Case or any order confirming any such plan or any other order in the

Chapter 11 Case (including any order entered after any conversion of the Chapter 11 Case to a

case under chapter 7 of the Bankruptcy Code) alters, conflicts with, or derogates from the

provisions of this Bidding Procedures Order, the provisions of this Bidding Procedures Order shall

control. Notwithstanding the above, nothing in the Bidding Procedures Order, the Agreement, or

any sale order shall grant any tax exemption pursuant to Section 1146(a). The Debtor’s obligations

under this Bidding Procedures Order, the provisions of this Bidding Procedures Order, and the

portions of the Agreement pertaining to the Bidding Procedures shall survive conversion of any of

the Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, confirmation of any chapter

11 plan in the Chapter 11 Case, or discharge of claims thereunder and shall be binding upon the

Debtor, a chapter 7 trustee, and the reorganized or reconstituted Debtor, as the case may, after the

effective date of any confirmed chapter 11 plan in the Debtor’s case (including any order entered

after any conversion of the Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code).

       22.     Immediate Effectiveness of the Bidding Procedures Order. Notwithstanding the

possible applicability of Bankruptcy Rules 6004(h), 6006(d), 7062, or 9014, or any other

provisions of the Bankruptcy Rules or the Local Rules stating the contrary, the terms and

conditions of this Bidding Procedures Order shall be immediately effective and enforceable upon

its entry, and no automatic stay shall apply to this Bidding Procedures Order.

       23.     Calculation of Time. All time periods set forth in this Bidding Procedures Order

shall be calculated in accordance with Bankruptcy Rule 9006(a).




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       24.     Authorization of Debtor. The Debtor is authorized to take all actions necessary to

effectuate the relief granted pursuant to this Bidding Procedures Order in accordance with the Sale

Pleadings, including executing the Agreement. No further or additional order from the Court shall

be required to give effect to the provisions set forth in this Bidding Procedures Order.

       25.     Inconsistencies. In the event there is any inconsistency between this Bidding

Procedures Order and the Sale Pleadings, the Bidding Procedures, or the Agreement, this Bidding

Procedures Order shall govern.

       26.     Jurisdiction. The Court shall retain jurisdiction over any matters related to or

arising from the implementation of this Bidding Procedures Order. All matters arising from or

related to the implementation of this Bidding Procedures Order may be brought before the Court

as a contested matter, without the necessity of commencing an adversary proceeding.




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                         Exhibit 1

                     Bidding Procedures




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                                       BIDDING PROCEDURES1

        By the Sale Motion dated ___, 2022, Agway Farm & Home Supply LLC (the “Debtor”)
sought approval of, among other things, the procedures by which they will determine the highest
or otherwise best price for the sale of the Debtor’s Assets, including, but not limited to: (i) the
brand/trademark portfolio, domain name/registration, dealer agreements and customer list, and
certain equipment (the “Purchased Assets”) as described in the Asset Purchase Agreement dated
as of August __, 2022 (the “Agreement”), by and between the Debtor, as seller, and True Value
Company, L.L.C. (the “Stalking Horse Bidder”), as buyer, a copy of which is attached as t A to
the Sale Order; and (ii) any or all of the Debtor’s remaining assets (the “Remaining Assets”).

       On September [ ], 2022, the United States Bankruptcy Court for the District of Delaware
(the “Court”) entered an order (the “Bidding Procedures Order”) that, among other things,
authorized the Debtor to determine the highest or otherwise best price for the Assets through the
process and procedures set forth therein and herein (the “Bidding Procedures”).

       Unless expressly indicated, the Bidding Procedures apply to all Bidders for both the
Purchased Assets and the Remaining Assets.

                                      Access to Diligence Materials

       To participate in the bidding process and to receive access to due diligence (the “Diligence
Materials”), an entity (as defined in the Bankruptcy Code) must submit to the Debtor an executed
confidentiality agreement in the form and substance satisfactory to the Debtor.

       An entity who qualifies for access to Diligence Materials shall be a “Preliminary Interested
Bidder.” All requests for Diligence Materials must be directed to the Debtor.

        For any Preliminary Interested Bidder who is a competitor of the Debtor or is affiliated
with any competitor of the Debtor, the Debtor reserves the right, following consultation with the
Consultation Parties, to withhold any Diligence Materials that the Debtor determines are business-
sensitive or otherwise not appropriate for disclosure to such Preliminary Interested Bidder at such
time.

        The Debtor shall provide the Stalking Horse Bidder with access to all written Diligence
Materials, management presentations, on-site inspections, and other information provided to any
Preliminary Interested Bidder that were not previously made available to the Stalking Horse Bidder
as soon as reasonably practicable and in no event later than one (1) business day after the date the
Debtor made such information available to any Preliminary Interested Bidder; provided, however,
that this requirement shall be deemed satisfied by the Debtor if such information is posted to the
data room established by the Debtor. Neither the Debtor nor any of its representatives will be
obligated to furnish any information relating to the Assets to any entity other than to the Stalking
Horse Bidder and Preliminary Interested Bidders. The Debtor makes no representations or
warranty as to the information to be provided through this due diligence process or otherwise,

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         Capitalized terms used but not defined herein shall have the meanings set forth in the Bidding Procedures
Order or the Agreement, as applicable.


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except to the extent set forth in the Agreement or in any other definitive agreement the Debtor
executes with a Successful Bidder (as defined herein).

                                    Bid Qualification Process

       To be eligible to participate in the Auction (as defined herein), each offer, solicitation, or
proposal (each, a “Bid”), and each entity submitting such a Bid (each, a “Bidder”), must be
determined by the Debtor, in consultation with the Consultation Parties, to satisfy each of the
following conditions (other than the Bid of the Stalking Horse Bidder):

               (a)     Form: The Bid must: (i) be in writing; (ii) disclose the identity of each entity
               that will be bidding for the assets or otherwise participating in connection with such
               Bid (provided, however, that if the entity that is the Bidder is a special purpose
               vehicle or other entity without existing operations (as determined by the Debtor, in
               consultation with the Consultation Parties) the Bid must disclose the identity or
               identities of each ultimate owner or participant in the entity that is the Bidder); (iii)
               be in the form of a duly authorized, executed, and non-contingent purchase
               agreement, together with all schedules, exhibits, and related documents thereto; and
               (iv) include clearly marked versions of the Bid against the Agreement and the
               proposed Sale Order showing all changes requested by the Bidder.

               (b)    Good Faith Deposit: The Bid must be accompanied by a cash deposit in an
               amount equal to $108,750 to be held in trust by the Debtor’s counsel (the “Good
               Faith Deposit”).

               (c)     Assets: The Bid must clearly identify which Assets the Bidder intends to
               purchase and which liabilities and obligations the Bidder agrees to assume or pay.
               For the avoidance of doubt, a Bid may be a bid on the Assets in either (i) individual
               lots (by brand and/or by division or any other combination), (ii) as a collective
               whole, or (iii) in any combination.

               (d)     Same or Better Terms: The Bid must be on terms and conditions that are
               substantially the same as or better than, not more burdensome in any material way
               than, and no more conditional than the terms of the Agreement, as determined by
               the Debtor, in consultation with the Consultation Parties. Without limiting the
               foregoing, the Bid may not contain additional representations and warranties,
               covenants, termination rights, covenants, financing or due diligence contingencies,
               or closing conditions, other than as may be included in the Agreement (it being
               agreed and understood that such Bid shall modify the Agreement as needed to
               comply in all respects with the Bidding Procedures Order and will remove
               provisions that apply only to the Stalking Horse Bidder as the stalking horse bidder,
               such as the Break-up Fee).

               (e)    Corporate Authority: The Bid must include written evidence reasonably
               acceptable to the Debtor, in consultation with the Consultation Parties,
               demonstrating that the Bidder has full power and authority (including full corporate



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                    or other organizational power and authority) to consummate the proposed
                    transaction contemplated by the Bid.

                    (f)     Proof of Financial Ability to Perform: To the extent that the Bid is not
                    accompanied by evidence of the Bidder’s capacity to consummate the transaction
                    contemplated by the Bid with unrestricted and fully available cash, the Bid must
                    include written evidence of a firm, irrevocable commitment for financing or other
                    evidence of ability to consummate the proposed transaction, documented to the
                    satisfaction of the Debtor, in consultation with the Consultation Parties, by the
                    submission of recent financial documentation (audited, if available), that will allow
                    the Debtor (in consultation with the Consultation Parties) to make a reasonable
                    determination as to the financial and other capabilities of the Bidder to consummate
                    the transaction contemplated by the Bid.

                    (g)    Contingencies: The Bid may not be conditioned on obtaining financing,
                    obtaining any internal approval, or on the outcome or review of due diligence, but
                    may be subject to the accuracy in all material respects of specified representations
                    and warranties at the Closing.

                    (h)     Irrevocable: The Bid must be irrevocable through the Auction; provided,
                    however, that if such Bid is accepted as the Successful Bid or a Backup Bid (each
                    as defined herein), such Bid shall continue to remain irrevocable, subject to the
                    terms and conditions of the Bidding Procedures until two days after the Closing
                    Date.

                    (i)     Bid Deadline. Regardless of when an entity qualifies as a Preliminary
                    Interested Bidder, the following entities must receive a Bid in writing, transmitted
                    via email (in .pdf or similar format) so as to be received no later than 5:00 p.m. on
                    or before October 10, 2022 (the “Bid Deadline”):2 (i) the Debtor,
                    jay.quickel@agway.com; (ii) counsel to the Debtor, Shulman Bastian Friedman &
                    Bui LLP, Attn: Alan J. Friedman, afriedman@shulmanbastian.com, Melissa Lowe,
                    mlowe@shulmanbastian.com, and Max Casal, mcasal@shulmanbastian.com;
                    Morris James LLP, Attn: Jeffrey Waxman, jwaxman@morrisjames.com, and Brya
                    Keilson, bkeilson@morrisjames.com; and (iii) counsel to the Committee, Pachulski
                    Stang Ziehl & Jones LLP, Attn: Bradford J. Sandler, bsasndler@pszjlaw.com and
                    Paul J. Labov, plabov@pszjlaw.com.

                    (j)    Amount of Bid. Each Bid must clearly show the amount of the purchase
                    price and if a bid is for more than one Asset, an allocation of the purchase price
                    across the individual Assets. In addition, a Bid (either standing alone or in
                    combination with other Bids) for the Purchased Assets must include a cash
                    purchase price that is in an amount equal to at least $819,250, which consists of (i)
                    the consideration set forth in the Agreement in the amount of $725,000, plus (ii)
                    $72,500, plus (iii) the amount of the Break-up Fee of $21,750.


2
    Unless expressly stated otherwise, all references to time refer to prevailing Eastern Time.

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               (k)     Affirmative Statement. Each Bid shall be accompanied by an affirmative
               statement that: (i) all Bidders submitting such Bid have acted in good faith
               consistent with section 363(m) of the Bankruptcy Code; (ii) all Bidders submitting
               such Bid have and will continue to comply with the Bidding Procedures; and (iii)
               the Bid does not entitle such Bidder (other than the Stalking Horse Bidder) to, and
               such Bidder disclaims any right to, any expense reimbursement or break-up,
               termination, or similar fee or payment, and (iv) all Bidders submitting such Bid
               waive any substantial contribution (administrative expense) claims under section
               503(b) of the Bankruptcy Code related to the bidding for the Debtor’s assets or
               otherwise participating in the Auction.

               (l)     Consent to Jurisdiction as Condition to Bidding. All entities that participate
               in the bidding process of the Auction (as defined herein) shall be deemed to have
               knowingly and voluntarily submitted to the exclusive jurisdiction of the United
               States Bankruptcy Court for the District of Delaware with respect to all matters
               related to the terms and conditions of the transfer of Purchased Assets, the Auction,
               and any transaction contemplated by the Bidding Procedures Order.

               (m)    Covenant Against Anti-Competitive Behavior. Each Bid shall be
               accompanied by a written covenant by the Bidder agreeing not to, without
               permission from the Debtor, affirmatively contact any of the Debtor’s employees,
               contractors, vendors, or material customers from the date of such Bid until the
               Auction. If the Bidder defaults with respect to the foregoing covenant, the Bid may
               be deemed by the Debtor, in its reasonable business judgment, in consultation with
               the Consultation Parties, to not be a Qualified Bid.

               (n)     Acknowledgement and Representation. Each Bid shall include an
               acknowledgement and representation (i) that the Bidder has had an opportunity to
               conduct all due diligence regarding the Debtor’s assets prior to submitting its bid
               and that it has relied solely upon its own independent review, investigation, and
               inspection of any documents and assets in making its Bid, and (ii) confirms the
               Bidder’s completion of all due diligence required by such Bidder and does not
               include any due diligence contingencies as further defined in paragraph (g) herein.

        The Debtor will review each Bid received from a Bidder to determine, in conjunction with
the Consultation Parties, whether it meets the requirements set forth herein and in the Bidding
Procedures Order. A Bid received from a Bidder before the Bid Deadline that meets the above
requirements shall constitute a “Qualified Bid,” and such Bidder shall constitute a “Qualified
Bidder.” The Debtor shall attempt to inform Bidders whether or not their Bids have been
designated as Qualified Bids by the Debtor no later than twenty-four (24) hours after such Bids
are received to either address any questions with respect to the Bid, if there are any, or to confirm
that such Bid has been deemed a Qualified Bid. Notwithstanding anything herein to the contrary,
upon payment of the deposit by the Stalking Horse Bidder, (a) the Agreement submitted by the
Stalking Horse Bidder shall be deemed a Qualified Bid, and (b) the Stalking Horse Bidder is a
Qualified Bidder. Prior to the Auction, the Debtor shall provide copies of all Qualified Bids to all
Qualified Bidders, including the Stalking Horse Bidder, at the same time.


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        All entities that participate in the bidding process or the Auction (as defined herein) shall
be deemed to have knowingly and voluntarily submitted to the exclusive jurisdiction of the Court
with respect to all matters related to the terms and conditions of the transfer of the Debtor’s assets,
the Auction, and any transaction contemplated by the Bidding Procedures Order.

                                               Auction

        If one or more Qualified Bids (other than the Agreement submitted by the Stalking Horse
Bidder) is received by the Bid Deadline, the Debtor will conduct an auction (the “Auction”) to
determine the highest or otherwise best Qualified Bid. If no Qualified Bid (other than the
Agreement) is received by the Bid Deadline, no Auction shall be conducted and the Agreement
shall be deemed to be the Successful Bid, the Stalking Horse Bidder shall be deemed to be the
Successful Bidder, and the Debtor will seek approval of the Agreement and the Stalking Horse
Bid at the Sale Hearing. All creditors and Qualified Bidders may attend the Auction but only
Qualified Bidders may participate in the Auction.

        The Auction shall take place on October 14, 2022 at 10:00 a.m., at the offices of Morris
James LLP, 500 Delaware Avenue, Suite 1500, Wilmington, DE, or such other place and time as
set by the Debtor, in consultation with the Consultation Parties, after providing notice to all
proposed attendees. All parties other than Debtor’s local counsel may attend the Auction via Zoom
video conference pursuant to instructions to be provided no later than twenty-four (24) hours prior
to the Auction.

               (a)     The Debtor Shall Conduct the Auction. The Debtor shall direct and preside
               over the Auction in consultation with the Consultation Parties, and the Auction will
               be stenographically recorded. Each Qualified Bidder participating in the Auction
               must confirm that it has not engaged in any collusion with respect to the bidding or
               sale of the Debtor’s assets.

               Only Qualified Bidders will be entitled to make any Bids at the Auction.

               Prior to the start of the Auction, the Debtor will share with all Qualified Bidders
               the highest or otherwise best Qualified Bid received by the Bid Deadline (the
               “Baseline Bid”). Qualified Bidders will be permitted to revise, increase, and/or
               enhance their Qualified Bids at the Auction in a manner that would make their
               Qualified Bids higher or otherwise better than the Baseline Bid (as determined by
               the Debtor, in consultation with the Consultation Parties). All Qualified Bidders
               will have the right to make additional modifications to their Qualified Bid or
               Agreement, consistent with the Bidding Procedures, as applicable, at the Auction.
               The Stalking Horse Bidder may credit bid the amount of the Break-up Fee in
               connection with any subsequent modification to the Agreement.

               Notwithstanding the foregoing, the Debtor, in consultation with the Consultation
               Parties, shall have the right to: (i) negotiate with any of the Qualified Bidders
               participating in the Auction; (ii) increase or decrease the bidding increments
               throughout the Auction; (iii) conduct the Auction in a format which maximizes
               the value of the Assets, which may include an open cry auction, one or more

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  rounds of sealed bidding, or any combination of the foregoing and/or other
  means; (iv) reject a Bid; (v) request additional information of any Bidder
  necessary to clarify a Bid or determine the highest or best offer; and (vi) modify
  these Bidding Procedures, as the Debtor, in consultation with the Consultation
  Parties, deems necessary in its reasonable business judgment.

  (b)     Terms of Overbids. An “Overbid” is any Bid made at the Auction
  subsequent to the Debtor’s announcement of the Baseline Bid that satisfies each of
  the following:

         (i)     Minimum Overbid Increment. The Minimum Overbid Increment
         shall be $10,000, provided, however, the Debtor, in consultation with the
         Consultation Parties, may modify the Minimum Overbid Increment to
         something more than $10,000 at any time before or during the Auction.

         (ii)    Remaining Terms Are the Same as for Qualified Bids. Except as
         modified herein, an Overbid must comply with the conditions for a
         Qualified Bid set forth herein; provided, however, that the Bid Deadline
         shall not apply. Any Overbid must remain open and binding on the Bidder
         until and unless the Debtor accepts a higher Overbid.

         (iii)  Credit Bid of Break-up Fee. In the event a Qualified Bidder submits
         a Qualified Bid that is higher than that of the Stalking Horse Bidder, the
         Stalking Horse Bidder shall be allowed to credit bid the amount of the
         Break-up Fee in any Overbids.

  (c)      Successful Bidder. The Auction shall continue until the Debtor determines
  in its reasonable business judgment (in consultation with the Consultation Parties)
  that there is a highest or otherwise best Qualified Bid at the Auction (a “Successful
  Bid,” and each Bidder submitting such Successful Bid, a “Successful Bidder”). The
  Auction shall not close unless and until all Bidders who have submitted Qualified
  Bids have been given a reasonable opportunity, as determined by the Debtor, to
  submit an Overbid at the Auction to the then-existing Overbids and the Successful
  Bidder has submitted fully executed sale and transaction documents memorializing
  the terms of the Successful Bid.

  (d)     Backup Bidder. Notwithstanding anything in the Bidding Procedures to the
  contrary, if an Auction is conducted, the entity with the second highest or otherwise
  best Qualified Bid at the Auction, as determined by the Debtor, in the exercise of
  its business judgment, will be designated as the backup bidder (the “Backup
  Bidder”). The Backup Bidder shall be required to keep its initial Bid (or, if the
  Backup Bidder submitted one or more Overbids at the Auction, its final Overbid)
  (the “Backup Bid”) open and irrevocable until the earlier of (i) the closing of the
  transaction with the Successful Bidder or (ii) thirty days following entry of the Sale
  Order (the “Outside Backup Date”), subject to the Stalking Horse Bidder’s rights
  under the Agreement. Following the Sale Hearing, if the Successful Bidder fails to
  consummate an approved transaction), the Debtor shall proceed to consummate the

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               Backup Bid with the Backup Bidder. A hearing to authorize a sale to the Backup
               Bidder will be held before the Court on no less than five (5) days’ notice, with
               objections due at least one (1) day prior to such hearing (the “Backup Sale
               Hearing”). For the avoidance of doubt, the scope of such hearing shall be limited
               to issues relating to the identity of the Backup Bidder.

               (e)     Closing the Auction. Within twenty-four (24) hours following the
               conclusion of the Auction, the Debtor shall file a notice on the Court’s docket
               identifying (with specificity) the Successful Bidder for the Purchased Assets and
               any applicable Backup Bidder. Subject to the fiduciary duties of the Debtor or its
               management or board of directors, attorneys, financial advisors or other
               professionals, or the Committee, its counsel and its financial advisors, the Debtor
               shall not consider any Bids submitted after the conclusion of the Auction and any
               and all such Bids shall be deemed untimely and shall under no circumstances
               constitute a Qualified Bid.

                                           Sale Hearing

        The Court has scheduled a hearing on October 17, 2022 at __ p.m., at which the Debtor
will seek approval of the transactions contemplated by the agreement with the Successful Bidder
(the “Sale Hearing”).

                                  Return of Good Faith Deposit

        The Good Faith Deposits of all Qualified Bidders shall be held in Debtor’s counsel’s client
trust account but shall not become property of the Debtor’s estate absent further order of the Court.
The Good Faith Deposit of any Qualified Bidder that is neither the Successful Bidder nor the
Backup Bidder shall be returned to such Qualified Bidder not later than two (2) business days after
the Closing. If the Successful Bidder timely closes the transaction contemplated by the Successful
Bid, its Good Faith Deposit shall be credited towards its purchase price. The return of the Good
Faith Deposit of the Successful Bidder or the Back-Up Bidder who fails to close the transaction
shall be determined by the terms of the applicable agreement.

                                       Consultation Parties

        The term “Consultation Parties” shall mean the Committee, the Committee’s counsel, and
the Committee’s financial advisor. To the extent that a member of the Committee or their
respective affiliates put forth a Bid, such member of the Committee shall not be a Consultation
Party. The Debtor shall consult with the Consultation Parties as required by these Bidding
Procedures. Any failure to specifically identify consultation rights in any section of these Bidding
Procedures shall not limit or otherwise impair the rights of the Consultation Parties to consult with
the Debtor.

                                         Fiduciary Duties

      Notwithstanding anything to the contrary contained herein, nothing in the Bidding
Procedures will prevent the Debtor or its management or board of directors, attorneys, financial

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advisors or other professionals, or the Committee, its counsel and its financial advisors from
exercising their respective fiduciary duties under or otherwise complying with applicable law.

                                             ***




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                         Exhibit 2

                Bidding Procedures Key Dates




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                                   BIDDING PROCEDURES KEY DATES

                                EVENT                                                     DATE
    Hearing to approve the Bidding Procedures                                   September 22, 2022 at 10:00
                                                                                a.m.1
    Service of Bidding Procedures Order, Sale Notice                            No later than two (2)
                                                                                Business Days after entry of
                                                                                the Order approving the
                                                                                Bidding Procedures
    Bid Deadline                                                                October 10, 2022 at 5:00 p.m.
    Deadline to file proposed form of Sale Order                                October 14, 2022 at 4:00 p.m.
    Deadline for Sale Objections                                                October 10 2022 at 4:00 p.m.
    Auction                                                                     October 14 at 10:00 a.m.
    Sale Hearing                                                                October 17, 2022 at




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                         Exhibit 3

                        Sale Notice




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                          Debtor.1


                   NOTICE OF SALE OF CERTAIN ASSETS AT AUCTION

PLEASE TAKE NOTICE THAT:

1.      The above-captioned debtor (the “Debtor”) has entered into a Purchase and Sale
Agreement (the “Agreement”) with True Value Company, L.L.C. (the “Stalking Horse Bidder”)
for the sale of the Debtor’s intellectual property and certain equipment as scheduled in the
Agreement. The Order (A) Approving Bidding Procedures and Protections in Connection with a
Sale of Certain of the Debtor’s Assets Free and Clear of Liens, Claims, Encumbrances, and
Interests; (B) Scheduling an Auction and Sale Hearing; (C) Approving the Form and Manner of
Notice Thereof; and (D) Granting Related Relief entered by the United States Bankruptcy Court
for the District of Delaware (the “Court”) on ____, 2022, sets forth procedures for the competitive
bidding and sale process contemplated in the Agreement [Docket No. __](the “Bidding Procedures
Order”).2

2.     Copies of (i) the motion seeking approval of the sale [D.I. ___] (the “Sale Motion”), (ii) the
Agreement, (iii) the Bidding Procedures Order and the Bidding Procedures, and (iv) the proposed
Sale Order can be obtained by contacting the Debtor’s counsel at Shulman Bastian Friedman &
Bui LLP, Attn: Alan J. Friedman, afriedman@shulmanbastian.com, Melissa Lowe,
mlowe@shulmanbastian.com, and Max Casal, mcasal@shulmanbastian.com or Morris James
LLP, Attn:          Jeffrey Waxman, jwaxman@morrisjames.com, and Brya Keilson,
bkeilson@morrisjames.com.

3.      All interested parties are invited to make an offer to purchase the Purchased Assets subject
to the Agreement in accordance with the terms and conditions approved by the Court in the Bidding
Procedures Order (the “Bidding Procedures”) by 5:00 p.m.3 on October 10, 2022. Pursuant to the
Bidding Procedures, the Debtor may conduct an Auction for the Purchased Assets (the “Auction”)
beginning at 10:00 a.m. on October 14, 2022 at Morris James LLP, 500 Delaware Avenue, Suite
1500, Wilmington, DE 19801 or such other place as the Debtor notify all proposed attendees. You
can contact the Debtor’s counsel, Shulman Bastian Friedman & Bui LLP, Attn: Alan J. Friedman,
afriedman@shulmanbastian.com, Melissa Lowe, mlowe@shulmanbastian.com, and Max Casal,
mcasal@shulmanbastian.com or Morris James LLP, Attn:                             Jeffrey Waxman,


1
  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.
2
  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bidding
Procedures Order or the Agreement, as applicable.
3
  Unless expressly stated otherwise, all references to time refer to prevailing Eastern Time.


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jwaxman@morrisjames.com, and Brya Keilson, bkeilson@morrisjames.com for further
information regarding the Debtor’s assets and/or making a bid.

4.    Participation at the Auction is subject to the Bidding Procedures and the Bidding
Procedures Order.

5.      A hearing to approve the sale of the Purchased Assets to the highest and best bidder will
be held on October 17, 2022 at ___, at the Court. The hearing on the sale may be adjourned without
notice other than an adjournment in open court.

6.     Objections, if any, to the proposed sale must be filed and served in accordance with the
Bidding Procedures Order by no later than October 10, 2022 at 4:00 p.m..

7.      The failure of any entity to object by the time of the hearing on the sale shall be deemed a
consent to the sale of the Purchased Assets to the Stalking Horse Bidder or other Successful Bidder
and the other relief requested in the Sale Motion, and be a bar to the assertion of any objection to
the Sale Motion, the sale of the Purchased Assets, and the Debtor’s consummation and performance
of the Agreement or other agreement with a different Successful Bidder (including in any such case,
without limitation, the transfer of the Purchased Assets free and clear of all liens, claims,
encumbrances, and interests).

8.     This notice is qualified in its entirety by the Bidding Procedures Order.

 Dated: September __, 2022                        MORRIS JAMES LLP

                                                  /s/
                                                  Jeffrey R. Waxman (DE Bar No. 4152)
                                                  Brya M. Keilson (DE Bar No. 4643)
                                                  500 Delaware Avenue; Suite 1500
                                                  Wilmington, DE 19801
                                                  Telephone: (302) 888-6800
                                                  Facsimile: (302) 571-1750
                                                  E-mail: jwaxman@morris.james.com
                                                  E-mail: bkeilson@morrisjames.com

                                                  and

                                                  SHULMAN BASTIAN FRIEDMAN & BUI
                                                  LLP
                                                  Alan J. Friedman (CA Bar No. 132580)
                                                  Melissa Davis Lowe (CA Bar No. 245521)_
                                                  Max Casal (CA Bar No. 342716)
                                                  100 Spectrum Center Drive; Suite 600
                                                  Irvine, CA 92618
                                                  Telephone: (949) 340-3400
                                                  Facsimile: (949) 340-3000
                                                  E-mail: afriedman@shulmanbastian.com


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                                E-mail: mlowe@shulmanbastian.com
                                E-mail: mcasal@shulmanbastian.com

                                Counsel to the Debtor and Debtor in
                                Possession




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                           Exhibit 4

                    Stalking Horse Agreement




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                         Exhibit 5

                Proposed FL Hardware APA




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                       ASSET PURCHASE AND SALE AGREEMENT

        THIS ASSET PURCHASE AND SALE AGREEMENT (this “Agreement”) is entered
into as of August 31, 2022, by and between Florida Hardware LLC, a Florida limited liability
company (together with its affiliates, “Buyer”) and Agway Farm & Home Supply, LLC, a
Delaware limited liability company (“Seller”).

                                           RECITALS

       WHEREAS, on July 5, 2022, the Seller filed a voluntary petition for relief under Chapter
11 of United States Bankruptcy Code in the United States Bankruptcy Court for the District of
Delaware (“Bankruptcy Court”) as Case No. 22-10602 (“Bankruptcy Case”);

        WHEREAS, subject to the approval of the Bankruptcy Court, Buyer desires to purchase
all rights/ownership from Seller, and Seller desires to sell to Buyer all rights/ownership of the
assets of the Seller defined below as the Purchased Assets;

        WHEREAS, the sale of the Purchased Assets will be sold on an “As Is” and “Where Is”
basis, without any representations or warranties of any kind, free and clear of any and all existing
liens, encumbrances and/or outstanding liabilities and subject to the overbid procedures defined
below; and

      WHEREAS, pursuant to 11 U.S.C. Section 363, the Seller and/or its attorneys will seek a
Bankruptcy Court Order authorizing the sale of the Purchased Assets.

1.     Purchase and Sale.

      NOW THEREFORE, FOR GOOD AND VALUABLE CONSIDERATION, the
adequacy of which is hereby acknowledged by each Party, and in consideration of the mutual
promises and covenants set forth below, the Parties agree as follows:

                1.1     Purchased Assets. Subject to the terms and conditions herein contained,
Seller agrees to sell, transfer, assign and deliver to Buyer, and Buyer agrees to purchase and
accept from Seller on the Closing Date (as hereinafter defined) free and clear of all claims, liens,
interests and encumbrances, all of Seller’s right, title and interest in and to the inventory assets
identified in Schedule 1.1 hereto (“Initial Inventory Report”) and then modified by the True-Up
Statement (defined below) (collectively, the “Purchased Assets”). Notwithstanding anything to
the contrary above, the Purchased Assets will consist of only those new and sellable stock
keeping units contained in the Initial Inventory Report.

               1.2     Purchase Price. The Seller agrees to sell, and the Buyer agrees to
purchase, the Purchased Assets being sold pursuant to Section 1.1 on an “As Is” and “Where Is”
basis, without any warranties either express or implied, in the amount of Thirty-Nine Percent
(39%) of the Total Cost Value (where “Total Cost Value” means the sum of the Seller’s
quantities and cost basis of sellable, in-scope inventory) of the Purchased Assets as of three (3)
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business days prior to the Closing Date, or an amount as increased by successful overbid to be
paid by the Buyer (provided the Buyer is the successful bidder) (“Purchase Price”). The
Purchase Price shall be paid in Good Funds (defined below) as follows:

              (a)     Concurrently with the mutual execution and delivery of this Agreement,
Buyer shall deposit the sum of Two Hundred Fifty Thousand Dollars ($250,000.00) (“Buyer’s
Deposit”) with the Seller. The Buyer’s Deposit shall be paid in Good Funds (defined below)
and made payable to made payable to Shulman Bastian Friedman & Bui LLP Client Trust
Account and sent to Shulman Bastian Friedman & Bui LLP, Attn: Melissa Lowe, 100 Spectrum
Center Drive, Suite 600, Irvine, CA 92618, to be held in trust pending the auction of the
Purchased Assets as set forth herein. At the Closing, Buyer’s Deposit shall be credited toward
payment of the Purchase Price. For purposes of this Agreement, “Good Funds” shall mean
immediately available funds in the form of cash or wire transfer of funds.

              (b)     In the event Buyer is the Successful Bidder (defined below), no later than
one (1) day prior to the Closing Date, Buyer shall deliver the Seller, in Good Funds, the
Purchase Price less Buyer’s Deposit.

              (c)     As of July 21, 2022, Seller believes the Purchase Price is approximately
$1,300,000.00.

       1.3     Removal of Purchased Assets.

                (a)    Upon Court approval of the Bidding Procedures (defined below) and
deeming Buyer the stalking horse bidder, Seller will begin pulling the inventory subject to this
Agreement. Seller estimates it will take three to four weeks to pick, pack count and palletize the
inventory for Buyer (the “Pick & Pack Process”). Buyer has informed that it intends to ship the
Purchased Assets to two separate locations. Seller has agreed to cooperate with Buyer in
palletizing the Purchased Assets by destination. At any time during the Pick & Pack Process,
Buyer is invited to have one or more of its employees present during normal business hours to
participate in the Pick & Pack Process as well as take test counts of any completed palletized
inventory.

        (b)     Within two (2) business days following the end of the Pick & Pack Process,
Seller will deliver to Buyer its computerized inventory comparing the Initial Inventory Report to
the updated physical inventory counts taken during the Pick and Pack Process (the “True-Up
Statement”). Unless Buyer notifies Seller in writing within two (2) business days after receipt
of the True-Up Statement of any objections thereto, the True-Up Statement shall be final and
binding for all purposes with respect to this Agreement. Buyer will have two business days upon
receipt of the True-Up Statement to accept or reject the True-Up Statement.

       (c)    Buyer shall have twenty-one (21) days from the Closing Date to remove the
Purchased Assets from the Buyer’s distribution centers. Buyer shall be solely responsible for
any and all costs incurred to remove and transport the Purchased Assets from the Debtor’s

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premises.

        1.4     Free and Clear. Except with respect to obligations and liabilities relating to and
arising on and after the Closing, Buyer is not assuming any liability, debt or obligations of
Seller attributable to the Purchased Assets prior to Closing, and Buyer shall have no obligation
or responsibility therefor. As of the Closing, the Seller will have good and valid title to the
Purchased Assets and all of the Purchased Assets being sold hereunder shall be sold and
assigned by Seller to Buyer free and clear of all liens and interests, in accordance with 11 U.S.C.
§ 363(f).

2.     Closing; Deliveries at the Closing.

       2.1     Closing. The closing of the purchase and sale of the Purchased Assets as
contemplated by this Agreement (referred to throughout this Agreement as the “Closing”) shall
take place at the offices of Morris James LLP, located at 500 Delaware Avenue, Suite 1500,
Wilmington, Delaware. The Closing shall be held within three (3) business days after the
Bankruptcy Court enters an order approving the sale of the Purchased Assets unless otherwise
approved by Seller (referred to throughout this Agreement as the “Closing Date”).

       2.2     Deliveries at the Closing.

              (a)     Deliveries by Buyer. At least one (1) business day prior to the Closing
Date, Buyer shall deliver, or cause to be delivered to Seller in Good Funds, the Purchase Price
less Buyer’s Deposit.

                (b)     Deliveries by Seller. At Closing, Seller shall deliver to Buyer the
following: (1) an original Bill of Sale substantially in the form attached hereto as Exhibit A,
executed by the Seller dated as of the Closing Date; and (2) such additional documentation as
Buyer may reasonably request to consummate the transaction contemplated hereby, including but
not limited to Seller’s numbered inventory product count by pallet number.

3.     Bankruptcy Covenants.

        3.1     Entry of Sale Approval Order. Buyer acknowledges and agrees that this
Agreement is subject to the approval of the Bankruptcy Court (the “Sale Approval Order”). In
the event that Seller accepts this Agreement, the Parties will in good faith exercise all reasonable
efforts required to obtain the entry of the Sale Approval Order, including executing and
delivering any motions, declarations or other items of support reasonably required in connection
therewith. The Sale Approval Order shall be acceptable to Buyer in all material respects and
shall authorize and approve the sale of the Purchased Assets to the Purchaser free and clear of all
liens, claims and encumbrances pursuant to sections 363(b) and 363(f) of the Bankruptcy Code,
on the terms and conditions contained in this Agreement;

       3.2   Sale Subject to Overbid. In order to obtain the highest and best offer for the
Purchased Assets, the sale of the Purchased Assets shall be subject to the bidding procedures

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(“Bidding Procedures”), to be approved pursuant to a Bankruptcy Court order approving the
Bidding Procedures in substantially the same form as attached hereto as Exhibit B.

       3.3     Break-up Fee. Buyer shall act as the stalking horse bidder in connection with the
auction (the “Stalking Horse Bidder”). In the event the Purchased Assets are sold to a Successful
Bidder other than the Buyer, Buyer shall be entitled to a breakup fee of three percent (3%) of the
Purchase Price, and in no event more than $39,000, which shall be paid to Buyer within three (3)
business days after the Closing Date.

        3.4    Subject to Bankruptcy Court Approval. Seller shall use its best efforts to cause
the Bankruptcy Court to enter the Sale Approval Order. The Agreement is expressly contingent
upon the Seller obtaining Bankruptcy Court approval of the sale of the Purchased Assets with a
finding that Buyer is in good faith pursuant to Bankruptcy Code section 363(m). The Seller
makes no warranties, either express or implied, as to its ability to obtain approval of the
Bankruptcy Court and entry of a Sale Approval Order, and in the event that the Seller is unable
to obtain said approval and Sale Approval Order, Buyer and its officers, directors, shareholders,
agents, successors and assigns shall hold Seller and its attorneys and agents harmless from any
and all damages which Buyer may allege he has suffered as a result therefrom. Buyer’s Deposit
shall be immediately refunded in the event such approval is not obtained.

4.     Representations and Warranties of Seller. Seller hereby represents and warrants to
Buyer that the following are true and correct as of the date hereof and will be true as of the
Closing (except as otherwise specifically and expressly permitted under this Agreement).

        4.1    Authorization. Subject to the Bankruptcy Court approval of this Agreement and
all other documents to be executed by Seller and delivered to Buyer prior to or at the Closing,
Seller has full power and authority to enter into this Agreement and has duly authorized,
executed and delivered the same. The Agreement, when executed and delivered by Seller, will
constitute valid and legally binding obligations of Seller, enforceable in accordance with their
terms, except (a) as limited by applicable bankruptcy, insolvency, reorganization, moratorium,
fraudulent conveyance, and any other laws of general application affecting enforcement of
creditors’ rights generally, or (b) as limited by laws relating to the availability of a specific
performance, injunctive relief, or other equitable remedies.

        4.2     No Proceedings. There are no pending or threatened actions, suits, proceedings,
claims, investigations, applications or complaints (whether or not purportedly on behalf of the
Seller) against or affecting the Seller, which in any way relate to or involve or could adversely
affect the Purchased Assets, in law or in equity, which could affect the validity of this
Agreement, the title to the Purchased Assets, the value of the Purchased Assets or the
conveyance of any of the Purchased Assets to the Buyer of which Seller is aware. The Seller is
not aware of any restrictions related to the sale of the Purchased Assets and owns or has valid
rights to use all of the intellectual property necessary, or used by it in the ownership and sale of
the Purchased Assets.



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5.      Representations and Warranties of the Buyer. Buyer hereby represents and warrants
to Seller that:

        5.1     Authorization. Buyer has full power and authority to enter into this Agreement
and has duly authorized, executed and delivered the same. The Agreement, when executed and
delivered by Buyer, will constitute valid and legally binding obligations of the Buyer,
enforceable in accordance with their terms, except (a) as limited by applicable bankruptcy,
insolvency, reorganization, moratorium, fraudulent conveyance, and any other laws of general
application affecting enforcement of creditors’ rights generally, or (b) as limited by laws relating
to the availability of a specific performance, injunctive relief, or other equitable remedies.

        5.2    Waiver of Contingencies. Buyer’s due diligence has been completed prior to
Buyer’s execution of this Agreement, and Buyer hereby waives any and all contingencies to
consummation of the transactions contemplated herein, including, without limitation, all due
diligence and financing contingencies. Buyer expressly disclaims, and this transaction shall not
be conditioned on, any right of Buyer to receive a fee analogous to a break-up fee (except as set
forth in Section 3.3), expense reimbursement, termination fee, or any other similar form of
compensation.

        5.3     Payment of Taxes. Any transfer, documentary, sales, use, stamp, registration, and
other such taxes, and all conveyance fees, recording charges, and other fees and charges
(including any penalties and interest) incurred in connection with the consummation of the
transactions contemplated by this Agreement (collectively, the “Transfer Taxes”) shall be borne
by Buyer. Seller and Buyer shall use commercially reasonable efforts and cooperate in good
faith to exempt the sale and transfer of the Assets from any Transfer Taxes, including under
Section 1146(a) of the Bankruptcy Code. Buyer will provide Seller with a copy of its Certificate
of Resale License Number. Buyer will, at its own expense, file all necessary tax returns and
other documentation with respect to all Transfer Taxes, and, if required by applicable law, the
Parties will join in the execution of any such tax returns and other documentation.

       5.4     As Is-Where Is.

     (a)   IT IS UNDERSTOOD AND AGREED THAT SELLER (INCLUDING ANY OF
SELLER’S PROFESSIONALS) IS NOT MAKING AND HAS NOT AT ANY TIME MADE
ANY WARRANTIES OR REPRESENTATIONS OF ANY KIND OR CHARACTER,
EXPRESS OR IMPLIED, AT LAW OR IN EQUITY, WITH RESPECT TO THE
PURCHASED ASSETS, INCLUDING BUT NOT LIMITED TO ANY WARRANTIES OR
REPRESENTATIONS AS TO: (I) MERCHANTABILITY OR FITNESS FOR A
PARTICULAR PURPOSE; (II) THE EXISTENCE, VALIDITY OR COMPLETENESS OF
ANY OF THE PURCHASED ASSETS; OR (III) OPERATING HISTORY OR PROJECTIONS,
VALUATION, RECOVERIES, GOVERNMENTAL APPROVALS, THE COMPLIANCE OF
THE PURCHASED ASSETS WITH GOVERNMENTAL OR OTHER APPLICABLE LAWS,
THE TRUTH, ACCURACY, OR COMPLETENESS OF ANY DOCUMENT RELATED TO
THE PURCHASED ASSETS, OR ANY OTHER INFORMATION PROVIDED BY OR ON
BEHALF OF SELLER TO BUYER, OR ANY OTHER MATTER OR THING REGARDING

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THE PURCHASED ASSETS. NONE OF DOCUMENTS OR MATERIALS PROVIDED TO
BUYER IN CONNECTION WITH THE SALE TRANSACTION CONSTITUTE AN
OPINION WITH RESPECT TO THE NATURE, EXTENT, OR VALIDITY OF ANY OF THE
PURCHASED ASSETS.

     (b)   BUYER ACKNOWLEDGES AND AGREES THAT UPON CLOSING SELLER
SHALL SELL AND CONVEY TO BUYER AND BUYER SHALL ACCEPT THE
PURCHASED ASSETS “AS IS, WHERE IS, WITH ALL FAULTS.” BUYER HAS NOT
RELIED AND WILL NOT RELY ON, AND SELLER IS NOT LIABLE FOR OR BOUND BY,
ANY EXPRESS OR IMPLIED WARRANTIES, GUARANTEES, STATEMENTS,
REPRESENTATION OR INFORMATION PERTAINING TO THE PURCHASED ASSETS
OR RELATING THERETO MADE OR FURNISHED BY SELLER OR ITS
REPRESENTATIVES, TO WHOMEVER MADE OR GIVEN, DIRECTLY OR INDIRECTLY,
ORALLY OR IN WRITING, EXCEPT AS EXPRESSLY STATED HEREIN. BUYER ALSO
ACKNOWLEDGES THAT THE PURCHASE PRICE REFLECTS AND TAKES INTO
ACCOUNT THAT THE PURCHASED ASSETS ARE BEING SOLD “AS IS, WHERE IS,
WITH ALL FAULTS.”

      BUYER ACKNOWLEDGES TO SELLER THAT BUYER HAD AN OPPORTUNITY
PRIOR TO EXECUTING THIS AGREEMENT TO CONDUCT SUCH DUE DILIGENCE,
INSPECTIONS AND INVESTIGATIONS OF THE PURCHAED ASSETS AS BUYER
DEEMS NECESSARY OR DESIRABLE TO SATISFY ITSELF AS TO THE PURCHASED
ASSETS AND ITS ACQUISITION THEREOF, AND THAT BUYER DID NOT RELY ON
ANY OF SELLER’S OR ANY OF HER PROFESSIONALS’ WRITTEN OR ORAL
STATEMENTS, REPRESENTATIONS, PROMISES, WARRANTIES, OR GUARANTIES
WHATSOEVER, WHETHER EXPRESS OR IMPLIED, BY OPERATION OF LAW OR
OTHERWISE, REGARDING THE PURCHASED ASSETS, THE DEBTOR’S BUSINESS OR
THE COMPLETENESS OF ANY INFORMATION PROVIDED IN CONNECTION
THEREWITH. BUYER HEREBY ASSUMES THE RISK THAT ADVERSE MATTERS
MAY NOT HAVE BEEN REVEALED BY BUYER’S REVIEW AND INSPECTIONS AND
INVESTIGATIONS, AND SELLER AND ITS PROFESSIONALS SHALL HAVE NO
LIABILITY WHATSOEVER TO BUYER, ITS RELATED ENTITIES OR ANY OTHER
PARTY FOR CLAIMS ARISING FROM, OR RELATED TO, THE DUE DILIGENCE
DOCUMENTS AND MATERIALS PROVIDED.

6.     Conditions to Buyer’s Obligation to Close. The obligations of Buyer to Seller under
this Agreement are subject to the fulfillment, on or before the Closing, of each of the following
conditions, unless otherwise waived:

        6.1     Representations and Warranties. The limited representations and warranties of
Seller contained in Section 4 above, shall be true and correct on and as of the Closing with the
same effect as though such representations and warranties had been made on and as of the date
of the Closing.



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       6.2    Performance. All covenants, agreements and conditions contained in this
Agreement to be performed by Seller on or prior to the Closing shall have been performed or
complied with in all material respects.

       6.3   Bankruptcy Court Matters. The Bankruptcy Court shall have entered the Sale
Approval Order, and the Sale Approval Order shall not have been vacated, stayed, reversed, or
modified, amended, or supplemented in any manner.

        6.4    Access. The Seller shall afford the Buyer and its representatives access during
normal business hours to the locations where the Purchased Assets are located. Seller shall do
all things necessary, proper, or advisable to ensure access to such locations, including payment
of all rents and other amounts necessary to allow Buyer access during the time necessary to
remove the Purchased Assets.

7.     Conditions to the Obligations of Seller. The obligations of Seller to Buyer under this
Agreement are subject to the fulfillment, on or before the Closing, of each of the following
conditions, unless otherwise waived:

       7.1    Representations and Warranties. The representations and warranties of Buyer
contained in Section 5 shall be true and correct in all material respects on and as of the Closing
with the same effect as though such representations and warranties had been made on and as of
the Closing.

       7.2    Performance. All covenants, agreements and conditions contained in this
Agreement to be performed by Buyer on or prior to the Closing shall have been performed or
complied with in all material respects.

       7.3   Bankruptcy Court Matters. The Bankruptcy Court shall have entered the Sale
Approval Order, and the Sale Approval Order shall not have been vacated, stayed, reversed, or
modified, amended, or supplemented in any manner.

        7.4      Payment of Purchase Price. Buyer shall deliver the Purchase Price in Good Funds
as set forth in Section 1.2 of this Agreement.

8.     Termination.

       8.1    Termination Events. Anything contained in this Agreement to the contrary
notwithstanding, this Agreement may be terminated at any time prior to the Closing:

       (a)     by either Seller or Buyer:

               (i)    by mutual written consent of Sellers and Buyer;

             (ii)   if the Closing shall not have occurred by the close of business on
November 30, 2022 (the “Outside Date”); or


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              (iii) if the Bankruptcy Court enters an order dismissing, or converting into a
case under chapter 7 of the Bankruptcy Code, the Bankruptcy Case and such order is final;

       (b)     by Buyer:

                (i)    in the event of any material breach by Seller of any of Seller’s agreements,
covenants, representations, or warranties contained herein, and the failure of a Seller to cure such
breach before the earlier of: (A) the Outside Date, or (B) five (5) days after receipt of the Buyer
Termination Notice (as defined hereinbelow); provided, however, that (I) Buyer is not itself in
material breach of any of its representations, warranties, covenants or agreements contained
herein, (II) Buyer notifies Sellers in writing (the “Buyer Termination Notice”) of its intention to
exercise its rights under this Section 8.1(b) as a result of the breach, and (III) Buyer specifies in
the Buyer Termination Notice the representation, warranty, covenant, or agreement contained
herein of which a Seller is allegedly in breach and a description of the specific factual
circumstances to support the allegation; or

               (ii)    if Buyer is not the Successful Bidder or the Back-Up Bidder;

       (c)     by Seller:

                (i)     in the event of any material breach by Buyer of any of Buyer’s
agreements, covenants, representations or warranties contained herein, and the failure of Buyer
to cure such breach before the earlier of: (A) the Outside Date, or (B) five (5) days after receipt
of the Seller Termination Notice (as defined hereinbelow); provided, however, that Seller (I) is
not itself in material breach of any of its representations, warranties, covenants or agreements
contained herein, (II) notify Buyer in writing (the “Seller Termination Notice”) of its intention to
exercise its rights under this Section 8.1(c) as a result of the breach, and (III) specify in the Seller
Termination Notice the representation, warranty, covenant, or agreement contained herein of
which Buyer is allegedly in breach and a description of the specific factual circumstances to
support the allegation; or

               (ii)    if Buyer is not the Successful Bidder or the Back-Up Bidder.

       8.2     Effect of Termination.

        (a)    Except as provided below in Section 8.2(b), in the event of termination of this
Agreement by Buyer or Seller pursuant to this Section 8, all rights and obligations of the Parties
under this Agreement shall terminate without any liability of any Party to any other Party;
provided, however, that nothing herein shall relieve any Party from liability for breach of this
Agreement prior to such termination. The provisions of this Section 8.2 shall expressly survive
the termination of this Agreement.

       (b)     The Deposit shall be paid to Buyer (except where termination is a result of a
material breach by Buyer pursuant to Section 8.1(b)(ii) or the Closing fails to occur as per
Section 8.1(a)(2)).


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        (c)     Each Party acknowledges that (i) the agreements contained in this Section 8.2 are
an integral part of the transactions contemplated by this Agreement, (ii) without these
agreements such Party would not have entered into this Agreement, and (iii) such agreements
shall survive the Closing.

9.     Miscellaneous.

        9.1    Time Is of The Essence. Seller and Buyer acknowledge and agree that TIME IS
OF THE ESSENCE with respect to each and every term, condition, obligation, and provision
hereof and that failure to timely perform any of the terms, conditions, obligations, or provisions
hereof by either party shall constitute a material breach of the Agreement by the party so failing
to perform.

       9.2    Waiver. Buyer hereby acknowledges and waives any and all claims, warranties,
guarantees, refunds, causes of action, rights of recovery, rights of set-off and rights of
recoupment and legal fees against Seller of every kind and nature and interests in the Purchased
Assets being sold to Buyer pursuant to this Agreement; and the Purchase Price shall not be
subject to any offset, decrease, reductions, deductions, or counterclaim of any kind or nature
whatsoever.

        9.3     Additional Agreements; Reasonable Efforts. Subject to the terms and conditions
of this Agreement, the Parties agree to use all commercially reasonable efforts to take, or cause
to be taken, action and to do, or cause to be done, all things necessary, proper or advisable under
applicable laws and regulations to consummate and make effective the transactions contemplated
by this Agreement, including cooperating fully with the other Party and providing to the other
Party any information reasonably required. In case at any time after the Closing any further
action is necessary or desirable to carry out the purposes of this Agreement, the Parties shall take
all such necessary action.

        9.4    Expenses. Except as set forth to the contrary in this Agreement, each of the
Parties hereto shall be responsible for its own fees and expenses, including, but not limited to,
fees and expenses with respect to the engagement of outside accountants and attorneys, incurred
by it in connection with this Agreement and the transactions contemplated with respect to this
Agreement.

        9.5    Entire Agreement; Amendments. This Agreement, and the documents referred to
herein constitute the entire agreement between the parties hereto pertaining to the subject matter
hereof, and any and all other written or oral agreements relating to the subject matter hereof
existing between the parties hereto are expressly canceled.

       9.6     Effect of Headings: The titles and headings of this Agreement are for
convenience and identification only, and shall not be deemed to limit, amplify, or define the
contents of the respective sections or paragraphs to which they pertain.



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       9.7     Counterparts. This Agreement may be executed in one or more Counter-parts
(multiple signatures) each of which shall be deemed an original, and all of which constitute one
and the same instrument.

        9.8     Invalidity. In the event that any one or more of the provisions contained in this
Agreement or in any other instrument referred to herein, shall, for any reason, by held to be
invalid, illegal or unenforceable in any respect, then to the maximum extent permitted by law,
such invalidity, illegality or unenforceability shall not affect any other provisions of this
Agreement or any other such instrument.

       9.9    Attorneys’ Fees. If any legal action is brought for the enforcement of this
Agreement or because of any alleged dispute, breach, default or misrepresentation in connection
with any of the provisions of this Agreement, each party shall bear their own legal costs and
expenses, and the prevailing party shall not be entitled to an award of its fees from the other
party.

        9.10 Governing Law. This Agreement is to be governed by and construed in
accordance with federal bankruptcy law, to the extent applicable, and where state law is
implicated, the laws of the State of Delaware shall govern, without giving effect to principles of
conflicts of law.

       9.11 Jurisdiction of the Bankruptcy Court. Any and all disputes which involve in any
manner the Estate or the Seller, arising from the Agreement or relating in any manner to the
Purchased Assets, shall be resolved only in the United States Bankruptcy Court, District of
Delaware.

       9.12 Knowing and Voluntary Agreement. Each Party hereto acknowledges that it has
entered into this Agreement knowingly and voluntarily of its own free will and under no duress
of any nature.

       9.13 Survival of Warranties. Unless otherwise set forth in this Agreement, the
warranties, representations and covenants of Seller and Buyer contained in or made pursuant to
this Agreement shall survive the execution and delivery of this Agreement and the Closing.

       9.14 Successors and Assigns. This Agreement shall inure to the benefit of, and shall
be binding upon the Parties, and each of them, and their respective successors, assigns, heirs,
partners, agents, officers, corporations, partnerships, partners, shareholders, representatives, and
each of them.

       9.15 Amendments and Waivers. Any term of this Agreement may be amended or
waived (either generally or in a particular instance and either retroactively or prospectively) only
with the written consent of the parties hereto.

       9.16 Brokers. Buyer represents and warrants to Seller that it dealt with no broker in
connection with, nor has any broker had any part in bringing about, this transaction. Buyer shall

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                        Schedule 1.1




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                                           EXHIBIT A

                                   FORM OF BILL OF SALE



        THIS BILL OF SALE (this “Bill of Sale”), dated as of [__________], 2022, is entered
into between by and between Florida Hardware LLC (together with its affiliates, “Buyer”) and
Agway Farm & Home Supply, LLC, a Delaware limited liability company (“Seller”).


       For good and valuable consideration, receipt and sufficiency of which is hereby
acknowledged, Seller does give, grant, bargain, sell, transfer, assign, convey and deliver to
Buyer, all of the inventory listed in Schedule 1.1 (as modified by the True-Up Statement attached
hereto as Exhibit 1) to the Asset Purchase and Sale Agreement dated as of August 31, 2022
between, inter alia, Seller and Buyer.


        Seller hereby covenants that it will, upon reasonable written request therefor and at
Buyer’s sole cost and expense, execute and deliver such other documents; and do such other acts
and things, all as Buyer, its nominees, successors and/or assigns may reasonably request in order
to fully assign and transfer to and vest in Buyer, its nominees, successors and/or assigns, and
protect its or their rights, title and interest in and enjoyment of, all of the assets of such Seller
intended to be transferred and assigned hereby.


       All references to “Seller” and “Buyer” herein shall be deemed to include their respective
designees, nominees, successors and/or assigns, where the context permits.


        This Bill of Sale is governed by the laws of the State of Delaware without regard to its
conflicts of law principles that would cause the application of the laws of another jurisdiction.


        IN WITNESS WHEREOF, the parties hereto have executed this Bill of Sale as of the
date first written above.


                                                 SELLER:


                                                 By:
                                                 Name: Jay Quickel
                                                 Title: President and CEO



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                             BUYER:



                             By:
                             Name:
                             Title:




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                         EXHIBIT B

                    BIDDING PROCEDURES




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                                   BIDDING PROCEDURES

                                  Access to Diligence Materials


       To participate in the bidding process and to receive access to due diligence (the
“Diligence Materials”), an entity (as defined in the Bankruptcy Code) must submit to the Debtor
an executed confidentiality agreement in the form and substance satisfactory to the Debtor.

        An entity who qualifies for access to Diligence Materials shall be a “Preliminary
Interested Bidder.” All requests for Diligence Materials must be directed to the Debtor.

       Before receiving any Diligence Materials, any Preliminary Interested Bidder must
disclose whether it is a competitor of the Debtor or is affiliated with any competitor of the
Debtor. For any Preliminary Interested Bidder who is a competitor of the Debtor or is affiliated
with any competitor of the Debtor, the Debtor reserves the right, following consultation with the
Consultation Parties, to withhold any Diligence Materials that the Debtor determines are
business-sensitive or otherwise not appropriate for disclosure to such Preliminary Interested
Bidder at such time.

        The Debtor shall provide the Stalking Horse Bidder with access to all written Diligence
Materials, on-site inspections, and other information provided to any Preliminary Interested
Bidder that were not previously made available to the Stalking Horse Bidder as soon as
reasonably practicable after the date the Debtor made such information available to any
Preliminary Interested Bidder; provided, however, that this requirement shall be deemed satisfied
by the Debtor if such information is posted to the data room established by the Debtor. Neither
the Debtor nor any of its representatives will be obligated to furnish any information relating to
the Purchased Assets to any entity other than to the Stalking Horse Bidder and Preliminary
Interested Bidders. The Debtor makes no representations or warranty as to the information to be
provided through this due diligence process or otherwise, except to the extent set forth in the
Agreement or in any other definitive agreement the Debtor execute with a Successful Bidder (as
defined herein). No later than three (3) business days prior to the Bid Deadline, the Debtor shall
post the True-Up Statement to the data room established by the Debtor for Diligence Materials.
                                    Bid Qualification Process


       To be eligible to participate in the Auction (as defined herein), each offer, solicitation, or
proposal (each, a “Bid”), and each entity submitting such a Bid (each, a “Bidder”), must be
determined by the Debtor, in consultation with the Consultation Parties, to satisfy each of the
following conditions (other than the Bid of the Stalking Horse Bidder):
               (a)     Form: The Bid must: (i) be in writing; (ii) disclose the identity of each
               entity that will be bidding for the assets or otherwise participating in connection
               with such Bid (provided, however, that if the entity that is the Bidder is a special

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  purpose vehicle or other entity without existing operations (as determined by the
  Debtor, in consultation with the Consultation Parties) the Bid must disclose the
  identity or identities of each ultimate owner or participant in the entity that is the
  Bidder); (iii) be in the form of a duly authorized, executed, and non-contingent
  purchase agreement, together with all schedules, exhibits, and related documents
  thereto; and (iv) include clearly marked versions of the Bid against the Agreement
  and the proposed Sale Order showing all changes requested by the Bidder.

  (b)     Good Faith Deposit: The Bid must be accompanied by a cash deposit in an
  amount equal to $250,000 to an interest-bearing segregated account to be
  identified and established by the Debtor (the “Good Faith Deposit”).

  (c)    Assets: The Bid must clearly identify which Assets the Bidder intends to
  purchase and which liabilities and obligations the Bidder agrees to assume or pay.

  (d)     Same or Better Terms: The Bid must be on terms and conditions that are
  substantially the same as or better than, not more burdensome in any material way
  than, and no more conditional than the terms of the Agreement, as determined by
  the Debtor, in consultation with the Consultation Parties. The Bid may not
  contain additional termination rights, covenants, financing or due diligence
  contingencies, or closing conditions, other than as may be included in the
  Agreement (it being agreed and understood that such Bid shall modify the
  Agreement as needed to comply in all respects with the Bidding Procedures Order
  and will remove provisions that apply only to the Stalking Horse Bidder as the
  stalking horse bidder, such as the Break-up Fee).

  (e)    Corporate Authority: The Bid must include written evidence reasonably
  acceptable to the Debtor, in consultation with the Consultation Parties,
  demonstrating that the Bidder has full power and authority (including full
  corporate or other organizational power and authority) to consummate the
  proposed transaction contemplated by the Bid.

  (f)     Proof of Financial Ability to Perform: To the extent that the Bid is not
  accompanied by evidence of the Bidder’s capacity to consummate the transaction
  contemplated by the Bid with unrestricted and fully available cash, the Bid must
  include written evidence of a firm, irrevocable commitment for financing or other
  evidence of ability to consummate the proposed transaction, documented to the
  satisfaction of the Debtor, in consultation with the Consultation Parties, by the
  submission of recent financial documentation (audited, if available), that will
  allow the Debtor (in consultation with the Consultation Parties) to make a
  reasonable determination as to the financial and other capabilities of the Bidder to
  consummate the transaction contemplated by the Bid.

  (g)    Contingencies: The Bid may not be conditioned upon obtaining financing,
  obtaining any internal approval, or on the outcome or review of due diligence, but

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  may be subject to the accuracy in all material respects of specified representations
  and warranties at the Closing.

  (h)     Irrevocable: The Bid must be irrevocable through the Auction; provided,
  however, that if such Bid is accepted as the Successful Bid or a Backup Bid (each
  as defined herein), such Bid shall continue to remain irrevocable, subject to the
  terms and conditions of the Bidding Procedures until two (2) days after closing of
  the sale.

  (i)     Bid Deadline. Regardless of when an entity qualifies as a Preliminary
  Interested Bidder, the following entities must receive a Bid in writing, transmitted
  via email (in .pdf or similar format) so as to be received no later than 5:00 p.m.
  (prevailing Eastern time), on or before October 10, 2022 (the “Bid Deadline”): (i)
  the Debtor, jay.quickel@agway.com; (ii) counsel to the Debtor, Shulman Bastian
  Friedman & Bui LLP, Attn: Alan J. Friedman, afriedman@shulmanbastian.com,
  Melissa      Lowe,      mlowe@shulmanbastian.com,          and      Max       Casal,
  mcasal@shulmanbastian.com and Morris James LLP, Attn: Jeffrey R. Waxman
  jwaxman@morrisjames.com and Brya Keilson bkeilson@morrisjames.com; (iii)
  counsel to the Committee, Pachulski Stang Ziehl & Jones LLP, Attn: Robert
  Feinstein, rfeinstein@pszjlaw.com, Bradford J. Sandler, bsasndler@pszjlaw.com,
  and Paul J. Labov, plabov@pszjlaw.com; and (iv) counsel to the Stalking Horse
  Bidder, Smith, Gambrell & Russell, LLP, Attn: Brian P. Hall, bhall@sgrlaw.com
  and Brandon Dodd, bdodd@sgrlaw.com.

  (j)     Amount of Bid. Each Bid must clearly show the amount of the purchase
  price. In addition, a Bid (either standing alone or in combination with other Bids)
  for the Purchased Assets must include a cash purchase price that is (i) the
  consideration set forth in the Agreement in the amount of 39% of the Total Cost
  Value of the Purchased Assets; plus (ii) 10% of the Total Cost Value of the
  Purchased Assets (which shall constitute the initial overbid) (i.e., the initial
  overbid must be for at least 49%), plus (iii) $39,000 representing the maximum
  amount of the Break-up Fee.

  (k)     Affirmative Statement. Each Bid shall be accompanied by an affirmative
  statement that: (i) all Bidders submitting such Bid have acted in good faith
  consistent with section 363(m) of the Bankruptcy Code; (ii) all Bidders
  submitting such Bid have and will continue to comply with the Bidding
  Procedures; and (iii) the Bid does not entitle such Bidder (other than the Stalking
  Horse Bidder) to, and such Bidder disclaims any right to, any expense
  reimbursement or break-up, termination, or similar fee or payment, and (iv) all
  Bidders submitting such Bid waive any substantial contribution (administrative
  expense) claims under section 503(b) of the Bankruptcy Code related to the
  bidding for the Debtor’s assets or otherwise participating the Auction.



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               (l)     Consent to Jurisdiction as Condition to Bidding. All entities that
               participate in the bidding process of the Auction (as defined herein) shall be
               deemed to have knowingly and voluntarily submitted to the exclusive jurisdiction
               of the United States Bankruptcy Court for the District of Delaware with respect to
               all matters related to the terms and conditions of the transfer of Purchased Assets,
               the Auction, and any transaction contemplated by the Bidding Procedures Order.

               (m)    Covenant Against Anti-Competitive Behavior. Each Bid shall be
               accompanied by a written covenant by the Bidder agreeing not to, without
               permission from the Debtor, affirmatively contact any of the Debtor’s employees,
               contractors, vendors, or material customers from the date of such Bid until the
               Auction. If the Bidder defaults with respect to the foregoing covenant, the Bid
               may be deemed by the Debtor, in its reasonable business judgment, in
               consultation with the Consultation Parties, to not be a Qualified Bid.

               (n)     Acknowledgement and Representation. Each Bid shall include an
               acknowledgement and representation (i) that the Bidder has had an opportunity to
               conduct all due diligence regarding the Debtor’s assets prior to submitting its bid
               and that it has relied solely upon its own independent review, investigation, and
               inspection of any documents and assets in making its Bid, and (ii) confirms the
               Bidder’s completion of all due diligence required by such Bidder and does not
               include any due diligence contingencies as further defined in paragraph (g) herein.


        The Debtor will review each Bid received from a Bidder to determine, in conjunction
with the Consultation Parties, whether it meets the requirements set forth herein and in the
Bidding Procedures Order. A Bid received from a Bidder before the Bid Deadline that meets the
above requirements shall constitute a “Qualified Bid,” and such Bidder shall constitute a
“Qualified Bidder.” The Debtor shall inform Bidders whether or not their Bids have been
designated as Qualified Bids by the Debtor shall attempt to inform Bidders within twenty-four
(24) hours after such Bids are received to either address any questions with respect to the Bid, if
there are any, or to confirm that such Bid has been deemed a Qualified Bid. Notwithstanding
anything herein to the contrary, upon payment of the deposit by the Stalking Horse Bidder, (a)
the Agreement submitted by the Stalking Horse Bidder shall be deemed a Qualified Bid, and (b)
the Stalking Horse Bidder is a Qualified Bidder.

         All entities that participate in the bidding process or the Auction (as defined herein) shall
be deemed to have knowingly and voluntarily submitted to the exclusive jurisdiction of the Court
with respect to all matters related to the terms and conditions of the transfer of the Debtor’s
assets, the Auction, and any transaction contemplated by the Bidding Procedures Order.




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                                            Auction


        If one or more Qualified Bids (other than the Agreement submitted by the Stalking Horse
Bidder) is received by the Bid Deadline, the Debtor will conduct an auction (the “Auction”) to
determine the highest or otherwise best Qualified Bid. If no Qualified Bid (other than the
Agreement) is received by the Bid Deadline, no Auction shall be conducted and the Agreement
shall be deemed to be the Successful Bid, the Stalking Horse Bidder shall be deemed to be the
Successful Bidder, and the Debtor will seek approval of the Agreement and the Stalking Horse
Bid at the Sale Hearing. All creditors and Qualified Bidders may attend the auction, however
only Qualified Bidders may participate in the Auction. Immediately prior to the Auction, the
Debtor shall provide copies of all Qualified Bids to all Qualified Bidders, including the Stalking
Horse Bidder, at the same time.

        The Auction shall take place on October 14, 2022 at 10:00 a.m. (prevailing Eastern time),
at the offices of Morris James LLP, 500 Delaware Avenue, Suite 1500, Wilmington, DE, or such
other place and time as set by the Debtor, in consultation with the Consultation Parties, after
providing notice to all proposed attendees. All parties other than Debtor’s local counsel may
attend the Auction via Zoom video conference pursuant to instructions to be provided no later
than twenty-four (24) hours prior to the Auction.
               (a)     The Debtor Shall Conduct the Auction. The Debtor shall direct and
               preside over the Auction in consultation with the Consultation Parties, and the
               Auction shall be recorded stenographically. Each Qualified Bidder participating
               in the Auction must confirm that it has not engaged in any collusion with respect
               to the bidding or sale of the Debtor’s assets.

                      1)      Only Qualified Bidders will be entitled to make any Bids at the
               Auction.

                      2)      Prior to the Auction, the Debtor will share with all Qualified
               Bidders, the highest or otherwise best Qualified Bid received by the Bid Deadline
               (the “Baseline Bid”). All Qualified Bidders will have the right to make additional
               modifications to their Qualified Bid or Agreement, consistent with the Bidding
               Procedures, as applicable, at the Auction.

               (b)     Terms of Overbids. An “Overbid” is any Bid made at the Auction
               subsequent to the Debtor’s announcement of the Baseline Bid that satisfies each
               of the following:

                              (i) Minimum Overbid Increment. Any Overbid after the Baseline
                              Bid shall be made in increments valued at not less than 5% of the
                              Total Cost Value of the Purchased Assets; provided, however, the
                              Debtor, in consultation with the Consultation Parties, may modify
                              the Minimum Overbid Increment any time before or during the

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                       Auction.

                       (ii) Remaining Terms Are the Same as for Qualified Bids. Except
                       as modified herein, an Overbid must comply with the conditions
                       for a Qualified Bid set forth herein; provided, however, that the
                       Bid Deadline shall not apply. Any Overbid must remain open and
                       binding on the Bidder until and unless the Debtor accepts a higher
                       Overbid.


         Notwithstanding the foregoing, the Debtor, in consultation with the Consultation
Parties, shall have the right to (i) negotiate with any of the Qualified Bidders participating
in the Auction; (ii) increase or decrease the bidding increments throughout the Auction;
(iii) conduct the Auction in a format which maximizes the value of the Assets, which may
include an open cry auction, one or more rounds of sealed bidding, or any combination of
the foregoing and/or other means; (iv) reject a Bid; (v) request additional information of
any Bidder necessary to clarify a Bid or determine the highest or best offer; and (vi)
modify these Bidding Procedures as the Debtor, in consultation with the Consultation
Parties, deems necessary in its reasonable business judgment.


       (c)     Successful Bidder.      The Auction shall continue until the Debtor
       determines in its reasonable business judgment (and in consultation with the
       Consultation Parties) that there is a highest or otherwise best Qualified Bid at the
       Auction (a “Successful Bid,” and each Bidder submitting such Successful Bid, a
       “Successful Bidder”). The Auction shall not close unless and until all Bidders
       who have submitted Qualified Bids have been given a reasonable opportunity, as
       determined by the Debtor, to submit an Overbid at the Auction to the then-
       existing Overbids and the Successful Bidder has submitted fully executed sale and
       transaction documents memorializing the terms of the Successful Bid.

       (d)     Backup Bidder. Notwithstanding anything in the Bidding Procedures to
       the contrary, if an Auction is conducted, the entity with the second highest or
       otherwise best Qualified Bid at the Auction, as determined by the Debtor, in the
       exercise of its business judgment, will be designated as the backup bidder (the
       “Backup Bidder”). The Backup Bidder shall be required to keep its initial Bid (or,
       if the Backup Bidder submitted one or more Overbids at the Auction, its final
       Overbid) (the “Backup Bid”) open and irrevocable until the earlier (i) (ii) the
       closing of the transaction with the Successful Bidder, or (ii) thirty days following
       entry of the Sale Order (the “Outside Backup Date”), subject to the Stalking
       Horse bidder’s rights under the Agreement. Following the Sale Hearing, if the
       Successful Bidder fails to consummate an approved transaction), the Debtor shall
       proceed to consummate the Backup Bid with the Backup Bidder. A hearing to
       authorize a sale to the Backup Bidder will be held before the Court on no less than
       five (5) days’ notice, with objections due at least one (1) day prior to such hearing

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              (the “Backup Sale Hearing”). For the avoidance of doubt, the scope of such
              hearing shall be limited to issues relating to the identity of the Backup Bidder.

              (e)     Closing the Auction. Within twenty-four (24) hours following the
              conclusion of the Auction, the Debtor shall file a notice on the Court’s docket
              identifying (with specificity) the Successful Bidder for the Purchased Assets and
              any applicable Backup Bidder. Subject to the fiduciary duties of the Debtor or its
              management or board of directors, attorneys, financial advisors or other
              professionals, or the Committee, its counsel and its financial advisors, the Debtor
              shall not consider any Bids submitted after the conclusion of the Auction and any
              and all such Bids shall be deemed untimely and shall under no circumstances
              constitute a Qualified Bid.

                                         Sale Hearing


        The Court has scheduled a hearing on October 17, 2022 at __ p.m. (prevailing Eastern
time), at which the Debtor will seek approval of the transactions contemplated by the agreement
with the Successful Bidder (the “Sale Hearing”).
                                Return of Good Faith Deposit


        The Good Faith Deposits of all Qualified Bidders shall be held in trust by Debtor’s
counsel but shall not become property of the Debtor’s estate absent further order of the Court.
The Good Faith Deposit of any Qualified Bidder that is neither the Successful Bidder nor the
Backup Bidder shall be returned to such Qualified Bidder(s) not later than two (2) business days
after the Closing. If the Successful Bidder timely closes the transaction contemplated by the
Successful Bid, its Good Faith Deposit shall be credited towards its purchase price. The return
of the Good Faith Deposit of the Successful Bidder or the Back-Up Bidder who fails to close the
transaction shall be determined by the terms of the applicable agreement.

                                         Consultation Parties


        The term “Consultation Parties” shall mean the Committee, the Committee’s Counsel,
and the Committee’s Financial Advisor. To the extent that a member of the Committee or their
respective affiliates put forth a Bid, such member of the Committee shall not be a Consultation
Party. The Debtor shall consult with the Consultation Parties as required by these Bidding
Procedures. Any failure to specifically identify consultation rights in any section of these
Bidding Procedures shall not limit or otherwise impair the rights of the Consultation Parties to
consult with the Debtor.




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                                           Fiduciary Duties

        Notwithstanding anything to the contrary contained herein, nothing in the Bidding
Procedures will prevent the Debtor or its management, board of directors, attorneys, financial
advisors or other advisors, or the Committee or its counsel or financial advisors from exercising
their respective fiduciary duties under or otherwise complying with applicable law.




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                                                                                                              Wholesale Price   Units Included in APA        Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                           per Unit          as of 7/21/2022              Value

Mass. Warehouse         Agricultural         08102353     GAL SMARTFIX VOLT METER                              $       89.99                             1   $           89.99
Mass. Warehouse         Agricultural         08102520     DR ELECTRIC ROPE CLAMP PK/4                          $        4.85                             1   $            4.85
Mass. Warehouse         Agricultural         08103954     OP POST EARTH ANCHOR 1/2X3X15                        $        4.60                             1   $            4.60
Mass. Warehouse         Agricultural         08113333     DP POST TOPR INSULATOR BG/10                         $        5.92                             1   $            5.92
Mass. Warehouse         Agricultural         08125380     DP PLASTC POST INSULATOR PK/25                       $        3.80                             1   $            3.80
Mass. Warehouse         Agricultural         10003340     LG BEEKEEPING FOR DUMMIES BOOK                       $       21.11                             1   $           21.11
Mass. Warehouse         Agricultural         10014465     TTR OVL DURA TL STOCK TANK 70G                       $      144.49                             1   $          144.49
Mass. Warehouse         Agricultural         10024782     MM DURAFLEX MINI FEEDER BL 6QT                       $        9.28                             1   $            9.28
Mass. Warehouse         Agricultural         10030820     LG DF HOOK OVER FEEDER BL 12QT                       $       17.34                             1   $           17.34
Mass. Warehouse         Agricultural         07004858     DO NOT USE - SSC PAPER BAG 25LB BD/50                $       75.91                             2   $          151.82
Mass. Warehouse         Agricultural         08102547     GAL RPL BATTRY 12AMP 12V F/S50                       $       60.29                             2   $          120.58
Mass. Warehouse         Agricultural         08103765     GAL S40 ENERGIZER 80-ACRES                           $      250.77                             2   $          501.54
Mass. Warehouse         Agricultural         08125220     DP PLASTIC GATE HANDLE RED                           $        1.10                             2   $            2.20
Mass. Warehouse         Agricultural         08125405     DP ONE AMP FUSE 1/4X1IN PK/5                         $        1.33                             2   $            2.66
Mass. Warehouse         Agricultural         08125439     DP LIGHTNING ARRESTOR KIT                            $        7.40                             2   $           14.80
Mass. Warehouse         Agricultural         10003327     LG BEEHIVE FRAMES DEEP PK OF 5                       $       24.44                             2   $           48.88
Mass. Warehouse         Agricultural         10003331     LG GOATSKIN GLOVES/VENT SLV LG                       $       13.44                             2   $           26.88
Mass. Warehouse         Agricultural         10003336     LG BEEKEEPNG TYVEK COVERALL LG                       $       23.41                             2   $           46.82
Mass. Warehouse         Agricultural         10003338     LG BEEHIVE FRAME GRIP                                $       10.67                             2   $           21.34
Mass. Warehouse         Agricultural         10003378     LG BUCKET FEEDER 2GAL                                $        7.39                             2   $           14.78
Mass. Warehouse         Agricultural         10003389     LG 10-FRAME BEGINNER HIVE KIT                        $      276.53                             2   $          553.06
Mass. Warehouse         Agricultural         10003590     SSC POLY TANK 2X1X4FT 50GAL                          $      103.53                             2   $          207.06
Mass. Warehouse         Agricultural         10024783     MM DURAFLEX MINI FEEDER RD 6QT                       $        6.71                             2   $           13.42
Mass. Warehouse         Agricultural         10030698     MLR DURFLX MINI FEEDER GRN 6QT                       $        6.71                             2   $           13.42
Mass. Warehouse         Agricultural         10070144     LG PLASTIC FEED SCOOP WHT 5PT                        $        4.84                             2   $            9.68
Mass. Warehouse         Agricultural         07003668     PC CNSTR FILM 24X100 6M BLK                          $      121.19                             3   $          363.57
Mass. Warehouse         Agricultural         08102381     GAL TURBO WIRE WHITE 1312FT                          $       66.23                             3   $          198.69
Mass. Warehouse         Agricultural         08102556     GAL REPL BATTERY F/S15/S17 6V                        $       28.31                             3   $           84.93
Mass. Warehouse         Agricultural         08103068     GAL FENCE B10 BATTERY ENERGIZR                       $       72.75                             3   $          218.25
Mass. Warehouse         Agricultural         08103955     OP POST EARTH ANCHOR 1/2X3X30                        $        7.29                             3   $           21.87
Mass. Warehouse         Agricultural         08125194     SS SLRTRL FENCE CHARGER 25M 6V                       $      182.63                             3   $          547.89
Mass. Warehouse         Agricultural         10000101     TTR CATL FEEDR 8FT 2PC W/O MTL                       $      405.96                             3   $        1,217.88
Mass. Warehouse         Agricultural         10003592     SSC POLY TANK 2X2X6FT 150GAL                         $      190.15                             3   $          570.45
Mass. Warehouse         Agricultural         10004553     LG HEN HYDRATOR 1GL                                  $       12.29                             3   $           36.87
Mass. Warehouse         Agricultural         10005740     WARE RUSTIC BARN CHICKEN COOP                        $      435.20                             3   $        1,305.60
Mass. Warehouse         Agricultural         10030616     LG DF FLAT BACK BUCKET BL 20QT                       $        8.99                             3   $           26.97
Mass. Warehouse         Agricultural         08100841     SSC FIELDMASTER MDL 125 FENCER                       $       70.01                             4   $          280.04
Mass. Warehouse         Agricultural         08102388     GAL POLY TAPE 1/2IN ORG 656FT                        $       23.17                             4   $           92.68
Mass. Warehouse         Agricultural         08102870     GAL POWER FENCE LEAD                                 $       15.44                             4   $           61.76
Mass. Warehouse         Agricultural         08125192     SSC FLDMSTR 30DC FENCE CHARGER                       $       91.41                             4   $          365.64
Mass. Warehouse         Agricultural         08125382     DP T-POST INSULATOR 3IN PK/25                        $        6.65                             4   $           26.60
Mass. Warehouse         Agricultural         10003959     MLR COLD KNIFE                                       $       19.98                             4   $           79.92
Mass. Warehouse         Agricultural         10014046     TTR 6BAR AMR GATE 1 3/4IN 6FT                        $      102.55                             4   $          410.20
Mass. Warehouse         Agricultural         10014059     TTR 6BAR RND COR GATE 2IN 14FT                       $      286.06                             4   $        1,144.24
Mass. Warehouse         Agricultural         07003670     PC CNSTR FILM 32X100 6M BLK                          $      177.73                             5   $          888.65
Mass. Warehouse         Agricultural         08103829     DP ELECTRIC FENCER 1/2 JOULE                         $       92.40                             5   $          462.00
Mass. Warehouse         Agricultural         10003376     LG LABELS F/HONEY JARS 40PK                          $        1.93                             5   $            9.65
Mass. Warehouse         Agricultural         10003591     SSC ROUND POLY TANK 350GAL                           $      324.18                             5   $        1,620.90
Mass. Warehouse         Agricultural         10502653     TRP HOOK FOR D-HANDLE TOOLS                          $        6.38                             5   $           31.90
Mass. Warehouse         Agricultural         08111495     DP WIRE CUTTER                                       $       16.02                             6   $           96.12
Mass. Warehouse         Agricultural         08125195     SS SLRTRL FENC CHARGER 30M 12V                       $      264.50                             6   $        1,587.00
Mass. Warehouse         Agricultural         10000668     MM RND CAP F/PPF WATER BLK 4IN                       $        7.37                             6   $           44.22
Mass. Warehouse         Agricultural         10003337     LG BEEKEEPING BRUSH                                  $        5.58                             6   $           33.48
Mass. Warehouse         Agricultural         10005739     WARE SHANTY CHICKEN COOP                             $      554.26                             6   $        3,325.56
Mass. Warehouse         Agricultural         10014423     TTR TITAN PLY BUNK FEEDER 10FT                       $      264.76                             6   $        1,588.56
Mass. Warehouse         Agricultural         10028018     TTR 6 BAR CORNER GATE 2IN 8FT                        $      242.71                             6   $        1,456.26
Mass. Warehouse         Agricultural         07000779     SunFilm Gold Silage Wrap White 30x5000               $      122.10                             7   $          854.70
Mass. Warehouse         Agricultural         07001828     CI STRW BLKT STAPLE 6IN BX1000                       $       50.38                             7   $          352.66
Mass. Warehouse         Agricultural         07003671     PC CNSTR FILM 40X100 6M BLK                          $      222.16                             7   $        1,555.12
Mass. Warehouse         Agricultural         10014058     TTR 6BAR RND COR GATE 2IN 12FT                       $      255.12                             7   $        1,785.84
Mass. Warehouse         Agricultural         06613571     MLR FLAT BACK BUCKET YEL 8QT                         $        5.74                             8   $           45.92
Mass. Warehouse         Agricultural         08102397     GAL UNDRGRND CABLE 12.5GA 65FT                       $       28.51                             8   $          228.08
Mass. Warehouse         Agricultural         08102407     GAL BUNGEE GATE 11 1/2 - 23FT                        $       22.37                             8   $          178.96
Mass. Warehouse         Agricultural         08103992     BEK FENCE KIT 660                                    $       35.00                             8   $          280.00
Mass. Warehouse         Agricultural         10000693     BEH WALL HAY RACK                                    $       88.90                             8   $          711.20
Mass. Warehouse         Agricultural         10003034     TTR WATER TANK STAND                                 $       87.64                             8   $          701.12
Mass. Warehouse         Agricultural         10025247     FI CONVERT-ABLE DE-ICER 1500W                        $       46.35                             8   $          370.80
Mass. Warehouse         Agricultural         10030672     LG POULTRY FOUNTN WATERER 5GL                        $       43.45                             8   $          347.60
Mass. Warehouse         Agricultural         10030699     LG DF MUCK TUB GREEN 70QT                            $       21.35                             8   $          170.80
Mass. Warehouse         Agricultural         08102355     GAL FENCE CLIP-ON WARNING SIGN                       $        2.87                             9   $           25.83
Mass. Warehouse         Agricultural         08104016     GZ HARDWARE CLOTH 1/2X24X100FT                       $       92.18                             9   $          829.62
Mass. Warehouse         Agricultural         10025215     FI ECON FLOATING DE-ICER 1000W                       $       25.98                             9   $          233.82
Mass. Warehouse         Agricultural         10004316     TTR ADJ HAY/GRAIN FEEDER                             $      451.94                            10   $        4,519.40
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                                                                                                              Wholesale Price   Units Included in APA        Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                           per Unit          as of 7/21/2022              Value

Mass. Warehouse         Agricultural         10004513     TTR DURATOUGH ANIMAL FEEDER S                        $      291.17                            10   $       2,911.70
Mass. Warehouse         Agricultural         10004548     TTR VRT BAR SML ANIMAL PNL 6FT                       $      137.72                            10   $       1,377.20
Mass. Warehouse         Agricultural         10014189     TTR GALV WIRE MESH 1 3/4IN 8FT                       $      156.81                            10   $       1,568.10
Mass. Warehouse         Agricultural         10028178     TTR 6BAR AMR GATE 1 3/4IN 6FT                        $      109.58                            10   $       1,095.80
Mass. Warehouse         Agricultural         08103543     GAL GROUND ROD CLAMPS PK/3                           $        9.31                            11   $         102.41
Mass. Warehouse         Agricultural         08125193     SSC FIELDMASTER 50 FENCER                            $      143.93                            11   $       1,583.23
Mass. Warehouse         Agricultural         10007239     DARE DARE-O-MATIC FLOAT VALVE                        $       10.82                            11   $         119.02
Mass. Warehouse         Agricultural         10012074     RUBBERMAID STOCK TANK DRAIN PLUG KIT                 $       24.10                            11   $         265.10
Mass. Warehouse         Agricultural         10014188     TTR GALV WIRE MESH 1 3/4IN 6FT                       $      141.68                            11   $       1,558.48
Mass. Warehouse         Agricultural         10014193     TTR GALV WIRE MESH 1 3/4 16FT                        $      235.90                            11   $       2,594.90
Mass. Warehouse         Agricultural         08125270     DP PRCLN CORNR INSULATORS PK10                       $        4.18                            12   $          50.16
Mass. Warehouse         Agricultural         10003950     TTR OVAL RAISD BED PLANTER 6FT                       $      173.07                            12   $       2,076.84
Mass. Warehouse         Agricultural         10005809     DT PLASTIC WATERER 1.5QT                             $        1.60                            12   $          19.20
Mass. Warehouse         Agricultural         10028021     TTR 6 BAR CORNER GATE 2IN 14FT                       $      340.10                            12   $       4,081.20
Mass. Warehouse         Agricultural         10701681     CHAP ATV/TRAILER MOUNT KIT                           $       58.40                            12   $         700.80
Mass. Warehouse         Agricultural         07014695     AGWAY AGRI HAY COVER 25FTX33FT                       $      108.57                            13   $       1,411.41
Mass. Warehouse         Agricultural         08102378     GAL POLYWIRE WHITE 656FT                             $        9.01                            13   $         117.13
Mass. Warehouse         Agricultural         08102411     GAL PERMANENT WIRE TIGHTENER                         $        2.77                            13   $          36.01
Mass. Warehouse         Agricultural         08114922     GZ CAGE WIRE 14G 1X2X36INX25FT                       $       37.71                            13   $         490.23
Mass. Warehouse         Agricultural         10003035     TTR WATER TANK STAND LARGE                           $       99.55                            13   $       1,294.15
Mass. Warehouse         Agricultural         10003221     RUB FEED/SEED CONTNR W/LID 20G                       $       41.52                            13   $         539.76
Mass. Warehouse         Agricultural         10004058     PP HEN HOUSE II CHICKEN COOP                         $      390.53                            13   $       5,076.89
Mass. Warehouse         Agricultural         06613570     MLR FLAT BACK BUCKET H PNK 8QT                       $        4.16                            14   $          58.24
Mass. Warehouse         Agricultural         08103685     GAL M60 ENERGIZER 20-40 ACRES                        $       66.63                            14   $         932.82
Mass. Warehouse         Agricultural         08105443     BK SMOOTH WIRE 9GA LC 10LB CL3                       $       16.68                            14   $         233.52
Mass. Warehouse         Agricultural         10003951     TTR OVAL RAISD BED PLANTER 8FT                       $      258.53                            14   $       3,619.42
Mass. Warehouse         Agricultural         10030646     MM PLASTIC FEED SCOOP WHT 1PT                        $        2.96                            14   $          41.44
Mass. Warehouse         Agricultural         08103563     GAL FENCE AND EARTH LEADSET                          $        9.69                            15   $         145.35
Mass. Warehouse         Agricultural         08103683     GAL M10 ENERGIZER 3-10 ACRES                         $       42.47                            15   $         637.05
Mass. Warehouse         Agricultural         08103988     GAL PR-WND REEL W/1312FT WIRE                        $      154.04                            15   $       2,310.60
Mass. Warehouse         Agricultural         10003952     MLR BEGINNER BEE HIVE KIT                            $      196.03                            15   $       2,940.45
Mass. Warehouse         Agricultural         10024547     DARE PLSTC HOUSED FLOAT VALVE                        $        6.97                            15   $         104.55
Mass. Warehouse         Agricultural         08100063     BK ELEC FENCE WIRE 17GA 1/2M                         $       27.63                            16   $         442.08
Mass. Warehouse         Agricultural         10004551     TTR VERT BAR SM ANIMAL W/T 6FT                       $      212.12                            16   $       3,393.92
Mass. Warehouse         Agricultural         10028056     TTR GALV POLY BUNK FEEDER 5FT                        $      194.31                            16   $       3,108.96
Mass. Warehouse         Agricultural         08102495     GAL XL ALUM WIRE 17GA 250FT                          $        9.11                            17   $         154.87
Mass. Warehouse         Agricultural         08129444     DP T-POST TAPE INSULATOR PK/25                       $        5.35                            17   $          90.95
Mass. Warehouse         Agricultural         10014190     TTR GALV WIRE MESH 1 3/4 10FT                        $      172.74                            17   $       2,936.58
Mass. Warehouse         Agricultural         10028000     TTR 6BAR AMR GATE 1 3/4IN 12FT                       $      134.79                            17   $       2,291.43
Mass. Warehouse         Agricultural         10005738     WARE PIONEER CHICKEN COOP                            $      288.03                            18   $       5,184.54
Mass. Warehouse         Agricultural         10025220     FI FLOATING DE-ICER 1250W                            $       33.16                            18   $         596.88
Mass. Warehouse         Agricultural         06630585     DF PLSTC MUCK TUB BRY BLU 70QT                       $       21.35                            19   $         405.65
Mass. Warehouse         Agricultural         07014696     AGWAY AGRI HAY COVER 28FTX48FT                       $      165.30                            19   $       3,140.70
Mass. Warehouse         Agricultural         10003326     LG 10FRM MED HIVE BODY 6.25IN                        $       58.02                            19   $       1,102.38
Mass. Warehouse         Agricultural         10004562     LG TROUGH FDR NRW SPACING 20IN                       $        8.64                            19   $         164.16
Mass. Warehouse         Agricultural         10028022     TTR 6 BAR CORNER GATE 2IN 16FT                       $      359.18                            19   $       6,824.42
Mass. Warehouse         Agricultural         08100842     SSC FIELDMASTER MDL 150 FENCER                       $       65.43                            20   $       1,308.60
Mass. Warehouse         Agricultural         08104034     GZ HEX NETTING 2INX48INX150FT                        $       46.51                            20   $         930.20
Mass. Warehouse         Agricultural         10004559     LG DBL GLV NESTNG BX/PLST BSKT                       $       61.16                            20   $       1,223.20
Mass. Warehouse         Agricultural         07014694     AGWAY AGRI HAY COVER 15FTX30FT                       $       62.41                            21   $       1,310.61
Mass. Warehouse         Agricultural         08103958     OP POST EARTH ANCHOR 5/8X6X48                        $       18.12                            21   $         380.52
Mass. Warehouse         Agricultural         10014191     TTR GALV WIRE MESH 1 3/4 12FT                        $      192.31                            21   $       4,038.51
Mass. Warehouse         Agricultural         10028183     TTR 6BAR AMR GATE 1 3/4IN 16FT                       $      196.65                            21   $       4,129.65
Mass. Warehouse         Agricultural         10030517     LG DF RUBBER FEED PAN 2QT                            $        5.06                            21   $         106.26
Mass. Warehouse         Agricultural         10004555     LG PNTD GALV BUCKET WATERER 2G                       $       13.30                            22   $         292.60
Mass. Warehouse         Agricultural         07014697     AGWAY AGRI HAY COVER 33FTX48FT                       $      192.77                            23   $       4,433.71
Mass. Warehouse         Agricultural         07500313     BC SISAL TWINE D/B GOLD 16M                          $       62.28                            23   $       1,432.44
Mass. Warehouse         Agricultural         10001564     MM LTL GIANT MUCK BUCKET CART                        $       61.19                            23   $       1,407.37
Mass. Warehouse         Agricultural         10001938     FI 2N1 CONVERTIBLE TANK DEICER                       $       42.02                            23   $         966.46
Mass. Warehouse         Agricultural         10003033     TTR OVL VRSA 40 W/SPIGOT 2X1X4                       $      162.19                            23   $       3,730.37
Mass. Warehouse         Agricultural         10003448     FI CIRCULATED AIR INCUBATOR                          $       85.82                            23   $       1,973.86
Mass. Warehouse         Agricultural         10006698     TTR EW EQUINE HAY BASKET                             $      641.96                            23   $      14,765.08
Mass. Warehouse         Agricultural         06671927     WARE CHATEAU CHICKEN COOP                            $      362.17                            24   $       8,692.08
Mass. Warehouse         Agricultural         07500005     BC BALER TWINE S/B ORG 4M/450                        $       44.89                            24   $       1,077.36
Mass. Warehouse         Agricultural         10001855     MM HD DURAFLEX STOCK TANK 75GL                       $       67.73                            25   $       1,693.25
Mass. Warehouse         Agricultural         10028011     TTR 6BAR AMR GATE 1 3/4IN 16FT                       $      184.74                            25   $       4,618.50
Mass. Warehouse         Agricultural         10014187     TTR GALV WIRE MESH 1 3/4IN 4FT                       $      129.84                            26   $       3,375.84
Mass. Warehouse         Agricultural         06635041     MLLR NURSING BOTTLE SCR NIPPLE                       $        4.84                            27   $         130.68
Mass. Warehouse         Agricultural         06649987     FI BABY CHICK STARTER HOME                           $       20.70                            27   $         558.90
Mass. Warehouse         Agricultural         08104043     IR FENCE 14GA 2X4X36INX50FT                          $       41.32                            27   $       1,115.64
Mass. Warehouse         Agricultural         10012013     RUBBERMAID 50 GALLON STOCK TANK W/O PLUG             $       86.00                            27   $       2,322.00
Mass. Warehouse         Agricultural         10014045     TTR 6BAR AMR GATE 1 3/4IN 4FT                        $       91.05                            27   $       2,458.35
Mass. Warehouse         Agricultural         10030612     LG DURAFLEX RUBBER TUB 6.5GAL                        $       13.57                            27   $         366.39
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                                                                                                              Wholesale Price   Units Included in APA        Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                           per Unit          as of 7/21/2022              Value

Mass. Warehouse         Agricultural         08103566     DARE WD POST INSULATOR YL BG15                       $        4.68                            28   $         131.04
Mass. Warehouse         Agricultural         10004195     LG PLASTIC DOME FEEDER 60LB                          $       66.91                            28   $       1,873.48
Mass. Warehouse         Agricultural         10004194     LG PLASTIC DOME WATERER 10GL                         $       62.99                            29   $       1,826.71
Mass. Warehouse         Agricultural         10025251     FI 1500 DRAIN PLUG DE-ICER 150                       $       40.96                            29   $       1,187.84
Mass. Warehouse         Agricultural         10028182     TTR 6BAR AMR GATE 1 3/4IN 14FT                       $      184.79                            29   $       5,358.91
Mass. Warehouse         Agricultural         10002813     LG CHICK STARTER KIT DS/102                          $      144.72                            30   $       4,341.60
Mass. Warehouse         Agricultural         10012007     RUBBERMAID 100 GALLON STOCK TANK                     $      103.45                            30   $       3,103.50
Mass. Warehouse         Agricultural         08100061     BK ELECTRIC FNC WIRE 1/2M 14GA                       $       54.58                            31   $       1,691.98
Mass. Warehouse         Agricultural         10025216     FI ALUM BUCKET DE-ICER 250W                          $       41.91                            31   $       1,299.21
Mass. Warehouse         Agricultural         10028177     TTR 6BAR AMR GATE 1 3/4IN 4FT                        $       98.39                            31   $       3,050.09
Mass. Warehouse         Agricultural         10070125     MM PLASTC FEED SCOOP GRN 5PT                         $        4.84                            31   $         150.04
Mass. Warehouse         Agricultural         08106943     DP SNUG TP INSULATOR BLK PK/25                       $        3.02                            32   $          96.64
Mass. Warehouse         Agricultural         10025217     FI FLOATING DE-ICER 1500W                            $       26.82                            33   $         885.06
Mass. Warehouse         Agricultural         10030649     LG FEED SCOOP GALVANIZED 3QT                         $        9.30                            33   $         306.90
Mass. Warehouse         Agricultural         08102403     GAL HEAVY DUTY TREADIN POST                          $        3.27                            34   $         111.18
Mass. Warehouse         Agricultural         08104022     GZ HARDWARE CLOTH 1/2X48X25FT                        $       49.45                            34   $       1,681.30
Mass. Warehouse         Agricultural         10001854     MM HD DURAFLEX STOCK TANK 40GL                       $       35.15                            34   $       1,195.10
Mass. Warehouse         Agricultural         07002001     RM BRUTE COMBO CONTNR/LID 32GL                       $       51.68                            35   $       1,808.80
Mass. Warehouse         Agricultural         10004180     MLR DT POULTRY WATERER/LEG 1.5                       $        4.24                            35   $         148.40
Mass. Warehouse         Agricultural         10028019     TTR 6 BAR CORNER GATE 2IN 10FT                       $      274.33                            35   $       9,601.55
Mass. Warehouse         Agricultural         10028020     TTR 6 BAR CORNER GATE 2IN 12FT                       $      298.70                            35   $      10,454.50
Mass. Warehouse         Agricultural         06611280     MLR PRPL FLAT BACK BUCKET 8QT                        $        5.74                            36   $         206.64
Mass. Warehouse         Agricultural         08105673     100 4X2 60IN 12 1/2GA GLV WLD                        $      162.13                            36   $       5,836.68
Mass. Warehouse         Agricultural         08114913     GZ VNL GRD FENCE GR 3X2X2X50FT                       $       29.57                            36   $       1,064.52
Mass. Warehouse         Agricultural         10006327     BEH ANCHOR STAKE 15IN X 3IN                          $       15.71                            36   $         565.56
Mass. Warehouse         Agricultural         10014073     TTR 6BAR AMR GATE 1 3/4IN 6FT                        $      119.19                            36   $       4,290.84
Mass. Warehouse         Agricultural         08104021     GZ HARDWARE CLOTH 1/2X48X100FT                       $      163.43                            37   $       6,046.91
Mass. Warehouse         Agricultural         06648193     FI AUTOMATIC EGG TURNER                              $       37.97                            38   $       1,442.86
Mass. Warehouse         Agricultural         08113933     GZ WELD MESH FNC GLV 2X3X48X50                       $       38.02                            38   $       1,444.76
Mass. Warehouse         Agricultural         06630586     DURAFLEX MUCK TUB HOT PNK 70QT                       $       21.35                            39   $         832.65
Mass. Warehouse         Agricultural         10001853     MM HD DURAFLEX STOCK TANK 15GL                       $       18.90                            39   $         737.10
Mass. Warehouse         Agricultural         10030621     LG DF FLAT BACK BUCKET RD 20QT                       $        8.99                            39   $         350.61
Mass. Warehouse         Agricultural         08102459     GAL IN-LINE STRAINER                                 $        2.57                            40   $         102.80
Mass. Warehouse         Agricultural         08103858     OP WELD WIRE 1X2X36INX25FT 14G                       $       61.01                            41   $       2,501.41
Mass. Warehouse         Agricultural         08104024     GZ HEX NETTING 1INX24INX150FT                        $       47.46                            41   $       1,945.86
Mass. Warehouse         Agricultural         08104029     GZ HEX NETTING 1INX72INX150FT                        $      146.77                            41   $       6,017.57
Mass. Warehouse         Agricultural         08112384     GZ HEX NETTING 20GA 1X24X25FT                        $        8.09                            41   $         331.69
Mass. Warehouse         Agricultural         08103595     OK SELECT HOG PANEL 34INX16FT                        $       29.66                            42   $       1,245.72
Mass. Warehouse         Agricultural         08111476     DP SLINKY GATE                                       $       12.04                            42   $         505.68
Mass. Warehouse         Agricultural         10014078     TTR 6BAR AMR GATE 1 3/4IN 16FT                       $      219.02                            43   $       9,417.86
Mass. Warehouse         Agricultural         10030673     LG POULTRY FOUNTN WATERER 7GL                        $       50.52                            43   $       2,172.36
Mass. Warehouse         Agricultural         10014072     TTR 6BAR AMR GATE 1 3/4IN 4FT                        $       99.26                            44   $       4,367.44
Mass. Warehouse         Agricultural         10014077     TTR 6BAR AMR GATE 1 3/4IN 14FT                       $      190.66                            44   $       8,389.04
Mass. Warehouse         Agricultural         08105377     GZ HARDWRE CLOTH 19G 1/2X24X10                       $        8.67                            46   $         398.82
Mass. Warehouse         Agricultural         08105660     OK GLV WELD MESH 14G 4X2X36 50                       $       37.66                            46   $       1,732.36
Mass. Warehouse         Agricultural         10004190     LG PLASTIC DOME WATERER 5GL                          $       52.52                            47   $       2,468.44
Mass. Warehouse         Agricultural         08103567     DARE T-POST INSULATOR YLW BG15                       $        4.61                            48   $         221.28
Mass. Warehouse         Agricultural         10014472     TTR OVL MEGA STOCK TANK 300GAL                       $      417.07                            48   $      20,019.36
Mass. Warehouse         Agricultural         10025255     FI FLAT-BACK BUCKET HEATED                           $       44.98                            48   $       2,159.04
Mass. Warehouse         Agricultural         10003450     FI DIGITAL STILL AIR INCUBATOR                       $       49.47                            51   $       2,522.97
Mass. Warehouse         Agricultural         07500275     BC BALER TWINE D/B OR 7.2M/170                       $       35.56                            52   $       1,849.12
Mass. Warehouse         Agricultural         08105666     50FT 4X2 60IN 12 1/2GA WLD MSH                       $       86.18                            53   $       4,567.54
Mass. Warehouse         Agricultural         08114860     GZ RABBIT GUARD 16GA 28INX50FT                       $       35.90                            53   $       1,902.70
Mass. Warehouse         Agricultural         08104023     GZ HEX NETTING 1INX12INX150FT                        $       22.25                            54   $       1,201.50
Mass. Warehouse         Agricultural         10003339     LG ENTRANCE FEEDER W/QT JAR                          $        5.46                            56   $         305.76
Mass. Warehouse         Agricultural         10004558     LG SGL GLV NESTNG BX/PLST BSKT                       $       42.34                            56   $       2,371.04
Mass. Warehouse         Agricultural         08100060     BK ELECTRIC FNC WIRE 1/4M 14GA                       $       28.00                            57   $       1,596.00
Mass. Warehouse         Agricultural         08104025     GZ HEX NETTING 1INX36INX150FT                        $       68.77                            58   $       3,988.66
Mass. Warehouse         Agricultural         10003292     LG HIGH CAPACTY POULTRY FEEDER                       $       35.35                            58   $       2,050.30
Mass. Warehouse         Agricultural         10003373     LG PLASTIC JAR 16OZ CA/12                            $        8.16                            58   $         473.28
Mass. Warehouse         Agricultural         10014076     TTR 6BAR AMR GATE 1 3/4IN 12FT                       $      166.99                            58   $       9,685.42
Mass. Warehouse         Agricultural         08125345     DP ELFIN FENCE INSULATOR PK/25                       $        2.81                            60   $         168.60
Mass. Warehouse         Agricultural         10014468     TTR OVL ULTRA STOCK TANK 170GL                       $      226.10                            62   $      14,018.20
Mass. Warehouse         Agricultural         06611278     MLR FLAT BACK BUCKET GRN 8QT                         $        5.74                            63   $         361.62
Mass. Warehouse         Agricultural         10025256     FI FLOATING POND DE-ICER                             $       40.44                            63   $       2,547.72
Mass. Warehouse         Agricultural         10070141     LG SODA BTL LAMB NIPPLE 3/PK                         $        2.14                            64   $         136.96
Mass. Warehouse         Agricultural         08111920     FR FIELD FENCE C1 1047-6-12.5                        $      238.94                            65   $      15,531.10
Mass. Warehouse         Agricultural         10004192     LG PLASTIC DOME WATERER 8GL                          $       55.36                            65   $       3,598.40
Mass. Warehouse         Agricultural         10003971     FI CHICKEN WATERER DEICER                            $       37.27                            66   $       2,459.82
Mass. Warehouse         Agricultural         08103855     OP 2IN HEX NETTING 24IN X 50FT                       $        9.50                            68   $         646.00
Mass. Warehouse         Agricultural         10003314     MLR HEN HYDRATOR 3.5GAL                              $       28.72                            69   $       1,981.68
Mass. Warehouse         Agricultural         10028181     TTR 6BAR AMR GATE 1 3/4IN 12FT                       $      171.21                            69   $      11,813.49
Mass. Warehouse         Agricultural         10028179     TTR 6BAR AMR GATE 1 3/4IN 8FT                        $      133.36                            75   $      10,002.00
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                                                                                                              Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                           per Unit          as of 7/21/2022               Value

Mass. Warehouse         Agricultural         06611276     MLR FLAT BACK BUCKET BLUE 8QT                        $        4.16                             76   $         316.16
Mass. Warehouse         Agricultural         10003374     LG GLASS JAR 16OZ CA/12                              $       12.17                             76   $         924.92
Mass. Warehouse         Agricultural         08104026     GZ HEX NETTING 1INX48INX150FT                        $       95.95                             77   $       7,388.15
Mass. Warehouse         Agricultural         10014075     TTR 6BAR AMR GATE 1 3/4IN 10FT                       $      155.27                             77   $      11,955.79
Mass. Warehouse         Agricultural         10105529     TTR FIRE RING F/CAMP FIRES                           $       71.02                             77   $       5,468.54
Mass. Warehouse         Agricultural         08104032     GZ HEX NETTING 2INX36INX150FT                        $       33.86                             78   $       2,641.08
Mass. Warehouse         Agricultural         10003956     MLR BEEHIVE SCREENED BTM BOARD                       $       28.63                             83   $       2,376.29
Mass. Warehouse         Agricultural         10014466     TTR OVL ULTRA STOCK TANK 100GL                       $      157.75                             89   $      14,039.75
Mass. Warehouse         Agricultural         10028180     TTR 6BAR AMR GATE 1 3/4IN 10FT                       $      145.08                             92   $      13,347.36
Mass. Warehouse         Agricultural         08106999     CF SNOW FENCE 5 WIRE RED 4X50                        $       58.60                             95   $       5,567.00
Mass. Warehouse         Agricultural         10004197     LG DEEP BSE POULTRY WATERER 2G                       $       12.25                            100   $       1,225.00
Mass. Warehouse         Agricultural         10028152     TTR 6BAR CORRAL PNL 1 3/4 12FT                       $      171.81                            103   $      17,696.43
Mass. Warehouse         Agricultural         10030702     LG PLASTC POULTRY FEEDER 22LB                        $       23.63                            112   $       2,646.56
Mass. Warehouse         Agricultural         06613574     MLR FLAT BACK BUCKET HTPK 20QT                       $        8.99                            117   $       1,051.83
Mass. Warehouse         Agricultural         08112847     GZ HRDW CLOTH 19G 1/2X1/2X24X5                       $        4.45                            126   $         560.70
Mass. Warehouse         Agricultural         10003397     LG RND PLASTIC BUCKET ORG 8QT                        $        5.39                            128   $         689.92
Mass. Warehouse         Agricultural         10030810     LG DRFLX FLT BK BUCKET TL 20QT                       $        8.99                            128   $       1,150.72
Mass. Warehouse         Agricultural         10003290     MM EGG BASKET SMALL                                  $        5.99                            129   $         772.71
Mass. Warehouse         Agricultural         10002810     LG NESTING WATER BASE LGN 1GAL                       $        3.20                            135   $         432.00
Mass. Warehouse         Agricultural         10014300     TTR 6BAR CORL PANEL 1 3/4 12FT                       $      139.77                            135   $      18,868.95
Mass. Warehouse         Agricultural         10001941     SS PLASTIC BUCKET WHT 5GAL                           $        4.90                            137   $         671.30
Mass. Warehouse         Agricultural         10004196     LG DEEP BSE POULTRY WATERER 1G                       $       11.22                            139   $       1,559.58
Mass. Warehouse         Agricultural         10025308     FI HEATED FLAT BACK BUCKET 5GL                       $       35.58                            145   $       5,159.10
Mass. Warehouse         Agricultural         10014074     TTR 6BAR AMR GATE 1 3/4IN 8FT                        $      135.35                            149   $      20,167.15
Mass. Warehouse         Agricultural         10002805     LG PLTRY GRND FEEDER PUR 20IN                        $        4.79                            150   $         718.50
Mass. Warehouse         Agricultural         08104033     GZ HEX NETTING 2INX36INX50FT                         $       12.20                            156   $       1,903.20
Mass. Warehouse         Agricultural         06613576     MLR FLT BACK BUCKET L GRN 20QT                       $        8.99                            163   $       1,465.37
Mass. Warehouse         Agricultural         08105374     GZ HEX NETTING 1X24X25 GRN                           $       21.05                            163   $       3,431.15
Mass. Warehouse         Agricultural         10030679     LG HANGING FEEDER GALV 40LB                          $       21.91                            165   $       3,615.15
Mass. Warehouse         Agricultural         10003208     LG RND HANGING POULTRY WATERER                       $        6.44                            174   $       1,120.56
Mass. Warehouse         Agricultural         08103851     GZ 1IN HEX NETTING 36IN X 25FT                       $       14.24                            182   $       2,591.68
Mass. Warehouse         Agricultural         10004188     MLR DT POULTRY WATERER/LEG 2.5                       $       12.07                            185   $       2,232.95
Mass. Warehouse         Agricultural         10030685     MLR SLD TOP GROUND FEEDER 18IN                       $        3.13                            186   $         582.18
Mass. Warehouse         Agricultural         08104030     GZ HEX NETTING 1INX72INX50FT                         $       41.27                            190   $       7,841.30
Mass. Warehouse         Agricultural         10004183     MLR DT POULTRY FEEDER/LEGS 8.5                       $       11.86                            190   $       2,253.40
Mass. Warehouse         Agricultural         08103852     GZ 1IN HEX NETTING 36IN X 50FT                       $       26.02                            194   $       5,047.88
Mass. Warehouse         Agricultural         10003744     MLR CERAMIC NEST EGGS WHT PK/2                       $        4.28                            198   $         847.44
Mass. Warehouse         Agricultural         10004200     LG EGG FLAT 30-COUNT 12PK                            $        3.20                            198   $         633.60
Mass. Warehouse         Agricultural         10030678     LG HANGING FEEDER GALV 30LB                          $       24.84                            203   $       5,042.52
Mass. Warehouse         Agricultural         08103859     OP HRDWR CLOTH 1/4INX24INX10FT                       $       11.70                            208   $       2,433.60
Mass. Warehouse         Agricultural         10004201     MLR DT BEGINNER POULTRY KIT                          $       22.49                            208   $       4,677.92
Mass. Warehouse         Agricultural         08105375     GZ HEX NETTING 20GA 1X24X50FT                        $       21.92                            211   $       4,625.12
Mass. Warehouse         Agricultural         10003207     LG HANGING CRNR POULTRY FEEDER                       $        6.44                            217   $       1,397.48
Mass. Warehouse         Agricultural         08104035     GZ HEX NETTING 2INX48INX50FT                         $       15.21                            219   $       3,330.99
Mass. Warehouse         Agricultural         08104015     GZ HARDWARE CLOTH 1/4X36INX5FT                       $        7.97                            221   $       1,761.37
Mass. Warehouse         Agricultural         10030802     LG HANG PLTRY FEEDER COVER GLV                       $        4.32                            224   $         967.68
Mass. Warehouse         Agricultural         08103849     OP HRDWR CLOTH 1/2INX36INX10FT                       $       15.63                            227   $       3,548.01
Mass. Warehouse         Agricultural         10003291     MM EGG BASKET LARGE                                  $        7.91                            240   $       1,898.40
Mass. Warehouse         Agricultural         10030684     MLR SLD TOP GROUND FEEDER 12IN                       $        2.48                            240   $         595.20
Mass. Warehouse         Agricultural         10030804     LG DURAFLEX PLSTC PAIL BLK 8QT                       $        5.39                            255   $       1,374.45
Mass. Warehouse         Agricultural         10030803     LG DURAFLX RUBBER FEED PAN 8QT                       $        9.05                            256   $       2,316.80
Mass. Warehouse         Agricultural         10030670     MM PLASTIC GROUND FEEDER 20IN                        $        4.79                            269   $       1,288.51
Mass. Warehouse         Agricultural         08103854     OP 1IN HEX NETTING 48IN X 50FT                       $       36.05                            271   $       9,769.55
Mass. Warehouse         Agricultural         10004185     MLR DT POULTRY FEEDER/LEG 17.5                       $       18.91                            275   $       5,200.25
Mass. Warehouse         Agricultural         10002806     LG PLTRY GRND FEEDER YEL 20IN                        $        4.79                            281   $       1,345.99
Mass. Warehouse         Agricultural         10003745     MLR CERAMIC NEST EGGS BRN PK/2                       $        6.10                            282   $       1,720.20
Mass. Warehouse         Agricultural         10030807     LG DURAFLEX PLSTC PAIL PRP 8QT                       $        5.39                            298   $       1,606.22
Mass. Warehouse         Agricultural         10004184     MLR DT POULTRY WATERER/LEGS 1G                       $        8.03                            310   $       2,489.30
Mass. Warehouse         Agricultural         10030687     MLR GLV JAR WATERER BASE QT                          $        1.64                            322   $         528.08
Mass. Warehouse         Agricultural         10030701     LG PLASTC POULTRY FEEDER 11LB                        $       15.41                            350   $       5,393.50
Mass. Warehouse         Agricultural         10030806     LG DURAFLEX PLSTC PAIL NVY 8QT                       $        5.39                            377   $       2,032.03
Mass. Warehouse         Agricultural         10002804     LG PLTRY GRND FEEDER LGN 20IN                        $        4.79                            378   $       1,810.62
Mass. Warehouse         Agricultural         10030686     MLR GALVNZD ROUND FEEDER 8HOLE                       $        2.40                            390   $         936.00
Mass. Warehouse         Agricultural         10030805     LG DURAFLEX PLSTC PAIL BRG 8QT                       $        5.39                            435   $       2,344.65
Mass. Warehouse         Agricultural         08103853     OP 1IN HEX NETTING 48IN X 25FT                       $       22.90                            452   $      10,350.80
Mass. Warehouse         Agricultural         10026704     MM PLTRY FOUNTAIN WATERER 3GAL                       $       33.35                            521   $      17,375.35
Mass. Warehouse         Agricultural         10004182     MLR DT POULTRY WATERER/LEGS 3Q                       $        6.24                            545   $       3,400.80
Mass. Warehouse         Agricultural         10026739     MM PLTRY FOUNTAIN WATERER 2GAL                       $       26.50                            556   $      14,734.00
Mass. Warehouse         Agricultural         10002012     MM MASON JAR WATERER BASE PUR                        $        1.48                            607   $         898.36
Mass. Warehouse         Agricultural         10002841     LG DF PLST UTILITY PAN BBL 5QT                       $        3.36                            615   $       2,066.40
Mass. Warehouse         Agricultural         10003211     MLR BROODR LAMP W/CLAMP 10.5IN                       $       11.27                            626   $       7,055.02
Mass. Warehouse         Agricultural         10002013     MM MASON JAR WATERER BASE LIME                       $        1.07                            644   $         689.08
Mass. Warehouse         Agricultural         10030680     LG HANGING FEEDER GALV 12LB                          $       18.88                            678   $      12,800.64
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                                                                                                              Wholesale Price   Units Included in APA    Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                           per Unit          as of 7/21/2022          Value

Mass. Warehouse         Agricultural         10030666     LG QL WATERER BASE F/690 730QT                       $        1.48                       700   $       1,036.00
Mass. Warehouse         Agricultural         10030688     MLR ROUND JAR FEEDER BASE QT                         $        2.50                       707   $       1,767.50
Mass. Warehouse         Agricultural         10002809     LG PLTRY WATERER BASE YLW 1GAL                       $        2.64                       739   $       1,950.96
Mass. Warehouse         Agricultural         10001691     LG PLST FEEDER BASE PURP 1QT                         $        2.62                       779   $       2,040.98
Mass. Warehouse         Agricultural         10002808     LG PLTRY WATERER BASE PUR 1GAL                       $        2.64                       804   $       2,122.56
Mass. Warehouse         Agricultural         10030662     LG NESTING PLASTIC JAR 1GAL                          $        2.68                       818   $       2,192.24
Mass. Warehouse         Agricultural         10002807     LG PLTRY WATERER BASE LGN 1GAL                       $        2.64                       845   $       2,230.80
Mass. Warehouse         Agricultural         10002014     MM MASON JAR WATERER BASE YLW                        $        1.48                     1,124   $       1,663.52
Mass. Warehouse         Agricultural         10030665     MM SCRW WATERER BASE F/666 1GL                       $        2.64                     1,311   $       3,461.04
Mass. Warehouse         Agricultural         10001693     LG PLST FEEDER BASE RED 1QT                          $        2.62                     1,335   $       3,497.70
Mass. Warehouse         Agricultural         10030700     LG POULTRY FEEDER PLASTIC 3LB                        $        7.33                     1,430   $      10,481.90
Mass. Warehouse         Agricultural         08100784     BK BARBED STAPLE 1 1/4IN 50LB                        $        1.76                     1,550   $       2,728.00
Mass. Warehouse         Agricultural         08104727     OPB LIGHT DUTY U POST 3FT                            $        2.43                     1,649   $       4,007.07
Mass. Warehouse         Agricultural         10030664     LG SCREW ON WATERER JAR 1GAL                         $        2.50                     1,913   $       4,782.50
Mass. Warehouse         Agricultural         08104730     OPB HEAVY DUTY U POST 6FT                            $        7.82                     1,948   $      15,233.36
Mass. Warehouse         Agricultural         08104728     OPB LIGHT DUTY U POST 4FT                            $        3.10                     2,010   $       6,231.00
Mass. Warehouse         Agricultural         05100032     DO NOT USE - 20IN X 9000FT SHRINK WRAP               $       83.07                     2,022   $     167,967.54
Mass. Warehouse         Agricultural         10003213     MM BROODER LAMP BULB CLR 250W                        $        3.74                     2,438   $       9,118.12
Mass. Warehouse         Agricultural         10030668     MM MASON JAR WATERER BASE RED                        $        1.07                     3,368   $       3,603.76
Mass. Warehouse         Agricultural         10030669     LG SCREW ON WATERER JAR 1QT                          $        1.63                     6,267   $      10,215.21
Mass. Warehouse         Agricultural         10003212     MM BROODER LAMP BULB RED 250W                        $        5.99                     6,983   $      41,828.17
Mass. Warehouse         Agricultural         10004172     MLR SOLID TOP EGG CARTON                             $        0.20                   266,200   $      53,240.00
Mass. Warehouse         Animal Health        11450002     POSITVE PELLET GOAT WORMER 6LB                       $       17.83                         3   $          53.49
Mass. Warehouse         Animal Health        11403267     MEALWRM MDLY POULTRY TRT 6.5                         $        9.13                         5   $          45.65
Mass. Warehouse         Animal Health        11404048     MP LAYER CRUMBLE/PROBIOTIC 8LB                       $        8.29                         5   $          41.45
Mass. Warehouse         Animal Health        11403265     ORG SCRTCH MX GRN POULTRY 30LB                       $       35.69                         8   $         285.52
Mass. Warehouse         Animal Health        11433333     BLOCK BLOAT GUARD 33.3LB                             $       28.60                         8   $         228.80
Mass. Warehouse         Animal Health        11403064     BARN/STABLE FLY SPRAY CONC QT                        $       17.78                        12   $         213.36
Mass. Warehouse         Animal Health        11403208     REV P/O FLY CONTROL RTU 1GAL                         $       23.77                        12   $         285.24
Mass. Warehouse         Animal Health        11402995     FRSH FLAKE POULTRY BEDDNG 12LB                       $       12.58                        15   $         188.70
Mass. Warehouse         Animal Health        11401330     GOAT ELECTROLYTE 1LB                                 $        6.14                        16   $          98.24
Mass. Warehouse         Animal Health        11402192     LD FARRIERS FORMULA 44LB PAIL                        $      193.65                        16   $       3,098.40
Mass. Warehouse         Animal Health        06624225     MP POULTRY PROTECTOR RTU 16OZ                        $       10.11                        26   $         262.86
Mass. Warehouse         Animal Health        11402833     MP OMEGA EGG MAKER 5LB                               $       15.16                        26   $         394.16
Mass. Warehouse         Animal Health        11403031     DIATOMACEOUS EARTH 4LB                               $        8.79                        26   $         228.54
Mass. Warehouse         Animal Health        11403069     REDMOND WRAPPED ROCK 7LB                             $       15.69                        28   $         439.32
Mass. Warehouse         Animal Health        11405351     DUCK STARTR GROWER CRUMBLE 8LB                       $        8.08                        34   $         274.72
Mass. Warehouse         Animal Health        06624227     CF EGG CLEANSER 16OZ                                 $        9.73                        40   $         389.20
Mass. Warehouse         Animal Health        11418640     50LB BAG STARTER GRIT                                $        9.37                        42   $         393.54
Mass. Warehouse         Animal Health        11405986     FLY CTRL BLOCK CATLE/EQ 33.3LB                       $       17.30                        48   $         830.40
Mass. Warehouse         Animal Health        11404043     MP CHICK GRIT W/PROBIOTICS 5LB                       $        6.11                        54   $         329.94
Mass. Warehouse         Animal Health        11404326     SWEET PDZ COOP REFRSHR GRAN 10                       $       13.17                        54   $         711.18
Mass. Warehouse         Animal Health        11405688     DIATOMACEOUS EARTH 30LB                              $       14.19                        56   $         794.64
Mass. Warehouse         Animal Health        11403073     REDMOND ROCK CRUSHED 5LB                             $       12.39                        59   $         731.01
Mass. Warehouse         Animal Health        10224458     HENTASTIC CHKN TREAT/MW/SNFLW                        $        2.45                        60   $         147.00
Mass. Warehouse         Animal Health        11405603     CALF MANNA PERF SUPPLEMNT 50LB                       $       45.09                        82   $       3,697.38
Mass. Warehouse         Animal Health        11403061     BD REV HRSE/STABLE SPRY RTU QT                       $        5.57                        84   $         467.88
Mass. Warehouse         Animal Health        11404051     MP CRACKED CORN/PURP CORN 10LB                       $       10.21                        94   $         959.74
Mass. Warehouse         Animal Health        11401329     GOAT MINERAL 8LB                                     $       12.14                        98   $       1,189.72
Mass. Warehouse         Animal Health        10225138     HENTASTC JMBO TRT HANGN FEEDER                       $        4.10                       108   $         442.80
Mass. Warehouse         Animal Health        11422414     SAFE-GUARD BLOCK 25LB                                $       46.29                       114   $       5,277.06
Mass. Warehouse         Animal Health        11405766     MP HYDRO-HEN 3N1 SUPPLEMNT 8OZ                       $        6.81                       134   $         912.54
Mass. Warehouse         Animal Health        11418660     50LB BAG DEVELOPER/LAYER GRIT                        $        9.37                       243   $       2,276.91
Mass. Warehouse         Animal Health        11403118     BAG BALM 8OZ                                         $        7.07                       283   $       2,000.81
Mass. Warehouse         Animal Health        11401332     MANNA PRO CHICK STARTER 5LB                          $        5.21                       390   $       2,031.90
Mass. Warehouse         Animal Health        11403070     REDMOND ROCK ON ROPE 3LB                             $        9.47                       488   $       4,621.36
Mass. Warehouse         Animal Health        11402505     MANNA CHICK STARTER NONMED 5LB                       $        5.21                       513   $       2,672.73
Mass. Warehouse         Lawn & Garden        10218831     IRONITE MINERL SUPL 1-0-1 15LB                       $       17.37                         2   $          34.74
Mass. Warehouse         Lawn & Garden        10222276     CHAPIN BACKPCK SPRAYER BTRY 4G                       $      228.12                         2   $         456.24
Mass. Warehouse         Lawn & Garden        10218967     BD PUMP/SPRAY SPRAYER 1.33GAL                        $       17.11                         3   $          51.33
Mass. Warehouse         Lawn & Garden        10512775     LINK ROUND EYE DIGGER HANDLE                         $       10.68                         3   $          32.04
Mass. Warehouse         Lawn & Garden        02145332     TSG SUN SHADE MIXTURE 25 LB                          $      116.39                         4   $         465.56
Mass. Warehouse         Lawn & Garden        10217108     LF DEER/RABBIT GRANULE 5LB                           $       20.93                         4   $          83.72
Mass. Warehouse         Lawn & Garden        10225333     BD KLEENUP HE W/G RTU GL DS/24                       $      298.37                         4   $       1,193.48
Mass. Warehouse         Lawn & Garden        10206392     BD WEED BEATER ULTRA CONC QT                         $       35.32                         4   $         141.35
Mass. Warehouse         Lawn & Garden        10500705     GW GARDEN CLAW RED 38IN                              $       26.58                         5   $         132.90
Mass. Warehouse         Lawn & Garden        10502330     TRP CAMP AXE/HCKRY HNDL 1.25LB                       $       12.80                         5   $          64.00
Mass. Warehouse         Lawn & Garden        10502338     TRP SLEDGE HAMMER/HKY HNDL 8LB                       $       30.93                         5   $         154.65
Mass. Warehouse         Lawn & Garden        10209390     BD INFUSE LAWN/LANDSCAPE 7.5LB                       $       16.50                         6   $          99.00
Mass. Warehouse         Lawn & Garden        10225159     VIC SNKE-A-WY GRANULAR RTU 4LB                       $       14.15                         6   $          84.90
Mass. Warehouse         Lawn & Garden        10513180     LINK DOUBL BIT AXE HANDLE 36IN                       $       16.63                         6   $          99.78
Mass. Warehouse         Lawn & Garden        11100893     ARREST MAX HERBICIDE 1 PT BTL                        $       35.25                         6   $         211.50
Mass. Warehouse         Lawn & Garden        10212674     ESPOMA RAIN BARREL BLACK 55GAL                       $      111.24                         7   $         778.68
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                                                                                                              Wholesale Price   Units Included in APA        Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                           per Unit          as of 7/21/2022              Value

Mass. Warehouse         Lawn & Garden        02142045     BLUEGRASS KENTUCKY 1 LB                              $        6.58                             9   $           59.22
Mass. Warehouse         Lawn & Garden        11100052     SLAY 16 OZ                                           $      124.57                             9   $        1,121.13
Mass. Warehouse         Lawn & Garden        10209481     ESP FLOWER-TN 3-4-5 FERT 18LB                        $       13.08                            10   $          130.80
Mass. Warehouse         Lawn & Garden        10206612     TERRO ANT KILLER II LIQUID 1OZ                       $        2.28                            11   $           25.06
Mass. Warehouse         Lawn & Garden        10236303     BD BONTONE ROOTING PWDR 1.25OZ                       $        3.67                            11   $           40.37
Mass. Warehouse         Lawn & Garden        10223572     EG X-TRM DEER BARRIER 8X100FT                        $      104.04                            11   $        1,144.44
Mass. Warehouse         Lawn & Garden        10200328     SAFER INSECT KIL SOAP RTU 32OZ                       $        6.93                            12   $           83.16
Mass. Warehouse         Lawn & Garden        10202888     BD TOTAL PEST INDOOR CNC 5.4OZ                       $        7.90                            12   $           94.80
Mass. Warehouse         Lawn & Garden        10204000     BD COLORADO BEATLE BEATER PT                         $       15.75                            12   $          189.00
Mass. Warehouse         Lawn & Garden        10208805     BD SYS HSEPLNT INSCT CNTRL 8OZ                       $        5.37                            12   $           64.44
Mass. Warehouse         Lawn & Garden        10210116     BD FLEA & ROACH SPRAY RTU QT                         $        4.68                            12   $           56.16
Mass. Warehouse         Lawn & Garden        10210142     BONIDE BEDBUG KILLER RTU QT                          $        6.05                            12   $           72.60
Mass. Warehouse         Lawn & Garden        10210753     BD WEED BEATER ULTRA CONC PT                         $       20.08                            12   $          240.96
Mass. Warehouse         Lawn & Garden        10221075     BD DA BED BUG KLR SPRY RTU 1QT                       $       12.09                            12   $          145.08
Mass. Warehouse         Lawn & Garden        10224114     TC MR300 MOSQUITO REPELLER GRN                       $       21.24                            12   $          254.88
Mass. Warehouse         Lawn & Garden        10232019     EW COM BROADCAST SPREADER 50LB                       $      306.62                            12   $        3,679.44
Mass. Warehouse         Lawn & Garden        10502333     TRP SGL BIT MICHIGN AXE WD 3.5                       $       27.23                            13   $          353.99
Mass. Warehouse         Lawn & Garden        10502639     TRP CAMP AXE W/F/G HDL 1 1/4LB                       $       14.83                            14   $          207.62
Mass. Warehouse         Lawn & Garden        02111779     ALFA RACK PLUS 16.5 LB                               $      116.12                            15   $        1,741.80
Mass. Warehouse         Lawn & Garden        02145331     TSG SUN SHADE MIXTURE 50 LB                          $      209.70                            16   $        3,355.20
Mass. Warehouse         Lawn & Garden        10500941     CORONA CMPND HEDGE SHEAR 8.5IN                       $       19.20                            16   $          307.20
Mass. Warehouse         Lawn & Garden        10500923     GW NUT GATHERER RED MED 47.5IN                       $       35.27                            17   $          599.59
Mass. Warehouse         Lawn & Garden        10513983     CORONA CMPND POLE PRUNER 12FT                        $       59.37                            17   $        1,009.29
Mass. Warehouse         Lawn & Garden        10215121     REV HUGE FLY REEL 1312FT                             $       32.67                            18   $          588.06
Mass. Warehouse         Lawn & Garden        10221004     TERRO ANT KILLR OUTDR SPR 19OZ                       $        7.20                            18   $          129.60
Mass. Warehouse         Lawn & Garden        10502382     TRP DRAIN SPADE 16IN/D-HNDL 30                       $       22.26                            18   $          400.68
Mass. Warehouse         Lawn & Garden        02111777     WHITETAIL IMPERIAL CLOVER 18LB                       $      114.01                            20   $        2,280.20
Mass. Warehouse         Lawn & Garden        10220991     RAMIK MOLE/GOPHER BAIT 1LB                           $        9.14                            21   $          191.94
Mass. Warehouse         Lawn & Garden        10213601     EWAY EST BRDCST SPREADER 40LB                        $      148.48                            22   $        3,266.56
Mass. Warehouse         Lawn & Garden        10225172     GL BAG SHOULDER SEEDER/SPREADR                       $       57.76                            22   $        1,270.72
Mass. Warehouse         Lawn & Garden        10207902     CHAP PRO SER POLY SPRAYER 2GAL                       $       45.60                            23   $        1,048.80
Mass. Warehouse         Lawn & Garden        10203702     BONIDE MOSQUITO BEATER RTS QT                        $       11.14                            24   $          267.36
Mass. Warehouse         Lawn & Garden        10206613     TERRO ANT KILLER LIQ BAITS 6PK                       $        6.20                            24   $          148.80
Mass. Warehouse         Lawn & Garden        10206734     BD LIQ PLANT FOOD 10-10-10 8OZ                       $        3.53                            24   $           84.72
Mass. Warehouse         Lawn & Garden        10209388     BD BAT MAGIC REPELLENT 4PK                           $        7.77                            24   $          186.48
Mass. Warehouse         Lawn & Garden        10217106     LF DEER/RABBIT CONC 40OZ                             $       31.75                            24   $          762.00
Mass. Warehouse         Lawn & Garden        10218830     ESPOMA EARTHWORM CASTINGS 4QT                        $        5.55                            24   $          133.20
Mass. Warehouse         Lawn & Garden        10219561     TNGLFT TANGLE TRAP STCKY/BRUSH                       $        5.38                            24   $          129.12
Mass. Warehouse         Lawn & Garden        10224119     TC MOSQUITO REPELLER REFILL                          $       17.84                            24   $          428.16
Mass. Warehouse         Lawn & Garden        10224495     EC GRASS REPAIR KIT T/FES 2LB                        $        6.97                            24   $          167.28
Mass. Warehouse         Lawn & Garden        10225163     LL RAPITEST SOIL PH TESTER                           $        6.79                            24   $          162.96
Mass. Warehouse         Lawn & Garden        10200540     BND BAMBOO STAKES GRN 4FT PK25                       $        6.77                            25   $          169.25
Mass. Warehouse         Lawn & Garden        10224586     SWAN JOHN DEERE HOSE 5/8X50                          $       28.59                            25   $          714.75
Mass. Warehouse         Lawn & Garden        10211277     MTM MOLE KILLER EARTHWRM 12/PK                       $       18.70                            28   $          523.60
Mass. Warehouse         Lawn & Garden        10502384     TRP POST HOLE DIGGER/WD HDL 45                       $       26.92                            28   $          753.76
Mass. Warehouse         Lawn & Garden        02111787     WHITETAIL TL TINE TUBERS 3 LB                        $       20.99                            30   $          629.70
Mass. Warehouse         Lawn & Garden        10202914     BD BRUSH KILLER BK 32 QT                             $       17.13                            30   $          513.90
Mass. Warehouse         Lawn & Garden        10208002     BD MOSQUITO BEATER FOG 15OZ                          $        5.40                            30   $          162.00
Mass. Warehouse         Lawn & Garden        10201343     BD BORIC ACID ROACH POWDER 1LB                       $        5.01                            31   $          155.11
Mass. Warehouse         Lawn & Garden        10213013     BD VEGETATION KILLER CONC QT                         $        7.29                            32   $          232.70
Mass. Warehouse         Lawn & Garden        02142511     AGWAY SHADY GREEN GRS SEED 25#                       $      119.48                            32   $        3,823.36
Mass. Warehouse         Lawn & Garden        10209094     ROUNDUP EXT CONTROL PNG 1.33GL                       $       25.84                            32   $          826.88
Mass. Warehouse         Lawn & Garden        10203539     BD BUG & SLUG KILLER 1.5LB                           $       11.22                            34   $          381.03
Mass. Warehouse         Lawn & Garden        10212635     ELE CONTRACTR/FARM HOSE 3/4X50                       $       52.40                            34   $        1,781.60
Mass. Warehouse         Lawn & Garden        10501879     CEN CUTTING SET 3PC                                  $       29.72                            34   $        1,010.48
Mass. Warehouse         Lawn & Garden        10513999     CORONA LEATHER SCABBARD                              $       11.23                            34   $          381.82
Mass. Warehouse         Lawn & Garden        10212324     RS EZ STRAW LWN RPR MX TURF 28                       $       25.66                            35   $          898.10
Mass. Warehouse         Lawn & Garden        02142627     AGWAY READY GREEN GRASS 3 LB                         $       13.91                            36   $          500.76
Mass. Warehouse         Lawn & Garden        02145334     TSG SUN SHADE MIXTURE 3 LB                           $       27.60                            36   $          993.60
Mass. Warehouse         Lawn & Garden        10203703     BD HORTICULTURL SPR OIL RTS QT                       $       13.01                            36   $          468.36
Mass. Warehouse         Lawn & Garden        10208265     BD MOSQUITO BEATER GRANULES 4M                       $       12.24                            36   $          440.64
Mass. Warehouse         Lawn & Garden        10211859     LL RAPI FOAM WIRE TIE 32.5FT                         $        8.56                            36   $          308.16
Mass. Warehouse         Lawn & Garden        10212818     LL RC VINYL STRETCH TIE 150X.5                       $        3.00                            36   $          108.00
Mass. Warehouse         Lawn & Garden        10208012     BD SNAKE STOPPER REPELLENT 4LB                       $       11.86                            37   $          438.35
Mass. Warehouse         Lawn & Garden        02145321     TSG SHADY MIXTURE 50#                                $      234.33                            39   $        9,138.87
Mass. Warehouse         Lawn & Garden        10204011     CHAPIN POWDER DUSTER 16OZ                            $       17.38                            39   $          677.82
Mass. Warehouse         Lawn & Garden        10206109     AGWAY DLX SURE SPRAYER 2GAL                          $       33.68                            39   $        1,313.52
Mass. Warehouse         Lawn & Garden        10224494     EC GRASS REPR KT SUN/SHADE 2LB                       $        6.97                            40   $          278.80
Mass. Warehouse         Lawn & Garden        11100053     SLAY 4 OZ BTL                                        $       43.81                            40   $        1,752.40
Mass. Warehouse         Lawn & Garden        10500971     DF REPL FORK HEAD LIME GREEN                         $       11.62                            41   $          476.42
Mass. Warehouse         Lawn & Garden        10216301     MG LIQUAFEED STARTER KIT 16OZ                        $       14.31                            42   $          601.02
Mass. Warehouse         Lawn & Garden        10502459     TRP BW RAKE 16T WD HANDLE 54IN                       $       13.59                            42   $          570.78
Mass. Warehouse         Lawn & Garden        02111906     WHITETAIL IMP CHICK MAGNET 3LB                       $       27.69                            43   $        1,190.67
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                                                                                                              Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                           per Unit          as of 7/21/2022               Value

Mass. Warehouse         Lawn & Garden        10224432     MEL T-POST PULSATING SPRINKLER                       $       21.25                             44   $         935.00
Mass. Warehouse         Lawn & Garden        10502492     TRP POLY #12 SCOOP D-HANDLE                          $       11.57                             46   $         532.21
Mass. Warehouse         Lawn & Garden        10218333     SWAN SOAKER PRO HOSE 3/8X50FT                        $       14.57                             46   $         670.22
Mass. Warehouse         Lawn & Garden        10202830     BD EIGHT INSECT CONTROL CNC PT                       $        7.60                             48   $         364.80
Mass. Warehouse         Lawn & Garden        10208826     CHAP PRO BACKPACK SPAYER 4GAL                        $       83.37                             48   $       4,001.76
Mass. Warehouse         Lawn & Garden        10215124     REV WINDOW FLY CATCHER 4PK                           $        4.02                             48   $         192.96
Mass. Warehouse         Lawn & Garden        02142629     AGWAY READY GREEN GRASS 25 LB                        $      104.55                             50   $       5,227.50
Mass. Warehouse         Lawn & Garden        10209476     ESPOMA GARDN-TN 3-4-4 FRT 36LB                       $       20.84                             50   $       1,042.00
Mass. Warehouse         Lawn & Garden        11101624     RM18 FAST ACTING W&G 1 GA                            $       35.34                             52   $       1,837.68
Mass. Warehouse         Lawn & Garden        10225251     MEL 6PT FLW CTL SPRINKELR/TRPD                       $       53.34                             53   $       2,827.02
Mass. Warehouse         Lawn & Garden        10502457     TRP GRD HOE 6IN WD HANDLE 54IN                       $       12.97                             55   $         713.35
Mass. Warehouse         Lawn & Garden        10213820     MEL OSCILAT SPRINKLER W/TMR                          $       34.93                             58   $       2,025.94
Mass. Warehouse         Lawn & Garden        02142517     AGWAY SHADY GREEN GRS SEED 50#                       $      237.47                             59   $      14,010.73
Mass. Warehouse         Lawn & Garden        02145323     TSG SHADY MIXTURE 10#                                $       50.62                             60   $       3,037.20
Mass. Warehouse         Lawn & Garden        10206110     AGWAY DELUXE SURE SPRAYER 3GAL                       $       39.57                             60   $       2,374.20
Mass. Warehouse         Lawn & Garden        10210115     BD WEED BEATER ULTRA RTS PT                          $       23.18                             60   $       1,390.80
Mass. Warehouse         Lawn & Garden        10213130     ESP IRON-TONE YLW TO GRN 5LB                         $        4.22                             60   $         253.20
Mass. Warehouse         Lawn & Garden        10203055     DURAPITCH I BEDDING FORK RED                         $       23.04                             68   $       1,566.72
Mass. Warehouse         Lawn & Garden        10217105     LF DEER/RABBIT CONC 1GAL                             $       97.92                             68   $       6,658.56
Mass. Warehouse         Lawn & Garden        02142508     AGWAY SUNNY GREEN GR SEED 50#                        $      218.05                             69   $      15,045.45
Mass. Warehouse         Lawn & Garden        10224146     MEL SPRINKLER ADJ PATTERN                            $       26.25                             69   $       1,811.25
Mass. Warehouse         Lawn & Garden        10200229     BD HSEHLD INSECT CONTRL RTU QT                       $        5.07                             72   $         365.04
Mass. Warehouse         Lawn & Garden        10221174     ORTHO HD INSCT KL/INDR RTU 1.1                       $       14.05                             72   $       1,011.60
Mass. Warehouse         Lawn & Garden        10225335     BD KLEENUP HE W/G RTU/REFIL GL                       $       23.33                             75   $       1,749.75
Mass. Warehouse         Lawn & Garden        10213596     SWAN FAIRLAWN LD HOSE 1/2X50                         $       19.47                             76   $       1,479.72
Mass. Warehouse         Lawn & Garden        10225332     BD KLEENUP HE W/G RTU GL                             $       11.83                             76   $         899.08
Mass. Warehouse         Lawn & Garden        02111743     IMPERIAL NO-PLOW 9 LB                                $       28.51                             80   $       2,280.80
Mass. Warehouse         Lawn & Garden        10205573     BD SHOT-GUN REPELS-ALL RTU GAL                       $       27.15                             80   $       2,172.00
Mass. Warehouse         Lawn & Garden        02111741     IMPERIAL WHITETAIL CLOVER 4 LB                       $       27.69                             87   $       2,409.03
Mass. Warehouse         Lawn & Garden        10210117     BD FLEA & ROACH SPRAY RTU GAL                        $       13.52                             88   $       1,189.76
Mass. Warehouse         Lawn & Garden        10205690     MG MOIST CTRL POTTING MIX 2CF                        $       17.01                             89   $       1,513.89
Mass. Warehouse         Lawn & Garden        10502470     AGWAY HEDGE SHEAR ALUM HANDLE                        $       16.91                             91   $       1,538.81
Mass. Warehouse         Lawn & Garden        10201934     SWAN WTHRFLX MD HOSE 5/8X100FT                       $       40.38                             93   $       3,755.34
Mass. Warehouse         Lawn & Garden        10212155     BD WASP/HORNT AEROSL FOAM 15OZ                       $        3.73                             96   $         358.08
Mass. Warehouse         Lawn & Garden        10223742     GT SEVIN BUG KILLER RTU 1GL                          $       15.03                             96   $       1,442.88
Mass. Warehouse         Lawn & Garden        10212638     ELE GREEN/GROW HOSE 5/8X50                           $       29.81                             97   $       2,891.57
Mass. Warehouse         Lawn & Garden        10213607     CHAP POLY BLEACH SPRAYER 1GL                         $       24.47                             99   $       2,422.53
Mass. Warehouse         Lawn & Garden        10200539     BND BAMBOO STAKES GRN 3FT PK25                       $        6.21                            100   $         621.00
Mass. Warehouse         Lawn & Garden        10225334     BD KLEENUP HE W/G RTU/WAND GL                        $       18.56                            102   $       1,893.12
Mass. Warehouse         Lawn & Garden        10201168     MEL TURRET SPRINKLER 8-PATTERN                       $        6.56                            103   $         675.68
Mass. Warehouse         Lawn & Garden        10225057     CM ORG PLNT FOOD LBSTR/KLP 4LB                       $       11.45                            104   $       1,190.80
Mass. Warehouse         Lawn & Garden        10225330     BD KLEENUP HE W/G CONC GL                            $       34.43                            104   $       3,580.72
Mass. Warehouse         Lawn & Garden        02142628     AGWAY READY GREEN GRASS 10 LB                        $       44.18                            105   $       4,638.90
Mass. Warehouse         Lawn & Garden        10207376     BD ANNUAL GRUB BEATER 5M                             $       14.40                            107   $       1,540.80
Mass. Warehouse         Lawn & Garden        10207175     GT DACONIL FUNGICIDE CONC 16OZ                       $       14.74                            108   $       1,591.92
Mass. Warehouse         Lawn & Garden        10221172     ORTHO HD INSCT KLR/INDR RTU 24                       $        4.53                            108   $         489.24
Mass. Warehouse         Lawn & Garden        10212698     REV PANTRY MOTH TRAPS 2PK                            $        5.40                            109   $         588.38
Mass. Warehouse         Lawn & Garden        10220730     AP ZEROG LW WATR HOSE 5/8X50FT                       $       39.60                            109   $       4,316.40
Mass. Warehouse         Lawn & Garden        10212323     RS EZ STRAW LWN RPR MX SS 11LB                       $       17.42                            110   $       1,916.20
Mass. Warehouse         Lawn & Garden        10224496     EC GRASS REPAIR KIT SN/SH 4.25                       $       12.30                            114   $       1,402.20
Mass. Warehouse         Lawn & Garden        10213821     MEL MT OSCILAT SPRNKLER W/NZLE                       $       35.82                            115   $       4,119.30
Mass. Warehouse         Lawn & Garden        10208011     BD SYSTEMIC INSECT CONTROL PT                        $       13.49                            117   $       1,578.33
Mass. Warehouse         Lawn & Garden        10203761     BD EIGHT GARDEN DUST 10OZ                            $        3.75                            120   $         450.00
Mass. Warehouse         Lawn & Garden        10236305     BD EIGHT GARDEN DUST 3LB                             $        5.32                            120   $         638.40
Mass. Warehouse         Lawn & Garden        10213817     MEL THR-ARM REV SPRNKLR W/ WHL                       $       15.90                            122   $       1,939.80
Mass. Warehouse         Lawn & Garden        10502467     SS ANVIL PRUNER ALUM HANDLE                          $       10.12                            123   $       1,244.76
Mass. Warehouse         Lawn & Garden        10213807     MEL SM YRD 3ARM SPRINKLER 35FT                       $        3.14                            124   $         389.36
Mass. Warehouse         Lawn & Garden        10225248     MEL OSCILATNG SPRINKLER 3000SF                       $       13.12                            124   $       1,626.88
Mass. Warehouse         Lawn & Garden        10223306     CHAP HAND CRANK SPREADER 1.6L                        $       15.66                            127   $       1,988.82
Mass. Warehouse         Lawn & Garden        10213808     MEL DL TB OSCILATNG SPRINKLER                        $       24.47                            129   $       3,156.63
Mass. Warehouse         Lawn & Garden        10216702     BD REVENGE ANT KILLER DUST 3LB                       $       12.83                            132   $       1,693.56
Mass. Warehouse         Lawn & Garden        10222555     BD RAT MAGIC SCENT PACKS                             $       14.16                            138   $       1,954.08
Mass. Warehouse         Lawn & Garden        10226097     MG WILDLIFE NETTING 14X14FT                          $        6.03                            140   $         844.20
Mass. Warehouse         Lawn & Garden        10235126     MG PLANT FOOD SPIKES 1.1OZ                           $        1.07                            144   $         154.08
Mass. Warehouse         Lawn & Garden        10224497     EC GRASS REPAIR KIT T/FES 4.25                       $       12.30                            150   $       1,845.00
Mass. Warehouse         Lawn & Garden        10235170     MG ROSE FOOD 1.5LB                                   $        5.20                            150   $         780.00
Mass. Warehouse         Lawn & Garden        10239106     JF PLANT TRAY 11INX22IN                              $        1.84                            150   $         276.00
Mass. Warehouse         Lawn & Garden        10212322     RS EZ STRAW LWN RPR MX SS 28LB                       $       25.66                            151   $       3,874.66
Mass. Warehouse         Lawn & Garden        10213816     MEL 3ARM REVLVG SPRINKLER 60FT                       $       10.57                            151   $       1,596.07
Mass. Warehouse         Lawn & Garden        10225058     CM BLND ORGC GROWERS MIX 1.5CF                       $       22.80                            152   $       3,465.60
Mass. Warehouse         Lawn & Garden        10501842     CEN HAMMERSTN GDN TOOL SET 5PC                       $       17.67                            154   $       2,721.18
Mass. Warehouse         Lawn & Garden        10211065     RNDUP PUMP N GO WD/GR 1.33GL                         $       21.20                            156   $       3,307.20
Mass. Warehouse         Lawn & Garden        10215119     REV FLY CATCHER RIBBONS 10PK                         $        2.49                            160   $         398.40
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                                                                                                              Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                           per Unit          as of 7/21/2022               Value

Mass. Warehouse         Lawn & Garden        10220067     CHAP HND SPRAYER UPSD DN 32OZ                        $         4.43                           161   $         713.23
Mass. Warehouse         Lawn & Garden        10210605     MG ALL PURPOSE PLANT FOOD 5LB                        $        13.60                           162   $       2,203.20
Mass. Warehouse         Lawn & Garden        10225329     BD KLEENUP HE W/G CONC QT                            $        11.92                           162   $       1,931.04
Mass. Warehouse         Lawn & Garden        10210388     ESP TOMATO-TN 3-4-6 FERT 18LB                        $        13.08                           164   $       2,145.12
Mass. Warehouse         Lawn & Garden        10206669     ROUNDUP W/G KLR CNC PLS 36.8OZ                       $        26.38                           168   $       4,431.84
Mass. Warehouse         Lawn & Garden        10213792     MEL OSCILLATG SPRINKLER 3700SF                       $        19.14                           170   $       3,253.80
Mass. Warehouse         Lawn & Garden        10213647     BD INSECT/GRUB CONTROL 5M 6LB                        $        15.03                           174   $       2,615.22
Mass. Warehouse         Lawn & Garden        10222578     BD EIGHT INSECT GRANULES 10LB                        $         9.72                           176   $       1,710.72
Mass. Warehouse         Lawn & Garden        02142509     AGWAY SUN & SHADE 3 LB                               $        17.25                           180   $       3,105.00
Mass. Warehouse         Lawn & Garden        02145324     TSG SHADY MIXTURE 3LB                                $        16.38                           180   $       2,948.40
Mass. Warehouse         Lawn & Garden        10200482     BND STEEL ALLOY STAKES GRN 5FT                       $         2.09                           180   $         376.20
Mass. Warehouse         Lawn & Garden        10209477     ESPOMA GARDEN-TN 3-4-4 FRT 4LB                       $         5.06                           180   $         910.80
Mass. Warehouse         Lawn & Garden        10225173     GL SPREADER/PLS WHL 8IN 65LB                         $        63.95                           180   $      11,511.00
Mass. Warehouse         Lawn & Garden        10238801     LL RPTEST PH SOIL TESTER PK/10                       $         5.42                           186   $       1,008.12
Mass. Warehouse         Lawn & Garden        10225249     MEL OSCILATNG SPRINKLER 3400SF                       $        15.69                           187   $       2,934.03
Mass. Warehouse         Lawn & Garden        10208275     CJ LQ COPPER FUNGICIDE RTU QT                        $         6.31                           188   $       1,186.53
Mass. Warehouse         Lawn & Garden        10202839     BD MANCOZEB WITH ZINC CONC PT                        $        15.20                           192   $       2,918.40
Mass. Warehouse         Lawn & Garden        10203682     BD ANT KILLER SHAKER JUG 4LB                         $         8.27                           192   $       1,587.84
Mass. Warehouse         Lawn & Garden        10208911     BD NO ESCAPE MOUSE MAGIC 12/PK                       $        17.21                           192   $       3,304.32
Mass. Warehouse         Lawn & Garden        10502400     TRP DB ED ACTION WEEDER-HOE 54                       $        20.14                           198   $       3,987.72
Mass. Warehouse         Lawn & Garden        10209457     ESPOMA TREE-TONE 6-3-2 18LB                          $        13.08                           199   $       2,602.92
Mass. Warehouse         Lawn & Garden        10212814     CJ NEEM OIL CONCENTRATE 16OZ                         $        16.81                           203   $       3,413.10
Mass. Warehouse         Lawn & Garden        10209456     ESPOMA TREE-TONE 6-3-2 4LB                           $         5.06                           204   $       1,032.24
Mass. Warehouse         Lawn & Garden        10224508     EC FAST ACTING GYPSUM 25LB                           $        14.47                           204   $       2,951.88
Mass. Warehouse         Lawn & Garden        10511172     BACKSAVER POLY SNOW SHOVEL                           $        22.18                           214   $       4,746.52
Mass. Warehouse         Lawn & Garden        10210112     BD CAPTN JACK DEADBUG DUST 1.5                       $         4.22                           216   $         911.52
Mass. Warehouse         Lawn & Garden        10208879     SG HOLY MOLEY MOLE REPEL 10LB                        $        16.13                           220   $       3,548.60
Mass. Warehouse         Lawn & Garden        10207900     AGWAY L/G POLY SPRAYER 3GAL                          $        29.04                           223   $       6,475.92
Mass. Warehouse         Lawn & Garden        10208254     BD TREE/SHRUB INSECT CNTRL QT                        $        10.82                           228   $       2,466.96
Mass. Warehouse         Lawn & Garden        10221305     SPEC WEED/GRASS KILLER2 1GAL                         $         9.47                           228   $       2,159.16
Mass. Warehouse         Lawn & Garden        10236404     BD LIQUID COPPER 4E PT                               $        12.29                           228   $       2,802.12
Mass. Warehouse         Lawn & Garden        10213828     MEL PLY PLS SPRINKLER SPK 85FT                       $         5.06                           231   $       1,168.86
Mass. Warehouse         Lawn & Garden        10211200     CHAP POLY SPRAYER 1GAL                               $        15.18                           252   $       3,825.36
Mass. Warehouse         Lawn & Garden        10502476     AGWAY PRF COMPND ANVIL LOPPER                        $        19.69                           252   $       4,961.88
Mass. Warehouse         Lawn & Garden        10223600     ELE VIPER HP HOSE 5/8INX50FT                         $        39.05                           258   $      10,074.90
Mass. Warehouse         Lawn & Garden        10224506     EC FAST ACTING LIME 25LB                             $        13.58                           258   $       3,503.64
Mass. Warehouse         Lawn & Garden        10225331     BD KLEENUP HE W/G RTU QT                             $         5.02                           267   $       1,340.34
Mass. Warehouse         Lawn & Garden        10500492     AVALANCHE 18IN SNOW SHOVEL                           $        13.19                           274   $       3,614.06
Mass. Warehouse         Lawn & Garden        02142621     AGWAY SUNNY GREEN 3 LB                               $        17.21                           288   $       4,956.48
Mass. Warehouse         Lawn & Garden        10204488     BD SHTGUN ANML REPLLENT RTU QT                       $        10.11                           288   $       2,911.68
Mass. Warehouse         Lawn & Garden        10213826     MEL ROTRY SPRINKLER SPK 5000SF                       $        13.91                           288   $       4,006.08
Mass. Warehouse         Lawn & Garden        10216719     BD REVENGE FLY STICK 24IN 2PK                        $         5.93                           288   $       1,707.84
Mass. Warehouse         Lawn & Garden        10204595     BD ANT FLEA TICK KILLR GRAN 5M                       $         9.18                           294   $       2,698.92
Mass. Warehouse         Lawn & Garden        10502830     AGWAY BYPASS LOPPER                                  $        11.66                           296   $       3,451.36
Mass. Warehouse         Lawn & Garden        10211674     GLAMOS HD SUPORT L/GRN 14X42IN                       $         4.78                           300   $       1,434.00
Mass. Warehouse         Lawn & Garden        10213829     MEL MTL PLS SPRINKLER SPK 85FT                       $         6.79                           300   $       2,037.00
Mass. Warehouse         Lawn & Garden        10222207     FOG NITROORGANIC FERTILIZER 36                       $        10.50                           311   $       3,265.50
Mass. Warehouse         Lawn & Garden        10210622     MG ALL PURP PLANT FOOD 1.5LB                         $         5.18                           312   $       1,616.16
Mass. Warehouse         Lawn & Garden        10225506     WBR HW GRD STAKE 7/8X7/8X2 PK6                       $         3.39                           315   $       1,067.85
Mass. Warehouse         Lawn & Garden        10225328     BD KLEENUP HE W/G CONC PT                            $         8.85                           319   $       2,823.17
Mass. Warehouse         Lawn & Garden        10207899     AGWAY L/G POLY SPRAYER 2GAL                          $        23.05                           324   $       7,468.20
Mass. Warehouse         Lawn & Garden        10209458     ESPOMA TOMATO-TONE 3-4-6 4LB                         $         5.06                           324   $       1,639.44
Mass. Warehouse         Lawn & Garden        10502814     AGWAY STEEL RAKE 24IN                                $        12.90                           324   $       4,179.60
Mass. Warehouse         Lawn & Garden        10206635     SCOTTS TURF BLDR LAWN SOIL 1CF                       $         6.02                           326   $       1,962.52
Mass. Warehouse         Lawn & Garden        02142510     AGWAY SHADY GREEN GRS SEED 10#                       $        49.73                           355   $      17,654.15
Mass. Warehouse         Lawn & Garden        10502818     AGWAY D-HANDLE ALUMINUM SCOOP                        $        23.33                           355   $       8,282.15
Mass. Warehouse         Lawn & Garden        10222377     SEVIN INSECT KILLER CONC 16OZ                        $         9.20                           366   $       3,367.20
Mass. Warehouse         Lawn & Garden        10502827     AGWAY HEDGE SHEAR                                    $        14.35                           370   $       5,309.50
Mass. Warehouse         Lawn & Garden        10219009     MEL MTL SPRINKLER W/TRIPOD 4FT                       $        53.07                           372   $      19,742.04
Mass. Warehouse         Lawn & Garden        10211671     GLAMOS HD SUPPORT BLUE 14X42IN                       $         4.78                           375   $       1,792.50
Mass. Warehouse         Lawn & Garden        10222517     ESP BONE MEAL PLANT FOOD 4LB                         $         4.22                           384   $       1,620.48
Mass. Warehouse         Lawn & Garden        10200919     GT SEVIN BUG KILLER RTU 32OZ                         $         6.93                           390   $       2,702.70
Mass. Warehouse         Lawn & Garden        10219451     MG ALL PURPOSE GARDEN SOIL 2CF                       $         8.20                           393   $       3,222.60
Mass. Warehouse         Lawn & Garden        10502472     AGWAY BYPASS LOPPER ALUM HNDL                        $        17.69                           402   $       7,111.38
Mass. Warehouse         Lawn & Garden        10502468     AGWAY ANVIL PRUNER ALUM HANDLE                       $        10.12                           410   $       4,149.20
Mass. Warehouse         Lawn & Garden        10223721     CEN TWN PK GDN TANK SPRAYER 1G                       $        19.22                           417   $       8,014.74
Mass. Warehouse         Lawn & Garden        10502828     AGWAY CMPND ACTION BYPS LOPPER                       $        16.02                           418   $       6,696.36
Mass. Warehouse         Lawn & Garden        10502815     AGWAY 4-TINE WIRE MANURE FORK                        $        20.46                           422   $       8,634.12
Mass. Warehouse         Lawn & Garden        10222736     SCOTTS MG RAISE BED SOIL 1.5CF                       $         9.38                           428   $       4,014.64
Mass. Warehouse         Lawn & Garden        10502474     AGWAY PRF COMPND BYPASS LOPPER                       $        19.69                           428   $       8,427.32
Mass. Warehouse         Lawn & Garden        10225508     WBR HW GRD STAKE 7/8X7/8X4 PK6                       $         5.68                           440   $       2,499.20
Mass. Warehouse         Lawn & Garden        10222378     SEVIN INSECT KILLER CONC 32OZ                        $        15.59                           450   $       7,015.50
Mass. Warehouse         Lawn & Garden        10215118     REV FLY CATCHER RIBBONS 5PK                          $         1.68                           460   $         772.80
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Mass. Warehouse         Lawn & Garden               10237334     ETN HARDWOOD TOMATO STAKE 4FT                        $        2.23                        475   $       1,059.25
Mass. Warehouse         Lawn & Garden               10214063     ESP ORGANC ORCHID SOIL MIX 4QT                       $        3.15                        480   $       1,512.00
Mass. Warehouse         Lawn & Garden               10502831     AG HD POST HOLE DIGGER/FG HNDL                       $       31.93                        480   $      15,326.40
Mass. Warehouse         Lawn & Garden               10502817     AGWAY WARREN HOE                                     $       17.43                        490   $       8,540.70
Mass. Warehouse         Lawn & Garden               10211948     MG ALL PURP PLANT FOOD 4LB                           $       10.70                        498   $       5,328.60
Mass. Warehouse         Lawn & Garden               10208003     BD INSECTICIDAL SOAP RTU QT                          $        6.21                        513   $       3,185.73
Mass. Warehouse         Lawn & Garden               10502829     AGWAY CMPND ACTION ANVL LOPPER                       $       16.02                        518   $       8,298.36
Mass. Warehouse         Lawn & Garden               10222406     SWN SUPPLE HD HOSE 5/8INX50FT                        $       30.15                        522   $      15,738.30
Mass. Warehouse         Lawn & Garden               10222357     CEN ERGO BACKPK GDN SPRAYER 4G                       $       69.94                        530   $      37,068.20
Mass. Warehouse         Lawn & Garden               10502826     AGWAY ANVIL PRUNER                                   $        6.45                        534   $       3,444.30
Mass. Warehouse         Lawn & Garden               10203721     BD BON-NEEM II RTU QT                                $       10.62                        540   $       5,734.80
Mass. Warehouse         Lawn & Garden               02145333     TSG SUN SHADE MIXTURE 10#                            $        3.50                        550   $       1,925.00
Mass. Warehouse         Lawn & Garden               10502816     AGWAY 5-TINE WIRE MANURE FORK                        $       23.42                        561   $      13,138.62
Mass. Warehouse         Lawn & Garden               10209180     MG PREM POTTING MIX 8QT                              $        5.02                        570   $       2,861.40
Mass. Warehouse         Lawn & Garden               10502824     AGWAY PRUNER AND SAW SET 2PC                         $        9.90                        583   $       5,771.70
Mass. Warehouse         Lawn & Garden               10211947     MG ALL PURP PLANT FOOD AP 1LB                        $        3.63                        588   $       2,134.44
Mass. Warehouse         Lawn & Garden               10502805     AGWAY SQUARE POINT SHOVEL                            $       14.71                        606   $       8,914.26
Mass. Warehouse         Lawn & Garden               10502807     AGWAY D-HNDL SQUARE PT SHOVEL                        $       13.44                        625   $       8,400.00
Mass. Warehouse         Lawn & Garden               10502809     AGWAY GARDEN HOE                                     $       17.41                        632   $      11,003.12
Mass. Warehouse         Lawn & Garden               10209381     BD CAPTN JCK DEADBG BRW RTU QT                       $        5.72                        648   $       3,706.56
Mass. Warehouse         Lawn & Garden               02111700     PEAS WINTER 50 LB                                    $        0.63                        650   $         409.50
Mass. Warehouse         Lawn & Garden               10225510     WBR HW GRD STAKE 7/8X7/8X6 PK6                       $        9.96                        657   $       6,543.72
Mass. Warehouse         Lawn & Garden               10218780     COOP POOP A/P GARDEN FOOD 40LB                       $       16.10                        682   $      10,980.20
Mass. Warehouse         Lawn & Garden               10211950     GP MG BLOOM BSTR PLNT FOOD 1LB                       $        3.63                        684   $       2,482.92
Mass. Warehouse         Lawn & Garden               06610081     EMSCO BF SNOWBRUSH/SCRAPR 48IN                       $       13.01                        690   $       8,976.90
Mass. Warehouse         Lawn & Garden               10511182     RUGG SHOVEL - PROMO SNOW                             $        8.55                        715   $       6,113.25
Mass. Warehouse         Lawn & Garden               02142516     AGWAY FALL MIX GRASS SEED 25#                        $       94.46                        812   $      76,701.52
Mass. Warehouse         Lawn & Garden               10206571     BD BEETLE BAGR JAP BEETLE TRAP                       $        7.22                        840   $       6,064.80
Mass. Warehouse         Lawn & Garden               10502804     AGWAY ROUND POINT SHOVEL                             $       14.29                        864   $      12,346.56
Mass. Warehouse         Lawn & Garden               02142358     BLUEGRASS ALENE 50 LB                                $        2.29                        900   $       2,061.00
Mass. Warehouse         Lawn & Garden               06610079     EMSCO BF DELX SNOWBRUSH 21IN                         $        3.40                        900   $       3,060.00
Mass. Warehouse         Lawn & Garden               10202899     BD WASP HORNET KLR AEROSL 15OZ                       $        4.36                        912   $       3,976.32
Mass. Warehouse         Lawn & Garden               10225899     CEN WHEELBARROW W/WD HNDL 6CF                        $      130.89                        977   $     127,879.53
Mass. Warehouse         Lawn & Garden               10502810     AGWAY 4-TINE CULTIVATOR                              $       17.41                        993   $      17,288.13
Mass. Warehouse         Lawn & Garden               10225509     WBR HW GRD STAKE 7/8X7/8X5 PK6                       $        8.46                      1,019   $       8,620.74
Mass. Warehouse         Lawn & Garden               10502811     AGWAY ENSILAGE FORK                                  $       23.00                      1,044   $      24,012.00
Mass. Warehouse         Lawn & Garden               07001461     CETCO BENTONITE (VOLCLAY) 50LB                       $       12.14                      1,057   $      12,831.98
Mass. Warehouse         Lawn & Garden               02142518     AGWAY FALL MIX GRASS SEED 3#                         $       16.59                      1,068   $      17,718.12
Mass. Warehouse         Lawn & Garden               10224191     GLM VALUE TOMATO CAGE 42IN                           $        1.49                      1,225   $       1,825.25
Mass. Warehouse         Lawn & Garden               10502813     AGWAY POLY RAKE 30IN                                 $       12.80                      1,259   $      16,115.20
Mass. Warehouse         Lawn & Garden               10502808     AGWAY BOW RAKE                                       $       14.87                      1,427   $      21,219.49
Mass. Warehouse         Lawn & Garden               02145304     TSG HIGH TRAFFIC LAWN MIX 3 LB                       $        3.51                      1,440   $       5,054.40
Mass. Warehouse         Lawn & Garden               10237338     ETN HARDWOOD TOMATO STAKE 6FT                        $        2.83                      1,875   $       5,306.25
Mass. Warehouse         Lawn & Garden               02142513     AGWAY FALL MIX GRASS SEED 10#                        $       39.73                      1,890   $      75,089.70
Mass. Warehouse         Lawn & Garden               10214283     SPEC WASP/HORNET KILLER 20OZ                         $        4.25                      1,932   $       8,211.00
Mass. Warehouse         Lawn & Garden               10222355     CEN MP GARDEN SPRAYER 1GAL                           $       17.04                      2,492   $      42,463.68
Mass. Warehouse         Lawn & Garden               06610078     EMSCO BIGFOOT ICE SCRAPER 9IN                        $        1.51                      2,952   $       4,457.52
Mass. Warehouse         Lawn & Garden               10224610     SPEC WASP/HRNT KLR3 AERSL 20OZ                       $        8.23                      3,312   $      27,257.76
Mass. Warehouse         Lawn & Garden               02142937     WARRIOR TURF TALL FESCUE                             $        3.21                      3,400   $      10,914.00
Mass. Warehouse         Lawn & Garden               02140011     RYEGRASS NUSPRINT 50 LB                              $        0.70                      3,800   $       2,660.00
Mass. Warehouse         Lawn & Garden               02142400     SS ORCHARDGRASS BM+ (RAW) 50LB                       $        3.55                      4,750   $      16,862.50
Mass. Warehouse         Lawn & Garden               10225875     MG WEEDENDER LS FABRIC 3X50FT                        $        9.02                      5,238   $      47,246.76
Mass. Warehouse         Lawn & Garden               02142569     KENTUCKY BLUEGRASS 85/80 50 LB                       $        4.96                     13,000   $      64,480.00
Mass. Warehouse         Pet Food, Feed & Supplies   06655754     BAY ADVNTX II FLEA 21-55LB 6PK                       $       70.53                          1   $          70.53
Mass. Warehouse         Pet Food, Feed & Supplies   06609714     AGWAY DOG TIE OUT MED 30FT                           $        6.91                          2   $          13.82
Mass. Warehouse         Pet Food, Feed & Supplies   06682979     SD FIELDTRAINER X-SERIES 500YD                       $      138.67                          2   $         277.34
Mass. Warehouse         Pet Food, Feed & Supplies   06609553     DRP FRONTLINE SPRAY 500ML                            $       61.14                          3   $         183.42
Mass. Warehouse         Pet Food, Feed & Supplies   06655753     BAY ADVNTX II FLEA 21-55LB 2PK                       $       26.42                          3   $          79.26
Mass. Warehouse         Pet Food, Feed & Supplies   06681844     MT MEATBALL DELGT F/DG LVR 8OZ                       $        2.87                          3   $           8.61
Mass. Warehouse         Pet Food, Feed & Supplies   06681857     MT JERKY BITES F/DOG BEEF 20OZ                       $        4.18                          3   $          12.54
Mass. Warehouse         Pet Food, Feed & Supplies   06682060     FUR S/H DESHEDDING TOOL/CAT LG                       $       25.76                          3   $          77.28
Mass. Warehouse         Pet Food, Feed & Supplies   06686551     SD NO BARK 8 LEVELS                                  $       52.67                          3   $         158.01
Mass. Warehouse         Pet Food, Feed & Supplies   10225873     HIG VITA SEED COCKATEL FOOD 25                       $       35.60                          3   $         106.80
Mass. Warehouse         Pet Food, Feed & Supplies   06621804     HAPPY JACK SEAL N HEAL 4OZ                           $        5.76                          4   $          23.04
Mass. Warehouse         Pet Food, Feed & Supplies   06659860     SNTRY FIP PLUS F/T CAT OVR 1.5                       $       20.17                          4   $          80.68
Mass. Warehouse         Pet Food, Feed & Supplies   06677397     PLM FLEA/TICK MED DOG 11-20LB                        $       32.68                          4   $         130.72
Mass. Warehouse         Pet Food, Feed & Supplies   06622433     PS PLASTIC PET DOOR WHITE SML                        $       21.87                          5   $         109.35
Mass. Warehouse         Pet Food, Feed & Supplies   06686642     AP PETBARN 3 DOG HOUSE 25-50LB                       $       65.46                          6   $         392.76
Mass. Warehouse         Pet Food, Feed & Supplies   06609711     AGWAY SKYLINE TROLLEY 100FT                          $       19.37                          7   $         135.59
Mass. Warehouse         Pet Food, Feed & Supplies   06628625     LG FEEDERW/SIFTER BOTTOM 3IN                         $        6.95                          7   $          48.65
Mass. Warehouse         Pet Food, Feed & Supplies   06613982     MLR RABBIT CAGE BLUE 40IN                            $       64.15                          8   $         513.20
Mass. Warehouse         Pet Food, Feed & Supplies   06651156     PL KTN MILK REPLPMENT PWD 10.5                       $        9.89                          8   $          79.12
Mass. Warehouse         Pet Food, Feed & Supplies   06651360     JNC JMBO BNE BEEF CHEW DOG 1PK                       $       13.96                          8   $         111.68
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                                                                                                                    Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category            Number       Agway Product Description                          per Unit          as of 7/21/2022               Value

Mass. Warehouse         Pet Food, Feed & Supplies   06677396     PLM FLEA/TICK SMALL DOG 5-10LB                      $        32.68                             9   $          294.12
Mass. Warehouse         Pet Food, Feed & Supplies   06686628     AGW ANML CRATE SGL DR 48X30X33                      $        67.97                             9   $          611.73
Mass. Warehouse         Pet Food, Feed & Supplies   06654591     PL FDR W/SFTR BTM W/O LID 5IN                       $         6.30                            10   $           63.00
Mass. Warehouse         Pet Food, Feed & Supplies   06655760     BAY ADVNTX II FLEA OVR55LB 6PK                      $        70.53                            10   $          705.30
Mass. Warehouse         Pet Food, Feed & Supplies   06609730     AGWAY SNAP-AROUND TIE OUT 60LB                      $         6.91                            11   $           76.01
Mass. Warehouse         Pet Food, Feed & Supplies   06621141     MM GALVANIZED CAGE CUP 1QT                          $         5.16                            11   $           56.76
Mass. Warehouse         Pet Food, Feed & Supplies   06661065     HAPPY JACK FLEA BEACON                              $        15.76                            11   $          173.36
Mass. Warehouse         Pet Food, Feed & Supplies   06682064     FUR S/H DESHEDDING TOOL/DOG SM                      $        24.27                            11   $          266.97
Mass. Warehouse         Pet Food, Feed & Supplies   10226658     HIG SNBRST F/D FRT B/P .52OZ                        $         2.98                            11   $           32.78
Mass. Warehouse         Pet Food, Feed & Supplies   06609708     AGWAY BEAST TIE OUT 40FT                            $        16.09                            12   $          193.08
Mass. Warehouse         Pet Food, Feed & Supplies   06609715     AGWAY DOG TIE OUT MED 40FT                          $         7.88                            12   $           94.56
Mass. Warehouse         Pet Food, Feed & Supplies   06613744     PS BATT MODULE FOR PBC00-10782                      $         8.08                            12   $           96.96
Mass. Warehouse         Pet Food, Feed & Supplies   06614508     PETAG NURSING KIT CARDED 4 OZ                       $         6.99                            13   $           90.87
Mass. Warehouse         Pet Food, Feed & Supplies   06620968     FP WEE-WEE PAD F/LTL DOGS 28PK                      $        13.97                            13   $          181.61
Mass. Warehouse         Pet Food, Feed & Supplies   06674649     ADVANTUS SMALL DOG 7.5MG 7CT                        $        23.87                            13   $          310.31
Mass. Warehouse         Pet Food, Feed & Supplies   06686625     AGW ANML CRATE SGL DR 30X19X21                      $        30.58                            13   $          397.54
Mass. Warehouse         Pet Food, Feed & Supplies   06651354     JNC CROWN BEEF CHEW DOG 1PK                         $         4.37                            15   $           65.55
Mass. Warehouse         Pet Food, Feed & Supplies   06661126     AP FLEA/TICK COLLAR F/SML DOGS                      $         6.97                            15   $          104.55
Mass. Warehouse         Pet Food, Feed & Supplies   06621216     LG FEEDER W/SIFTER BOTTOM 5IN                       $         7.12                            16   $          113.92
Mass. Warehouse         Pet Food, Feed & Supplies   06609725     AGWAY TIE OUT W/STAKE MED 30FT                      $        10.65                            17   $          181.05
Mass. Warehouse         Pet Food, Feed & Supplies   06660135     IND STAINLESS STEEL DISH 3QT                        $         3.75                            17   $           63.75
Mass. Warehouse         Pet Food, Feed & Supplies   06681851     MT FLVR WRAPS F/DG CHEESE 20OZ                      $         4.18                            17   $           71.06
Mass. Warehouse         Pet Food, Feed & Supplies   11405668     ALL PURPOSE GOAT PAIL 18LB                          $        19.48                            17   $          331.16
Mass. Warehouse         Pet Food, Feed & Supplies   06666570     COSEQUIN SOFT CHEW F/DOG 45CT                       $        15.78                            19   $          299.82
Mass. Warehouse         Pet Food, Feed & Supplies   06682062     FUR S/H DESHEDDING TOOL/DOG LG                      $        29.41                            19   $          558.79
Mass. Warehouse         Pet Food, Feed & Supplies   06686626     AGW ANML CRATE SGL DR 35X24X26                      $        40.78                            19   $          774.82
Mass. Warehouse         Pet Food, Feed & Supplies   06609706     AGWAY BEAST TIE OUT 20FT                            $        12.24                            20   $          244.80
Mass. Warehouse         Pet Food, Feed & Supplies   06609709     AGWAY SKYLINE TROLLEY 50FT                          $        14.84                            20   $          296.80
Mass. Warehouse         Pet Food, Feed & Supplies   06657716     UP DIATOMACEOUS EARTH 5OZ                           $         6.68                            21   $          140.28
Mass. Warehouse         Pet Food, Feed & Supplies   06682058     FUR L/H DESHEDDING TOOL/DOG MD                      $        27.14                            21   $          569.94
Mass. Warehouse         Pet Food, Feed & Supplies   06613676     FRONTLINE PLUS DOG 23-44LB                          $        41.64                            24   $          999.36
Mass. Warehouse         Pet Food, Feed & Supplies   06664603     ZG PLUS F/T DROP F/DG 89-132LB                      $        13.43                            25   $          335.75
Mass. Warehouse         Pet Food, Feed & Supplies   06655759     BAY ADVNTX II FLEA OVR55LB 2PK                      $        26.42                            26   $          686.92
Mass. Warehouse         Pet Food, Feed & Supplies   06609729     AGWAY DOG TIE OUT SMALL 20FT                        $         3.31                            27   $           89.37
Mass. Warehouse         Pet Food, Feed & Supplies   06645371     AGWAY SUPER AUGER STAKE 24IN                        $         6.23                            28   $          174.44
Mass. Warehouse         Pet Food, Feed & Supplies   06613678     FRONTLINE PLUS DOG 89>LB                            $        41.64                            29   $        1,207.56
Mass. Warehouse         Pet Food, Feed & Supplies   06677046     JNC DINO BONES FOR DOGS 1PK                         $        10.17                            30   $          305.10
Mass. Warehouse         Pet Food, Feed & Supplies   06609707     AGWAY BEAST TIE OUT 30FT                            $        14.50                            33   $          478.50
Mass. Warehouse         Pet Food, Feed & Supplies   06687047     SL PRMYUM ADU GUNEA PIG FOOD 8                      $        10.80                            33   $          356.40
Mass. Warehouse         Pet Food, Feed & Supplies   06687044     SL PREMIYUM ADU RABBT FOOD 8LB                      $        10.80                            36   $          388.80
Mass. Warehouse         Pet Food, Feed & Supplies   06609701     AGWAY DOG TIE OUT LARGE 15FT                        $         6.46                            38   $          245.48
Mass. Warehouse         Pet Food, Feed & Supplies   06621157     GRN ORG SMT TREAT TUB PET 27OZ                      $        26.90                            38   $        1,022.20
Mass. Warehouse         Pet Food, Feed & Supplies   06614039     KMR MILK REPLACER KITTENS 12OZ                      $        19.80                            39   $          772.20
Mass. Warehouse         Pet Food, Feed & Supplies   06645372     AGWAY MEDIUM DOG TIE-OUT 10FT                       $         4.08                            39   $          159.12
Mass. Warehouse         Pet Food, Feed & Supplies   06687043     SL PREMIYUM ADU RABBT FOOD 4LB                      $         6.00                            39   $          234.00
Mass. Warehouse         Pet Food, Feed & Supplies   06645374     AGWAY SB DOG TIE-OUT 30FT                           $        23.00                            40   $          920.00
Mass. Warehouse         Pet Food, Feed & Supplies   06687046     SL PRMYUM ADU GUNEA PIG FOOD 4                      $         6.00                            40   $          240.00
Mass. Warehouse         Pet Food, Feed & Supplies   06621347     LG FEEDER W/SIFTER BOTTOM 7IN                       $        11.10                            43   $          477.30
Mass. Warehouse         Pet Food, Feed & Supplies   06655755     BAY ADVNTX II FLEA 11-20LB 2PK                      $        26.42                            43   $        1,136.06
Mass. Warehouse         Pet Food, Feed & Supplies   06609705     AGWAY BEAST TIE OUT 15FT                            $        11.67                            44   $          513.48
Mass. Warehouse         Pet Food, Feed & Supplies   06613675     FRONTLINE PLUS DOG 8WK22LB                          $        41.63                            44   $        1,831.72
Mass. Warehouse         Pet Food, Feed & Supplies   06609727     AGWAY TIE OUT W/STAKE LRG 30FT                      $        10.65                            45   $          479.25
Mass. Warehouse         Pet Food, Feed & Supplies   06686144     WB HAM BONE DG TREAT 1OZ                            $         0.88                            48   $           42.24
Mass. Warehouse         Pet Food, Feed & Supplies   06687031     SL PREM WESTERN ALFALFA 24OZ                        $         4.20                            48   $          201.60
Mass. Warehouse         Pet Food, Feed & Supplies   10003709     ESP SANI-CARE ODOR CNTRL 6.75                       $         5.31                            48   $          254.88
Mass. Warehouse         Pet Food, Feed & Supplies   06673368     A&H SLIDE MULTICAT LITTER 14LB                      $        11.33                            63   $          713.79
Mass. Warehouse         Pet Food, Feed & Supplies   06686629     AGW ANML CRATE SGL DR 21X14X17                      $        18.47                            64   $        1,182.08
Mass. Warehouse         Pet Food, Feed & Supplies   06613679     FRONTLINE PLUS CAT 8WK-OLD                          $        41.65                            65   $        2,707.25
Mass. Warehouse         Pet Food, Feed & Supplies   06613677     FRONTLINE PLUS DOG 45-88LB                          $        41.65                            66   $        2,748.90
Mass. Warehouse         Pet Food, Feed & Supplies   50001654     SM PREM MAINT DOG FOOD 50LB                         $        28.49                            68   $        1,937.32
Mass. Warehouse         Pet Food, Feed & Supplies   06609728     AGWAY BEAST TIE OUT W/STK 30FT                      $        19.15                            70   $        1,340.50
Mass. Warehouse         Pet Food, Feed & Supplies   06609704     AGWAY DOG TIE OUT LARGE 40FT                        $         8.61                            71   $          611.31
Mass. Warehouse         Pet Food, Feed & Supplies   06686630     AGW ANML CRATE DBL DR 35X24X26                      $        48.49                            71   $        3,442.79
Mass. Warehouse         Pet Food, Feed & Supplies   06609719     AGWAY DOME STAKE 21IN                               $         4.38                            82   $          359.16
Mass. Warehouse         Pet Food, Feed & Supplies   06645376     AGWAY AERIAL DOG RUN 70FT                           $        16.77                            84   $        1,408.68
Mass. Warehouse         Pet Food, Feed & Supplies   06609703     AGWAY DOG TIE OUT LARGE 30FT                        $         7.70                            90   $          693.00
Mass. Warehouse         Pet Food, Feed & Supplies   06674897     WB CAT LITTER ZERO MESS 24LB                        $        28.80                            96   $        2,764.80
Mass. Warehouse         Pet Food, Feed & Supplies   06651364     JNC RIB BONE BEEF CHEW DOG 1PK                      $         1.87                           100   $          187.00
Mass. Warehouse         Pet Food, Feed & Supplies   06621155     GRN ORG SMT TREAT TUB LRG 27OZ                      $        26.90                           102   $        2,743.80
Mass. Warehouse         Pet Food, Feed & Supplies   06634745     KMR KITTEN MILK REPLC LIQ 11OZ                      $         5.60                           107   $          599.20
Mass. Warehouse         Pet Food, Feed & Supplies   06674896     WB CAT LITTER ZERO MESS 12LB                        $        16.28                           120   $        1,953.60
Mass. Warehouse         Pet Food, Feed & Supplies   10003949     RB RING MAT 39.5 X 59 X 7/8 IN                      $        45.00                           120   $        5,400.00
Mass. Warehouse         Pet Food, Feed & Supplies   06648135     BAY ADVANTIX II FLEA DOG 11-20                      $        50.06                           127   $        6,357.62
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                                                                                                                    Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category            Number       Agway Product Description                          per Unit          as of 7/21/2022               Value

Mass. Warehouse         Pet Food, Feed & Supplies   06648132     BAY ADVANTIX II FLEA DOG 55LB                       $       50.06                            134   $       6,708.04
Mass. Warehouse         Pet Food, Feed & Supplies   06664166     PS LITHIUM BATTERY 6 VOLT                           $        5.77                            142   $         819.34
Mass. Warehouse         Pet Food, Feed & Supplies   06609718     AGWAY SPIRAL STAKE 18IN                             $        2.36                            143   $         337.48
Mass. Warehouse         Pet Food, Feed & Supplies   06687018     WB BISON BONE PRAIRIE DG TREAT                      $        1.00                            144   $         144.00
Mass. Warehouse         Pet Food, Feed & Supplies   06609700     AGWAY DOG TIE OUT CHAN SM 12FT                      $        2.94                            158   $         464.52
Mass. Warehouse         Pet Food, Feed & Supplies   06616412     GRN TREAT TEENIE PK/43                              $       13.10                            159   $       2,082.90
Mass. Warehouse         Pet Food, Feed & Supplies   06651351     JNC CNTR BNE BEEF CHEW DOG 1PK                      $        6.47                            160   $       1,035.20
Mass. Warehouse         Pet Food, Feed & Supplies   06683460     ST F/T COLLAR FOR DOG OFA                           $        5.55                            167   $         926.85
Mass. Warehouse         Pet Food, Feed & Supplies   06687017     WB VENISON BONE POT RST TREAT                       $        1.00                            168   $         168.00
Mass. Warehouse         Pet Food, Feed & Supplies   06687019     WB ELK BONE FEAST DOG TREAT                         $        1.00                            168   $         168.00
Mass. Warehouse         Pet Food, Feed & Supplies   06687023     WB HAM BONE RECIPE DOG TREAT                        $        1.00                            168   $         168.00
Mass. Warehouse         Pet Food, Feed & Supplies   06645375     AGWAY SB DOG TIE-OUT 40FT                           $       26.51                            181   $       4,798.31
Mass. Warehouse         Pet Food, Feed & Supplies   06651398     SER F/T COLLAR SM DOG UND 18LB                      $       49.78                            210   $      10,453.80
Mass. Warehouse         Pet Food, Feed & Supplies   06685956     WB CAT LITTER ORIGINAL 8LB                          $        9.71                            210   $       2,039.10
Mass. Warehouse         Pet Food, Feed & Supplies   06648139     BAY ADVANTAGE II FLEA CAT 9LB                       $       42.38                            228   $       9,662.64
Mass. Warehouse         Pet Food, Feed & Supplies   57970032     BJ BB2 CUBE DEER ATTRACT 25LB                       $       20.98                            229   $       4,804.42
Mass. Warehouse         Pet Food, Feed & Supplies   06648628     WB CAT LITTER MLT CAT CLUMP 28                      $       28.93                            275   $       7,955.75
Mass. Warehouse         Pet Food, Feed & Supplies   57900172     SL ORGANC ALFALFA PELLETS 40LB                      $       16.75                            300   $       5,025.00
Mass. Warehouse         Pet Food, Feed & Supplies   06687020     WB PEANUT BUTTER BONE DG TREAT                      $        1.00                            312   $         312.00
Mass. Warehouse         Pet Food, Feed & Supplies   11432540     SWT PDZ STL REFRESHR POWDER 40                      $       16.05                            334   $       5,360.70
Mass. Warehouse         Pet Food, Feed & Supplies   11432542     SWEET PDZ STALL REFRSH GRAN 40                      $       12.50                            339   $       4,237.50
Mass. Warehouse         Pet Food, Feed & Supplies   06648626     WB CAT LITTER CLUMP FRMLA 28LB                      $       28.93                            422   $      12,208.46
Mass. Warehouse         Pet Food, Feed & Supplies   06609589     PC LITTER W/ BAKING SODA 16LB                       $        9.86                            435   $       4,289.10
Mass. Warehouse         Seasonal Home & Hardware    07004776     DO NOT USE - EAGLE GAS SAFETY CAN 2.5GAL            $       68.84                              1   $          68.84
Mass. Warehouse         Seasonal Home & Hardware    11500512     JOB EX PELLET RAT KILLER 4LB                        $       70.83                              1   $          70.83
Mass. Warehouse         Seasonal Home & Hardware    05300280     RES TOW STARTR KIT 3-1/4D W/2R                      $       38.12                              2   $          76.24
Mass. Warehouse         Seasonal Home & Hardware    05300295     RES 7-4WAY RNDBLD WRNG ADAPTER                      $        8.72                              2   $          17.44
Mass. Warehouse         Seasonal Home & Hardware    07005701     KC PARACORD 550 BLU 5/32X50FT                       $        3.45                              2   $           6.90
Mass. Warehouse         Seasonal Home & Hardware    07005703     KC PARACORD 550 BLK 5/32X100FT                      $        6.57                              2   $          13.14
Mass. Warehouse         Seasonal Home & Hardware    07005721     KC BRD ROPE CMO OP FLD 5/32X50                      $        2.41                              2   $           4.82
Mass. Warehouse         Seasonal Home & Hardware    07005731     KC TWISTED ROPE YLW 1/4X100FT                       $        5.03                              2   $          10.06
Mass. Warehouse         Seasonal Home & Hardware    07005732     KC TWISTED ROPE YLW 3/8X50FT                        $        5.46                              2   $          10.92
Mass. Warehouse         Seasonal Home & Hardware    07005910     KC NYL PARACORD 550 5/32X50FT                       $        3.06                              2   $           6.12
Mass. Warehouse         Seasonal Home & Hardware    09500630     FLEX TAPE RBR/WP BLACK 8INX5FT                      $       18.73                              2   $          37.46
Mass. Warehouse         Seasonal Home & Hardware    10104541     WBR KETTLE PREM BLACK 22IN                          $      180.68                              2   $         361.36
Mass. Warehouse         Seasonal Home & Hardware    10112849     WBR SMEFIRE EX4 WD PELLET GRILL 24                  $      945.00                              2   $       1,890.00
Mass. Warehouse         Seasonal Home & Hardware    11500608     FNM RODENTEX MULTI-FEED BARS 4                      $       14.94                              2   $          29.88
Mass. Warehouse         Seasonal Home & Hardware    05300293     RES TRLR END PLUG CONNECT 12IN                      $        3.63                              3   $          10.89
Mass. Warehouse         Seasonal Home & Hardware    06615570     VICTOR PLUNGER STYLE MOLE TRAP                      $       18.09                              3   $          54.27
Mass. Warehouse         Seasonal Home & Hardware    07005979     ANC ECON TARP TIE MULTIPK 10PC                      $       12.92                              3   $          38.76
Mass. Warehouse         Seasonal Home & Hardware    10104639     WBR S/M COOKER SMOKER 22IN                          $      418.30                              3   $       1,254.90
Mass. Warehouse         Seasonal Home & Hardware    10115858     WBR SUM S6 KAMADO CHARC GRILL                       $    1,711.71                              3   $       5,135.13
Mass. Warehouse         Seasonal Home & Hardware    10306323     GEN COMM POWER WASHER 3300PSI                       $      981.22                              3   $       2,943.66
Mass. Warehouse         Seasonal Home & Hardware    05200113     YARA DIESEL EXHAUST FLUID 55G                       $      194.66                              4   $         778.64
Mass. Warehouse         Seasonal Home & Hardware    05411012     DO NOT USE - DEKA 8U1L LAWN/GRD BATTERY 12V         $       34.75                              4   $         139.00
Mass. Warehouse         Seasonal Home & Hardware    07004778     DO NOT USE - EAGLE DIESEL SAFETY CAN 5GAL           $       84.08                              4   $         336.32
Mass. Warehouse         Seasonal Home & Hardware    07005726     KC BRD ROPE CMO OP FLD 1/4X100                      $        6.23                              4   $          24.92
Mass. Warehouse         Seasonal Home & Hardware    07005761     KC CTN SMTH ROPE NTRL 1/4X100                       $        7.96                              4   $          31.84
Mass. Warehouse         Seasonal Home & Hardware    07005878     KC HLW CORE ROPE YLW 1/4X50FT                       $        2.11                              4   $           8.44
Mass. Warehouse         Seasonal Home & Hardware    07005903     KC SISAL TWISTED ROPE 1/2X50FT                      $       13.78                              4   $          55.12
Mass. Warehouse         Seasonal Home & Hardware    05300400     PEAK ISO32 AW HYDRAULIC OIL 5G                      $       46.45                              5   $         232.25
Mass. Warehouse         Seasonal Home & Hardware    06615554     HH PRO CAGE TRAP 12X10X32IN                         $       64.19                              5   $         320.95
Mass. Warehouse         Seasonal Home & Hardware    06650686     SAS FOAM EAR PLUGS 3 PAIR                           $        2.70                              5   $          13.50
Mass. Warehouse         Seasonal Home & Hardware    07002542     BEH GALV HOT DIP RND TUB 15GAL                      $       24.67                              5   $         123.35
Mass. Warehouse         Seasonal Home & Hardware    07005880     KC DMND ROPE BL/RD/WH 1/2X50FT                      $        9.81                              5   $          49.05
Mass. Warehouse         Seasonal Home & Hardware    07005981     ANC RECVRY STRAP POLY 2INX30FT                      $       26.31                              5   $         131.55
Mass. Warehouse         Seasonal Home & Hardware    10105815     WBR Q1000 GAS GRIL LP 8500 BTU                      $      186.45                              5   $         932.25
Mass. Warehouse         Seasonal Home & Hardware    10105817     WBR Q2000 GAS GRL LP 12000 BTU                      $      246.92                              5   $       1,234.60
Mass. Warehouse         Seasonal Home & Hardware    10223621     MG WOODEN PLANTER TRICYCLE                          $       52.88                              5   $         264.40
Mass. Warehouse         Seasonal Home & Hardware    05411010     DO NOT USE - DEKA 8U1R LAWN/GRD BATTERY 12V         $       34.75                              6   $         208.50
Mass. Warehouse         Seasonal Home & Hardware    06615574     HAVAHART TRAP 10INX3INX3IN                          $       20.31                              6   $         121.86
Mass. Warehouse         Seasonal Home & Hardware    06617453     HYKO FOR RENT SIGN 9X12IN                           $        0.83                              6   $           4.98
Mass. Warehouse         Seasonal Home & Hardware    06686547     DPC HD LG CAGE TRAP 12X12X28IN                      $       54.72                              6   $         328.32
Mass. Warehouse         Seasonal Home & Hardware    06700845     4052 MEN GRAIN PIGSKIN GLOVE L                      $       11.74                              6   $          70.44
Mass. Warehouse         Seasonal Home & Hardware    06700848     4066 SPLIT LEATHER GLOVE BR M                       $        4.82                              6   $          28.92
Mass. Warehouse         Seasonal Home & Hardware    06700850     4092 LEATHR PALM GLOVE SFTY CF                      $        4.84                              6   $          29.04
Mass. Warehouse         Seasonal Home & Hardware    07003408     2053BC TARP/ROPE HOOKS 3-1/2IN                      $        0.83                              6   $           4.98
Mass. Warehouse         Seasonal Home & Hardware    07005902     KC SISAL TWISTED ROPE 3/8X50FT                      $       10.27                              6   $          61.62
Mass. Warehouse         Seasonal Home & Hardware    11500332     JAGUAR ALL-WTHR BAIT CHUNX 9LB                      $       57.10                              6   $         342.60
Mass. Warehouse         Seasonal Home & Hardware    11500500     RAMIK GREEN RAT/MICE 4LB DS/15                      $      206.03                              6   $       1,236.18
Mass. Warehouse         Seasonal Home & Hardware    07003874     O-CEDAR MAXIPLUS LOBY DUST PAN                      $       16.91                              7   $         118.37
Mass. Warehouse         Seasonal Home & Hardware    07004633     NO-SPILL GASOLINE CAN 2.5 GAL                       $       22.27                              7   $         155.89
Mass. Warehouse         Seasonal Home & Hardware    07005982     ANC RECVRY STRAP POLY 3INX30FT                      $       35.87                              7   $         251.09
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                                                                                                                   Wholesale Price   Units Included in APA        Extended Wholesale
Location of Inventory   Product Category           Number       Agway Product Description                          per Unit          as of 7/21/2022              Value

Mass. Warehouse         Seasonal Home & Hardware   05904426     WH KEROSNE FRC AIR HEATER 135K                      $      381.44                             8   $       3,051.52
Mass. Warehouse         Seasonal Home & Hardware   09500621     FLEX SEAL LIQ RUBBER CLR 32OZ                       $       28.09                             8   $         224.72
Mass. Warehouse         Seasonal Home & Hardware   10101529     WBR ORG KETTLE BLACK 18IN                           $       95.76                             8   $         766.08
Mass. Warehouse         Seasonal Home & Hardware   10221807     ANI ANI-PROTEIN BLOCK 365 25LB                      $       18.91                             8   $         151.28
Mass. Warehouse         Seasonal Home & Hardware   10301452     AF SMART TOW SPREADER 130LB                         $      207.73                             8   $       1,661.84
Mass. Warehouse         Seasonal Home & Hardware   11500671     MTM PROWLER SOFT BAIT 4LB                           $       35.54                             8   $         284.32
Mass. Warehouse         Seasonal Home & Hardware   06617487     HYKO PRV PROPRTY KEEP OUT SIGN                      $        0.59                             9   $           5.31
Mass. Warehouse         Seasonal Home & Hardware   07005745     KC PVC COATED WIRE GRN 5/32X50                      $        3.53                             9   $          31.77
Mass. Warehouse         Seasonal Home & Hardware   07005855     KC NYL BRAID ROPE WHT 1/8X50FT                      $        1.48                             9   $          13.32
Mass. Warehouse         Seasonal Home & Hardware   10305148     AF BRDCAST TOW SPREADER 110LB                       $      169.97                             9   $       1,529.73
Mass. Warehouse         Seasonal Home & Hardware   06617425     HYKO NO TRESPASSING SIGN 10X14                      $        1.31                            10   $          13.10
Mass. Warehouse         Seasonal Home & Hardware   06617428     HYKO POSTED NO HUNTING SIGN                         $        1.31                            10   $          13.10
Mass. Warehouse         Seasonal Home & Hardware   06686545     DPC #3-1 DR CAGE TRAP 10X12X32                      $       43.76                            10   $         437.60
Mass. Warehouse         Seasonal Home & Hardware   07013712     DC COPPERTOP BATTERY AAA PK/24                      $       24.80                            10   $         248.00
Mass. Warehouse         Seasonal Home & Hardware   06615582     HAVAHART TRAP 36INX11INX11IN                        $       74.13                            11   $         815.43
Mass. Warehouse         Seasonal Home & Hardware   06617421     TYVEK POSTED SIGN ROLL 12X12IN                      $       27.77                            11   $         305.47
Mass. Warehouse         Seasonal Home & Hardware   10115849     WBR TRAVELER PORTABLE GRILL                         $      334.08                            11   $       3,674.88
Mass. Warehouse         Seasonal Home & Hardware   10219592     BLM D/C HANGING BASKET TC 12IN                      $       10.90                            11   $         119.90
Mass. Warehouse         Seasonal Home & Hardware   06678482     BJ BB2 DEER ATTRACT GRAN 40LB                       $       31.14                            12   $         373.68
Mass. Warehouse         Seasonal Home & Hardware   06700895     4070 PREM GRAIN LTHR GLOVE JMB                      $       12.89                            12   $         154.68
Mass. Warehouse         Seasonal Home & Hardware   06774825     1290 SD SPLT LTHR PALM GLOVE J                      $        6.55                            12   $          78.60
Mass. Warehouse         Seasonal Home & Hardware   07005984     ANC RECVRY STRAP POLY 6INX30FT                      $       84.90                            12   $       1,018.80
Mass. Warehouse         Seasonal Home & Hardware   09500395     RUS SPR PAINT GLOSS BLK 12OZ                        $        4.88                            12   $          58.56
Mass. Warehouse         Seasonal Home & Hardware   11503020     ROE SEPTIC SYSTEM CLEANER 1QT                       $        7.84                            12   $          94.08
Mass. Warehouse         Seasonal Home & Hardware   06686543     DPC #1-1 DOOR CAGE TRAP 5X5X16                      $       13.63                            13   $         177.19
Mass. Warehouse         Seasonal Home & Hardware   05904016     DRFLM QUARTZ HEATER WALNUT BRN                      $      126.91                            14   $       1,776.74
Mass. Warehouse         Seasonal Home & Hardware   06617434     HYKO NO TRESP/HUNTING/FISH SIG                      $        1.31                            14   $          18.34
Mass. Warehouse         Seasonal Home & Hardware   06617439     HYKO NO TRESPASSING SIGN                            $        0.59                            14   $           8.26
Mass. Warehouse         Seasonal Home & Hardware   07004189     2150BC LAG SCREW ZNC 3/8X4 1/2                      $        0.83                            14   $          11.62
Mass. Warehouse         Seasonal Home & Hardware   07002810     O-CEDAR WHSE 100% CORN BROOM                        $       18.70                            15   $         280.50
Mass. Warehouse         Seasonal Home & Hardware   11500399     TOMCAT RODENT STATION                               $       12.27                            15   $         184.05
Mass. Warehouse         Seasonal Home & Hardware   07002637     MW SPILL PROOF REPL SPOUT KIT                       $        5.91                            16   $          94.56
Mass. Warehouse         Seasonal Home & Hardware   07004182     2014BC 2 SCREW EYE ZNC 2 5/8IN                      $        0.39                            16   $           6.24
Mass. Warehouse         Seasonal Home & Hardware   05904423     DG IR DUAL VF WALL HEATER 12K                       $      147.92                            17   $       2,514.64
Mass. Warehouse         Seasonal Home & Hardware   10306313     GEN MINI TILLER CULTIVATR 2CYL                      $      291.39                            17   $       4,953.63
Mass. Warehouse         Seasonal Home & Hardware   10205158     EH BUCK JAM RIPE APPLE MINERAL                      $        8.09                            18   $         145.62
Mass. Warehouse         Seasonal Home & Hardware   07003373     V508 REM PIN HINGE BRS 3IN 2PK                      $        3.84                            20   $          76.80
Mass. Warehouse         Seasonal Home & Hardware   06617452     HYKO BEWARE OF THE DOG SIGN                         $        0.59                            22   $          12.98
Mass. Warehouse         Seasonal Home & Hardware   07002552     BEH HOT DIPPED PAIL 12QT                            $        8.83                            22   $         194.26
Mass. Warehouse         Seasonal Home & Hardware   11500669     MTM PROWLER PLACE PACS 22CT                         $       33.92                            22   $         746.24
Mass. Warehouse         Seasonal Home & Hardware   05200401     STA-BIL FUEL STABILIZER 10OZ                        $        6.83                            24   $         163.92
Mass. Warehouse         Seasonal Home & Hardware   06617441     HYKO NO HUNT W/O PERMISSN SIGN                      $        0.59                            25   $          14.75
Mass. Warehouse         Seasonal Home & Hardware   11500509     JOB II PELLET PK RAT KILLR 8LB                      $       54.57                            25   $       1,364.25
Mass. Warehouse         Seasonal Home & Hardware   06610778     HH EASYSET/RELEASE CAGE TRAP                        $       78.33                            26   $       2,036.58
Mass. Warehouse         Seasonal Home & Hardware   07004587     DC ALKALINE C BATTERY 4/PK                          $        9.58                            27   $         258.66
Mass. Warehouse         Seasonal Home & Hardware   11500511     JOB EX BAIT BLCK RAT KILLR 4LB                      $       67.60                            27   $       1,825.20
Mass. Warehouse         Seasonal Home & Hardware   10223720     SCOTTS T/C RODENT REPEL RTU 1G                      $       19.24                            28   $         538.72
Mass. Warehouse         Seasonal Home & Hardware   11500516     HAVOC BAIT PELLET RAT/MICE 50G                      $       63.35                            28   $       1,773.80
Mass. Warehouse         Seasonal Home & Hardware   07004585     DC ALKALINE AAA BATTERY 8/PK                        $       10.16                            29   $         294.64
Mass. Warehouse         Seasonal Home & Hardware   05300426     PEAK GEAR OIL SAE 80W-90 QT                         $        4.47                            30   $         134.10
Mass. Warehouse         Seasonal Home & Hardware   11500346     RAMIK MULTI-CATCH MOUSE TRAP                        $       13.27                            30   $         398.10
Mass. Warehouse         Seasonal Home & Hardware   07014022     AGWAY PLY TARP BLUE 20FTX25FT                       $       25.73                            33   $         849.09
Mass. Warehouse         Seasonal Home & Hardware   11504406     RAMIK NUGGETS PAIL 4LB                              $       29.52                            33   $         974.16
Mass. Warehouse         Seasonal Home & Hardware   07004590     DC ALKALINE 9V BATTERY 1/PK                         $        5.21                            34   $         177.14
Mass. Warehouse         Seasonal Home & Hardware   07016656     AGWAY POLY TARP BLUE 30FTX40FT                      $       59.64                            34   $       2,027.76
Mass. Warehouse         Seasonal Home & Hardware   11500524     TOMCAT LIQ CONC RAT/MICE 13.44                      $       14.20                            34   $         482.80
Mass. Warehouse         Seasonal Home & Hardware   07014021     AGWAY PLY TARP BLUE 20FTX20FT                       $       21.45                            35   $         750.75
Mass. Warehouse         Seasonal Home & Hardware   10305453     GEN GP6500 PRT GENERATR 6500KW                      $      807.47                            35   $      28,261.45
Mass. Warehouse         Seasonal Home & Hardware   06700853     4011 PLASTIC DOT GLOVE 8OZ                          $        1.26                            36   $          45.36
Mass. Warehouse         Seasonal Home & Hardware   11503000     1QT ROEBIC K-37 SEPTIC LIQUID                       $        7.84                            36   $         282.24
Mass. Warehouse         Seasonal Home & Hardware   11503040     2LB ROEBIC K-77 ROOT KILLER                         $       16.01                            36   $         576.36
Mass. Warehouse         Seasonal Home & Hardware   11500304     RAMIK MINI BARS PAIL 4LB                            $       23.62                            37   $         873.94
Mass. Warehouse         Seasonal Home & Hardware   11500668     MTM PROWLER BAIT CHUNX 4LB                          $       30.27                            37   $       1,119.99
Mass. Warehouse         Seasonal Home & Hardware   06686640     AGW ANML TRAP SGL DR 42X15X16                       $       82.92                            39   $       3,233.88
Mass. Warehouse         Seasonal Home & Hardware   11500491     TOMCAT RAT BAIT CHUNX 4LB                           $       29.21                            44   $       1,285.24
Mass. Warehouse         Seasonal Home & Hardware   11500563     TOMCAT RAT KLR II 30GM PK/15                        $       16.50                            47   $         775.50
Mass. Warehouse         Seasonal Home & Hardware   07016664     AGWAY TIE DOWN/S HK 1-1/2X14FT                      $        6.92                            48   $         332.16
Mass. Warehouse         Seasonal Home & Hardware   07014023     AGWAY PLY TARP BLUE 20FTX40FT                       $       46.61                            49   $       2,283.89
Mass. Warehouse         Seasonal Home & Hardware   06686636     AGW ANML TRAP DBL DR 36X11X12                       $       56.27                            50   $       2,813.50
Mass. Warehouse         Seasonal Home & Hardware   08113242     BK KNURLED STAPLE 1 1/4IN GALV                      $        1.63                            50   $          81.39
Mass. Warehouse         Seasonal Home & Hardware   07016655     AGWAY POLY TARP BLUE 20FTX30FT                      $       27.91                            52   $       1,451.32
Mass. Warehouse         Seasonal Home & Hardware   11500510     JOB II BAIT CHNK RAT KILLR 8LB                      $       48.68                            52   $       2,531.36
Mass. Warehouse         Seasonal Home & Hardware   11500568     TOMCAT MOUSE BAIT STATION                           $        3.46                            52   $         179.92
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                                                                                                                   Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category           Number       Agway Product Description                          per Unit          as of 7/21/2022               Value

Mass. Warehouse         Seasonal Home & Hardware   06686550     MLR DT EONOMY LIVE TRAP 2PK                         $       29.44                             57   $       1,678.08
Mass. Warehouse         Seasonal Home & Hardware   11500490     TOMCAT RAT BAIT STATION 4OZ                         $        9.26                             57   $         527.82
Mass. Warehouse         Seasonal Home & Hardware   11500487     TOMCAT MOUSE BAIT W/4 REFILLS                       $        4.62                             59   $         272.58
Mass. Warehouse         Seasonal Home & Hardware   05200152     NANO DRY LUBRICANT 11OZ                             $        8.57                             60   $         514.20
Mass. Warehouse         Seasonal Home & Hardware   07007658     GOLDLINE HD RUBBER STRAP 21IN                       $        2.30                             60   $         138.00
Mass. Warehouse         Seasonal Home & Hardware   07000344     AGWAY #8 DELUXE BARN BROOM                          $       19.88                             62   $       1,232.56
Mass. Warehouse         Seasonal Home & Hardware   07004576     DC ALKALINE AAA BATTERY 4/PK                        $        5.21                             62   $         323.02
Mass. Warehouse         Seasonal Home & Hardware   07014040     AGWAY TARP SLVR/BLK 20FTX40FT                       $       79.71                             62   $       4,942.02
Mass. Warehouse         Seasonal Home & Hardware   07016665     AGWAY TIE DWN/J HK 1-1/2X14 2P                      $       13.84                             65   $         899.60
Mass. Warehouse         Seasonal Home & Hardware   07015268     RATCHT TD DB J HK 1 1/2X16 4PK                      $        6.86                             66   $         452.76
Mass. Warehouse         Seasonal Home & Hardware   11504294     TOMCAT RAT/MOUSE BAIT 3OZ 22CT                      $       23.53                             66   $       1,552.98
Mass. Warehouse         Seasonal Home & Hardware   05904585     DRFLM OUTDR FIRELOG 3-2LB LOG                       $        9.70                             67   $         649.90
Mass. Warehouse         Seasonal Home & Hardware   11500489     TOMCAT MOUSE BAIT W/16 REFILLS                      $        9.33                             69   $         643.77
Mass. Warehouse         Seasonal Home & Hardware   11500661     TOMCAT ROUGH CUT NUGGETS 4LB                        $       19.21                             69   $       1,325.49
Mass. Warehouse         Seasonal Home & Hardware   07000345     AGWAY #6 DELUXE HOUSE BROOM                         $       14.95                             70   $       1,046.50
Mass. Warehouse         Seasonal Home & Hardware   10200304     EH DEER CO-CAIN BK MAGIC 4.5LB                      $        8.16                             72   $         587.52
Mass. Warehouse         Seasonal Home & Hardware   07001613     QUIK BLACKTOP REPAIR 50LB                           $       16.14                             73   $       1,178.22
Mass. Warehouse         Seasonal Home & Hardware   07016673     AGWAY RECVRY STRAP/LP 3INX30FT                      $       23.47                             79   $       1,854.13
Mass. Warehouse         Seasonal Home & Hardware   07016672     AGWAY RECVRY STRAP/LP 2INX30FT                      $       14.60                             80   $       1,168.00
Mass. Warehouse         Seasonal Home & Hardware   09005165     AGWAY EQUINE FENCE PAINT 5GL                        $       46.04                             81   $       3,729.24
Mass. Warehouse         Seasonal Home & Hardware   10111821     POISON IVY SOAP                                     $        6.94                             84   $         582.96
Mass. Warehouse         Seasonal Home & Hardware   07014038     AGWAY TARP SLVR/BLK 12FTX20FT                       $       28.61                             89   $       2,546.29
Mass. Warehouse         Seasonal Home & Hardware   07016618     AG CABLE TIES 8IN BLACK PK/100                      $        2.08                             90   $         187.20
Mass. Warehouse         Seasonal Home & Hardware   11500498     RAMIK BARS F/RAT/MICE 4PK 16OZ                      $       16.95                             90   $       1,525.50
Mass. Warehouse         Seasonal Home & Hardware   06686635     AGW ANML TRAP DBL DR 24X7X8                         $       37.90                             95   $       3,600.50
Mass. Warehouse         Seasonal Home & Hardware   06662154     EZR DIAL THERMOMETER AMER FLAG                      $        9.82                             96   $         942.72
Mass. Warehouse         Seasonal Home & Hardware   06713895     4020 LW JERSEY GLOVE BRN LG                         $        0.80                             96   $          76.80
Mass. Warehouse         Seasonal Home & Hardware   05900980     EA/1 1428 100LB DOT CYLINDER                        $      229.41                             98   $      22,482.18
Mass. Warehouse         Seasonal Home & Hardware   06686631     AGW ANML TRAP DBL DR 10X3X3                         $       14.81                             99   $       1,466.19
Mass. Warehouse         Seasonal Home & Hardware   06686632     AGW ANML TRAP DBL DR 18X5X6                         $       23.69                             99   $       2,345.31
Mass. Warehouse         Seasonal Home & Hardware   07016622     AG CABLE TIES 8IN WH PK/100                         $        2.08                            100   $         208.00
Mass. Warehouse         Seasonal Home & Hardware   06665725     HYKO DRIVEWAY MARKER 48IN                           $        2.24                            102   $         228.48
Mass. Warehouse         Seasonal Home & Hardware   11500488     TOMCAT MOUSE BAIT W/8 REFILLS                       $        7.22                            103   $         743.66
Mass. Warehouse         Seasonal Home & Hardware   07014035     AGWAY TARP SLVR/BLK 8FTX10FT                        $        9.92                            108   $       1,071.36
Mass. Warehouse         Seasonal Home & Hardware   11504278     MOUSE SIZE GLUE BOARDS 2PK                          $        2.37                            108   $         255.96
Mass. Warehouse         Seasonal Home & Hardware   10116012     PH LATTICE FIRE RING 36IN                           $       44.34                            110   $       4,877.40
Mass. Warehouse         Seasonal Home & Hardware   10214439     LB MINERAL SUPPLMNT APPLE 20LB                      $       16.36                            113   $       1,848.68
Mass. Warehouse         Seasonal Home & Hardware   06686633     AGW ANML TRAP SGL DR 10X6X7                         $       11.85                            118   $       1,398.30
Mass. Warehouse         Seasonal Home & Hardware   07016671     AGWAY RECVRY STRAP/LP 2INX20FT                      $       12.05                            120   $       1,446.00
Mass. Warehouse         Seasonal Home & Hardware   06686638     AGW ANML TRAP SGL DR 17X7X8                         $       23.69                            122   $       2,890.18
Mass. Warehouse         Seasonal Home & Hardware   07016620     AG CABLE TIES 24IN BLK PK/10                        $        1.50                            122   $         183.00
Mass. Warehouse         Seasonal Home & Hardware   07016621     AG CABLE TIES 4IN WHT PK/100                        $        0.75                            124   $          93.00
Mass. Warehouse         Seasonal Home & Hardware   06686637     AGW ANML TRAP SGL DR 24X7X8                         $       31.98                            127   $       4,061.46
Mass. Warehouse         Seasonal Home & Hardware   07016626     AG AST CABLE TIE CANSTR PK/350                      $        3.52                            127   $         447.04
Mass. Warehouse         Seasonal Home & Hardware   07016619     AG CABLE TIES 11IN BLK PK/100                       $        3.06                            132   $         403.92
Mass. Warehouse         Seasonal Home & Hardware   06686639     AGW ANML TRAP DBL DR 42X11X12                       $       61.59                            134   $       8,253.06
Mass. Warehouse         Seasonal Home & Hardware   06686634     AGW ANML TRAP SGL DR 32X10X11                       $       46.20                            136   $       6,283.20
Mass. Warehouse         Seasonal Home & Hardware   07014019     AGWAY PLY TARP BLUE 12FTX25FT                       $       16.84                            138   $       2,323.92
Mass. Warehouse         Seasonal Home & Hardware   07016623     AG CABLE TIES 11IN WH PK/100                        $        3.06                            138   $         422.28
Mass. Warehouse         Seasonal Home & Hardware   06676246     HH LIVE CATCH ANIMAL TRAP 2PK                       $       39.56                            140   $       5,538.40
Mass. Warehouse         Seasonal Home & Hardware   07014599     AGWAY QUICK SPLICE KIT 50PC                         $        3.39                            143   $         484.77
Mass. Warehouse         Seasonal Home & Hardware   11500504     TOMCAT A/W RODENT BLOCK 4LB                         $       18.68                            143   $       2,671.24
Mass. Warehouse         Seasonal Home & Hardware   07016627     AG AST CABLE TIE CANSTR PK/500                      $        4.90                            147   $         720.30
Mass. Warehouse         Seasonal Home & Hardware   07014020     AGWAY PLY TARP BLUE 15FTX20FT                       $       17.77                            148   $       2,629.96
Mass. Warehouse         Seasonal Home & Hardware   07016625     AG CABLE TIES 24IN WH PK/10                         $        1.50                            148   $         222.00
Mass. Warehouse         Seasonal Home & Hardware   07013702     AGWAY NUT/WASHER AST 460PC                          $        5.09                            149   $         758.41
Mass. Warehouse         Seasonal Home & Hardware   05200688     SUPER S AGRI HYDRULC FLUID 5GL                      $       43.58                            151   $       6,580.58
Mass. Warehouse         Seasonal Home & Hardware   07013707     AGWAY PTO PIN ASSORTMENT 20PC                       $        7.27                            152   $       1,105.04
Mass. Warehouse         Seasonal Home & Hardware   07016628     AG AST CABLE TIE 7 SZ PK/1000                       $        7.03                            153   $       1,075.59
Mass. Warehouse         Seasonal Home & Hardware   05300449     PEAK 2-CYCLE ENGINE OIL 8OZ                         $        1.40                            155   $         216.99
Mass. Warehouse         Seasonal Home & Hardware   11500598     FNM RODENTEX BAIT STATION 3PK                       $        6.86                            156   $       1,070.16
Mass. Warehouse         Seasonal Home & Hardware   07016624     AG CABLE TIES 15IN WH PK/100                        $        4.04                            166   $         670.64
Mass. Warehouse         Seasonal Home & Hardware   07013700     AGWAY SPRING ASSORTMENT 200PC                       $        3.04                            177   $         538.08
Mass. Warehouse         Seasonal Home & Hardware   07014602     AGW SLDRLS TRMNL W/CRMPR 271PC                      $        7.96                            177   $       1,408.92
Mass. Warehouse         Seasonal Home & Hardware   07014606     AGW METRIC NUT/BOLT ASST 347PC                      $        3.04                            177   $         538.08
Mass. Warehouse         Seasonal Home & Hardware   11500565     TOMCAT RAT/MICE GLUE BOARD PK2                      $        4.38                            179   $         784.02
Mass. Warehouse         Seasonal Home & Hardware   07016632     AG CABLE TIES 12IN SS PK/25                         $        3.40                            182   $         618.80
Mass. Warehouse         Seasonal Home & Hardware   06617442     HYKO LEGAL POSTED SIGN                              $        0.84                            183   $         153.72
Mass. Warehouse         Seasonal Home & Hardware   11500597     FNM RODENTEX BAIT STATION 2PK                       $        5.57                            192   $       1,069.44
Mass. Warehouse         Seasonal Home & Hardware   11504293     TOMCAT BAIT CHUNX 4LB PAIL                          $       19.91                            197   $       3,922.27
Mass. Warehouse         Seasonal Home & Hardware   11500499     RAMIK NUGGETS RAT/MOUSE 4LB                         $       14.83                            206   $       3,054.98
Mass. Warehouse         Seasonal Home & Hardware   10223718     SCOTTS T/C RODENT REPEL 14OZ                        $        6.36                            208   $       1,322.88
Mass. Warehouse         Seasonal Home & Hardware   07013703     AGWAY WING NUT AST 150PC                            $        4.97                            218   $       1,083.46
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                                                                                                                   Wholesale Price   Units Included in APA     Extended Wholesale
Location of Inventory   Product Category           Number       Agway Product Description                          per Unit          as of 7/21/2022           Value

Mass. Warehouse         Seasonal Home & Hardware   06807845     84092LP LTR PALM S/CFF GLOVE L                      $         2.75                       276   $         759.00
Mass. Warehouse         Seasonal Home & Hardware   12101164     BALL LIDS WIDE MOUTH PK/12                          $         4.72                       284   $       1,340.44
Mass. Warehouse         Seasonal Home & Hardware   07016617     AG CABLE TIES 5IN BLACK PK/100                      $         1.15                       290   $         333.50
Mass. Warehouse         Seasonal Home & Hardware   06807843     84023PL PGSKN LTR WORK GLOVE L                      $         6.33                       312   $       1,974.96
Mass. Warehouse         Seasonal Home & Hardware   10224880     BLM WATERCAN LIVING GREEN 2GAL                      $         8.23                       403   $       3,316.69
Mass. Warehouse         Seasonal Home & Hardware   07014037     AGWAY TARP SLVR/BLK 12FTX16FT                       $        22.96                       437   $      10,033.52
Mass. Warehouse         Seasonal Home & Hardware   07014018     AGWAY PLY TARP BLUE 12FTX20FT                       $        13.04                       486   $       6,337.44
Mass. Warehouse         Seasonal Home & Hardware   06603638     HYKO DRIVEWAY MARKER RED 48IN                       $         1.77                       504   $         892.08
Mass. Warehouse         Seasonal Home & Hardware   06807848     8412PS LATEX PALM GLOVE L                           $         2.03                       504   $       1,023.12
Mass. Warehouse         Seasonal Home & Hardware   07014036     AGWAY TARP SLVR/BLK 10FTX12FT                       $        13.73                       547   $       7,510.31
Mass. Warehouse         Seasonal Home & Hardware   10103169     DO NOT USE - RO NAT WD LUMP CHARCOAL 15.4LB         $        16.60                       614   $      10,192.40
Mass. Warehouse         Seasonal Home & Hardware   07000343     AGWAY #9 BARN BROOM W/BLK HDL                       $        22.66                       640   $      14,502.40
Mass. Warehouse         Seasonal Home & Hardware   07014014     AGWAY PLY TARP BLUE 8FTX10FT                        $         4.26                       688   $       2,930.88
Mass. Warehouse         Seasonal Home & Hardware   11500639     VIC MOUSE TRAP W/MTL PEDAL PK4                      $         2.13                       768   $       1,635.84
Mass. Warehouse         Seasonal Home & Hardware   07014017     AGWAY PLY TARP BLUE 12FTX16FT                       $        10.27                       786   $       8,072.22
Mass. Warehouse         Seasonal Home & Hardware   11300263     ROTO RED TRACE MINERAL BRICK 4                      $         1.78                       840   $       1,495.20
Mass. Warehouse         Seasonal Home & Hardware   07014016     AGWAY PLY TARP BLUE 10FTX12FT                       $         6.46                       868   $       5,607.28
Mass. Warehouse         Seasonal Home & Hardware   07011264     AGW RATCHT TIEDW 1X15 1200 2PK                      $         6.92                     1,080   $       7,473.60
Mass. Warehouse         Seasonal Home & Hardware   10112419     COWBOY HW LUMP CHARCOAL 18LB                        $        17.67                     1,183   $      20,903.61
Mass. Warehouse         Seasonal Home & Hardware   11300262     ROTO PLAIN SALT BRICK WHT 4LB                       $         1.60                     1,380   $       2,208.00
Mass. Warehouse         Seasonal Home & Hardware   12101162     BALL LIDS W/BAND REG MTH PK/12                      $         6.20                     1,380   $       8,556.00
Mass. Warehouse         Seasonal Home & Hardware   10110423     TIKI BITEFGHTR TORCH FUEL 64OZ                      $         7.90                     2,370   $      18,723.00
Mass. Warehouse         Seasonal Home & Hardware   10225702     SPARTAN MOSQUITO PRO TECH                           $        19.20                     2,455   $      47,136.00
Mass. Warehouse         Seasonal Home & Hardware   05300258     ELITE WDSHIELD WASHER -20 1GAL                      $         3.18                     3,240   $      10,303.20
Mass. Warehouse         Seasonal Home & Hardware   10104701     AUSTINS POOL SHOCK 12.5% 1GAL                       $         4.36                     6,076   $      26,491.36
Mass. Warehouse         Seasonal Home & Hardware   06807851     8427CK LTX PALM HI VIS GLOVE L                      $         1.69                    11,118   $      18,789.42
Mass. Warehouse         Wild Bird                  10220943     CB SM LANTERN BRD FEEDER 2.6LB                      $        15.41                         4   $          61.64
Mass. Warehouse         Wild Bird                  06612983     PP MOUNTAIN CHAPEL BIRD FEEDER                      $        39.96                         6   $         239.76
Mass. Warehouse         Wild Bird                  10222126     PP MASON JAR HUMMINGBRD FEEDER                      $        20.73                         6   $         124.38
Mass. Warehouse         Wild Bird                  10218455     STK BLSM HUMINGBRD FEEDER 20OZ                      $        22.95                         8   $         183.60
Mass. Warehouse         Wild Bird                  10221789     AB NUT/FRUIT SEED CAKE 2.40LB                       $         5.78                         9   $          52.02
Mass. Warehouse         Wild Bird                  10220940     CB JEWEL RED HGBRD FEEDER 20OZ                      $        20.95                        12   $         251.40
Mass. Warehouse         Wild Bird                  10212863     CB GLORY HUMMNGBRD FEEDER 14OZ                      $        22.75                        16   $         364.00
Mass. Warehouse         Wild Bird                  10220939     CB JUG HUMMINGBIRD FEEDER 23OZ                      $        20.95                        16   $         335.20
Mass. Warehouse         Wild Bird                  06649382     UP DRIED MEALWORM PROTEN 11.02                      $        97.63                        19   $       1,854.97
Mass. Warehouse         Wild Bird                  10218636     CB SUREFILL 3 IN 1 SUPER TOTE                       $        13.80                        20   $         276.00
Mass. Warehouse         Wild Bird                  10220938     CB MASON JAR HGBRD FEEDER 25OZ                      $        20.42                        20   $         408.40
Mass. Warehouse         Wild Bird                  10221052     AB CRTTR CRNCH BIRD/CRTTR FD 5                      $         5.04                        20   $         100.80
Mass. Warehouse         Wild Bird                  06667234     C&S WOODPECKR TREAT SUET 11OZ                       $         2.58                        24   $          61.92
Mass. Warehouse         Wild Bird                  10211876     MB JUBILEE HUMMINGBIRD FEEDER                       $        22.75                        24   $         546.00
Mass. Warehouse         Wild Bird                  10202064     FF NYJER SEED BIRD FOOD 5LB                         $        10.14                        32   $         324.48
Mass. Warehouse         Wild Bird                  10214037     CB HUMMINGBIRD VINTAGE FEEDER                       $        21.14                        32   $         676.48
Mass. Warehouse         Wild Bird                  10225486     CB HUMBIRD ORG NECTAR CNC 32OZ                      $         4.88                        36   $         175.68
Mass. Warehouse         Wild Bird                  10205180     WD SPECIAL FINCH FOOD 20LB                          $        44.15                        50   $       2,207.50
Mass. Warehouse         Wild Bird                  10225896     AGWAY SUET BASKET W/CHAIN SMALL                     $         3.39                        72   $         244.08
Mass. Warehouse         Wild Bird                  06613019     WS DWDRP HUMINGBRD FEEDER 32OZ                      $         4.95                        83   $         410.85
Mass. Warehouse         Wild Bird                  10202084     FF WHITE MILLET BIRD FOOD 50LB                      $        39.51                        85   $       3,358.35
Mass. Warehouse         Wild Bird                  10222116     AB SQUIRREL-RESIST TUBE FEEDER                      $        13.71                        86   $       1,179.06
Mass. Warehouse         Wild Bird                  10216469     PP PINCH-WAIST HUMBIRD FEEDER                       $        13.38                        87   $       1,164.06
Mass. Warehouse         Wild Bird                  10225892     AGWAY FINCH TUBE BIRD FEEDER .4LB                   $        20.95                        88   $       1,843.60
Mass. Warehouse         Wild Bird                  10225897     AGWAY PLS TB SFLW BRD FEEDR .33LB                   $         8.49                        88   $         747.12
Mass. Warehouse         Wild Bird                  10212866     CB DIAMND HUMNGBRD FEEDER 30OZ                      $        18.64                        92   $       1,714.88
Mass. Warehouse         Wild Bird                  10225895     AGWAY SUET BASKET W/HANGER LARGE                    $         2.77                        92   $         254.84
Mass. Warehouse         Wild Bird                  10221049     AB PREM TRL MX BRD FOOD 4.75LB                      $         7.51                        96   $         720.96
Mass. Warehouse         Wild Bird                  10202119     FF PEANUTS SQUIRREL TREAT 50LB                      $        97.55                        98   $       9,559.90
Mass. Warehouse         Wild Bird                  10204981     WD GOURMET WILD BIRD FOOD 20LB                      $        19.28                       121   $       2,332.88
Mass. Warehouse         Wild Bird                  10204996     WD DOVE AND QUAIL FOOD 10LB                         $         9.46                       122   $       1,154.12
Mass. Warehouse         Wild Bird                  10225482     CB HUMBIRD RED NECTAR CNC 32OZ                      $         4.69                       126   $         590.94
Mass. Warehouse         Wild Bird                  10225489     CB HUMBIRD CLR NECTAR CNC 32OZ                      $         4.50                       126   $         567.00
Mass. Warehouse         Wild Bird                  10222255     AP FEEDERS SELECT WB FOOD 40LB                      $        31.12                       132   $       4,107.84
Mass. Warehouse         Wild Bird                  10221045     AB NUT/FRT BLEND BIRD FOOD 5LB                      $         6.89                       140   $         964.60
Mass. Warehouse         Wild Bird                  10221769     AB WLD FNCH BLND BIRD FOOD 5LB                      $         7.08                       140   $         991.20
Mass. Warehouse         Wild Bird                  10224036     AGWAY MEALWORM SUET 11OZ                            $         1.40                       144   $         201.60
Mass. Warehouse         Wild Bird                  10225695     WD GOLDEN FINCH FOOD 5LB                            $        10.40                       161   $       1,674.40
Mass. Warehouse         Wild Bird                  10225890     AGWAY 2 SEED BIRD FEEDER 2LB                        $        24.01                       171   $       4,105.71
Mass. Warehouse         Wild Bird                  06696541     C&S EZ FILL SUET BASKET GREEN                       $         2.44                       208   $         507.52
Mass. Warehouse         Wild Bird                  10221768     AB PREM BLND WLD BIRD FOOD 5LB                      $         5.84                       256   $       1,495.04
Mass. Warehouse         Wild Bird                  06617760     C&S HIGH ENERGY SUET 11.75OZ                        $         1.77                       264   $         467.28
Mass. Warehouse         Wild Bird                  10225891     AGWAY SLVR TUBE BIRD FEEDER 1.6LB                   $        26.28                       268   $       7,043.04
Mass. Warehouse         Wild Bird                  10225893     AGWAY GLS HUMGBRD FEEDER RED 27OZ                   $        17.32                       273   $       4,728.36
Mass. Warehouse         Wild Bird                  10225884     AGWAY MTL TB CLS BRD FEEDR 2.25LB                   $        27.97                       275   $       7,691.75
Mass. Warehouse         Wild Bird                  10225885     AGWAY B/M CGE TBE BRD FEEDR 1.3LB                   $        24.92                       277   $       6,902.84
Mass. Warehouse         Wild Bird                  10225886     AGWAY MTL CGE TBE BRD FEEDR .8LB                    $        19.25                       287   $       5,524.75
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                                                                                                             Wholesale Price   Units Included in APA     Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                          per Unit          as of 7/21/2022           Value

Mass. Warehouse         Wild Bird            10225887     AGWAY GLS HUMBIRD FEEDER RED 45OZ                   $       20.61                        288   $       5,935.68
Mass. Warehouse         Wild Bird            10205177     WD OUTDOOR FINCH FOOD 5LB                           $        8.29                        292   $       2,420.68
Mass. Warehouse         Wild Bird            10225883     AGWAY MTL CGE TB BIRD FEEDER 1LB                    $       30.58                        300   $       9,174.00
Mass. Warehouse         Wild Bird            10225888     AGWAY GLS HUMGBRD FEEDER CLR 16OZ                   $       19.02                        304   $       5,782.08
Mass. Warehouse         Wild Bird            10225889     AGWAY MTL CGE TBE BRD FEEDER .5LB                   $       22.65                        316   $       7,157.40
Mass. Warehouse         Wild Bird            06656491     CS SD TREAT SUET BIRD FD 11OZ                       $        1.23                        336   $         413.28
Mass. Warehouse         Wild Bird            10225898     AGWAY CAGE TUBE BIRD FEEDER L 1LB                   $       13.59                        418   $       5,680.62
Mass. Warehouse         Wild Bird            10221055     AB PNUT WLD BRD/CRTTR FOOD 3                        $        5.73                        504   $       2,887.92
Mass. Warehouse         Wild Bird            06656490     CS SD SUET DGH BIRD FD 11OZ                         $        1.09                        624   $         680.16
Mass. Warehouse         Wild Bird            06617770     C&S HOT PEP SUET DOUGH 11.75OZ                      $        2.67                        960   $       2,563.20
Mass. Warehouse         Wild Bird            06656493     CS ORG TREAT SUET BIRD FD 11OZ                      $        1.26                      1,152   $       1,451.52
Mass. Warehouse         Wild Bird            10224033     AGWAY ORANGE ZEST SUET 11OZ                         $        1.02                      1,836   $       1,872.72
Mass. Warehouse         Wild Bird            06604305     HEATH BLUEBERY DOUGH SUET CAKE                      $        1.73                      2,196   $       3,799.08
Mass. Warehouse         Wild Bird            10221041     AB CARDINAL BLEND BRD FOOD 4LB                      $        5.62                      2,340   $      13,150.80
Mass. Warehouse         Wild Bird            10224095     CHIRP A/S WILD BIRD FOOD 30LB                       $       16.96                      2,970   $      50,371.20
Mass. Warehouse         Wild Bird            10204989     WD NUT N BERRY BIRD FOOD 20LB                       $       24.91                      4,377   $     109,031.07
Mass. Warehouse         Wild Bird            10224031     AGWAY SWEET BERRY SUET 11OZ                         $        1.02                      7,896   $       8,053.92
Mass. Warehouse         Wild Bird            10224030     AGWAY PEANUT BLEND SUET 11OZ                        $        1.02                     12,768   $      13,023.36
Virginia Warehouse      Agricultural         06642210     LG CALF BOTTLE W/SNAP CAP 3QT                       $        7.08                          1   $           7.08
Virginia Warehouse      Agricultural         08102498     GAL XL ALUM WIRE 14GA 2640FT                        $      113.96                          1   $         113.96
Virginia Warehouse      Agricultural         10002033     A1200 EQUIFOUNT WL MNT WATERER                      $      182.31                          1   $         182.31
Virginia Warehouse      Agricultural         10002035     A2800 LIL SPR EQN WATERER 4GL                       $      262.65                          1   $         262.65
Virginia Warehouse      Agricultural         10003035     TTR WATER TANK STAND LARGE                          $       99.55                          1   $          99.55
Virginia Warehouse      Agricultural         10030629     LG DFLX FOAL FEEDER BLU 9QT                         $       43.69                          1   $          43.69
Virginia Warehouse      Agricultural         08101729     OK 2X4X24X100 12.5 WELDED WIRE                      $       47.69                          2   $          95.38
Virginia Warehouse      Agricultural         10000668     MM RND CAP F/PPF WATER BLK 4IN                      $        7.37                          2   $          14.74
Virginia Warehouse      Agricultural         10001938     FI 2N1 CONVERTIBLE TANK DEICER                      $       42.02                          2   $          84.04
Virginia Warehouse      Agricultural         10025255     FI FLAT-BACK BUCKET HEATED                          $       44.98                          2   $          89.96
Virginia Warehouse      Agricultural         10030517     LG DF RUBBER FEED PAN 2QT                           $        5.06                          2   $          10.12
Virginia Warehouse      Agricultural         10502650     TRP SS HANGER F/6 BOW RAKES                         $       13.73                          2   $          27.46
Virginia Warehouse      Agricultural         07003663     PC CNSTR FILM 10X100 6M BLK                         $       50.50                          3   $         151.50
Virginia Warehouse      Agricultural         08102385     GAL TURBO EQU BRAID WH 1312FT                       $      147.41                          3   $         442.23
Virginia Warehouse      Agricultural         08102397     GAL UNDRGRND CABLE 12.5GA 65FT                      $       28.51                          3   $          85.53
Virginia Warehouse      Agricultural         08103068     GAL FENCE B10 BATTERY ENERGIZR                      $       72.75                          3   $         218.25
Virginia Warehouse      Agricultural         08104412     GAL BATTERY BACKUP CHARGER 12V                      $       92.61                          3   $         277.83
Virginia Warehouse      Agricultural         08104850     GAL S6 LIT SOLAR FNC ENERGIZER                      $       84.05                          3   $         252.15
Virginia Warehouse      Agricultural         08105664     50FT 4X2 36IN 12 1/2GA WLD MSH                      $       51.72                          3   $         155.16
Virginia Warehouse      Agricultural         08125391     DR BW FNCE INSULATOR W/N PK/25                      $        2.62                          3   $           7.86
Virginia Warehouse      Agricultural         10003331     LG GOATSKIN GLOVES/VENT SLV LG                      $       13.44                          3   $          40.32
Virginia Warehouse      Agricultural         10004556     LG PLSTC BUCKET WATERER 1.5GL                       $       20.74                          3   $          62.22
Virginia Warehouse      Agricultural         10004560     LG TRP GLV NESTNG BX/PLST BSKT                      $       84.04                          3   $         252.12
Virginia Warehouse      Agricultural         10025217     FI FLOATING DE-ICER 1500W                           $       26.82                          3   $          80.46
Virginia Warehouse      Agricultural         10070155     LG DF CORNER FEEDER GREEN 26QT                      $       20.16                          3   $          60.48
Virginia Warehouse      Agricultural         07003644     PC CNSTR FILM 20X100 4M BLK                         $       67.33                          4   $         269.32
Virginia Warehouse      Agricultural         07003645     PC CNSTR FILM 24X100 4M BLK                         $       80.79                          4   $         323.16
Virginia Warehouse      Agricultural         07003671     PC CNSTR FILM 40X100 6M BLK                         $      222.16                          4   $         888.64
Virginia Warehouse      Agricultural         08103829     DP ELECTRIC FENCER 1/2 JOULE                        $       92.40                          4   $         369.60
Virginia Warehouse      Agricultural         10003775     GC DIRECT BURIAL LOW VOLT WIRE                      $       45.23                          4   $         180.92
Virginia Warehouse      Agricultural         10024586     BEH WATERER CATTLE ENRGY FR 2H                      $      581.54                          4   $       2,326.16
Virginia Warehouse      Agricultural         10030625     LG DFLX ROUND FEEDER RED 8GAL                       $       20.69                          4   $          82.76
Virginia Warehouse      Agricultural         07003640     PC CNSTR FILM 10X100 4M BLK                         $       34.01                          5   $         170.05
Virginia Warehouse      Agricultural         08102524     GAL WIRE TIGHTENER HANDLE                           $       13.17                          5   $          65.85
Virginia Warehouse      Agricultural         08104874     DEL LI-ION BATTERY                                  $      149.04                          5   $         745.20
Virginia Warehouse      Agricultural         08105665     50FT 4X2 48IN 12 1/2GA WLD MSH                      $       68.94                          5   $         344.70
Virginia Warehouse      Agricultural         08111604     MT FIELD FENCE 939-6-14 330FT                       $      163.56                          5   $         817.80
Virginia Warehouse      Agricultural         10003763     GC 5 BUTTON PREM TRANSMITTER                        $       28.72                          5   $         143.60
Virginia Warehouse      Agricultural         10003765     GC PREMIUM WIRELESS KEYPAD                          $       50.49                          5   $         252.45
Virginia Warehouse      Agricultural         10003771     GC 7AH BATTERY 12V                                  $       24.87                          5   $         124.35
Virginia Warehouse      Agricultural         06635042     MILLER CALF BOTTLE HOLDER                           $        5.82                          6   $          34.92
Virginia Warehouse      Agricultural         07003630     PC CNSTR FILM 16X100 4M CLR                         $       53.86                          6   $         323.16
Virginia Warehouse      Agricultural         07005315     DO NOT USE - PC PALLET COVERS 1.5 MIL               $      176.01                          6   $       1,056.06
Virginia Warehouse      Agricultural         08104016     GZ HARDWARE CLOTH 1/2X24X100FT                      $       92.18                          6   $         553.08
Virginia Warehouse      Agricultural         10003768     GC SOLAR PANEL WITH DIODE 10W                       $       84.56                          6   $         507.36
Virginia Warehouse      Agricultural         10003777     GC ZOMBIELOCK GATE LOCK                             $      158.31                          6   $         949.86
Virginia Warehouse      Agricultural         10003780     GC WIRED PUSH BUTTON                                $        7.71                          6   $          46.26
Virginia Warehouse      Agricultural         10003959     MLR COLD KNIFE                                      $       19.98                          6   $         119.88
Virginia Warehouse      Agricultural         10004177     GC AUTOMATIC COOP DOOR OPENER                       $      242.06                          6   $       1,452.36
Virginia Warehouse      Agricultural         10024301     BEH INSLTD STALL WATERER 5GAL                       $      140.14                          6   $         840.84
Virginia Warehouse      Agricultural         10025967     BEH STORAGE CONTAINER 25X25X34                      $      230.14                          6   $       1,380.84
Virginia Warehouse      Agricultural         08103765     GAL S40 ENERGIZER 80-ACRES                          $      250.77                          7   $       1,755.39
Virginia Warehouse      Agricultural         08103954     OP POST EARTH ANCHOR 1/2X3X15                       $        4.60                          7   $          32.20
Virginia Warehouse      Agricultural         10000694     BEH CORNER HAY RACK BLACK                           $       86.84                          7   $         607.88
Virginia Warehouse      Agricultural         10011995     LG DF PLST UTILITY PAN GRN 5QT                      $        3.36                          7   $          23.52
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                                                                                                                 Wholesale Price   Units Included in APA        Extended Wholesale
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Virginia Warehouse      Agricultural         07003666     PC CNSTR FILM 16X100 6M BLK                             $       80.79                             8   $         646.32
Virginia Warehouse      Agricultural         08113933     GZ WELD MESH FNC GLV 2X3X48X50                          $       38.02                             8   $         304.16
Virginia Warehouse      Agricultural         10001965     FI PLST HEATD FLTBCK BUCKET 3G                          $       33.58                             8   $         268.64
Virginia Warehouse      Agricultural         10003034     TTR WATER TANK STAND                                    $       87.64                             8   $         701.12
Virginia Warehouse      Agricultural         10003448     FI CIRCULATED AIR INCUBATOR                             $       85.82                             8   $         686.56
Virginia Warehouse      Agricultural         10004566     LG AUTO PLST TROUGH WATERER KT                          $       38.34                             8   $         306.72
Virginia Warehouse      Agricultural         10024587     BEH WATERER CATTLE ENRGY FR 4H                          $      724.45                             8   $       5,795.60
Virginia Warehouse      Agricultural         10025216     FI ALUM BUCKET DE-ICER 250W                             $       41.91                             8   $         335.28
Virginia Warehouse      Agricultural         07003669     PC CNSTR FILM 28X100 6M BLK                             $      141.38                             9   $       1,272.42
Virginia Warehouse      Agricultural         08100836     DP HD CORNER INSULATOR BG/10                            $        8.10                             9   $          72.90
Virginia Warehouse      Agricultural         10000693     BEH WALL HAY RACK                                       $       88.90                             9   $         800.10
Virginia Warehouse      Agricultural         10003377     LG PLASTIC BUCKET 5GAL                                  $       16.90                             9   $         152.10
Virginia Warehouse      Agricultural         10502646     TRP SS HANGER F/LNG SHVL/FORK                           $       15.89                             9   $         143.01
Virginia Warehouse      Agricultural         90100309     BEKAERT KNURLED STAPLE 1 1/4IN GALV 50LB BUCKET         $       83.57                             9   $         752.13
Virginia Warehouse      Agricultural         07002648     SiloForm SILAGE SHEET 40' X 100' 5mil BLACK/WHITE       $      281.21                            10   $       2,812.10
Virginia Warehouse      Agricultural         07003656     PC CNSTR FILM 20X100 6M CLR                             $      100.99                            10   $       1,009.90
Virginia Warehouse      Agricultural         08102414     GAL T-POST INSLTR WHT 5IN 20PK                          $       10.40                            10   $         104.00
Virginia Warehouse      Agricultural         08103919     GAL M360 ENERGIZER 250 ACRES                            $      153.35                            10   $       1,533.50
Virginia Warehouse      Agricultural         08113333     DP POST TOPR INSULATOR BG/10                            $        5.92                            10   $          59.20
Virginia Warehouse      Agricultural         10003591     SSC ROUND POLY TANK 350GAL                              $      324.18                            10   $       3,241.80
Virginia Warehouse      Agricultural         10004564     LG GLV TROUGH FDR W/GRATE 20IN                          $       11.90                            10   $         119.00
Virginia Warehouse      Agricultural         10025266     BEH LIQUID MINERAL FEEDER                               $      419.53                            10   $       4,195.30
Virginia Warehouse      Agricultural         10701680     CHAP ATV BMLS SGL NZ KIT 16FT                           $      113.72                            10   $       1,137.20
Virginia Warehouse      Agricultural         08102519     DP 2 SLOT CRIMPING TOOL F/SLV                           $       26.45                            11   $         290.95
Virginia Warehouse      Agricultural         08103793     GAL REPL BATTERY FOR S40 6V                             $       27.13                            11   $         298.43
Virginia Warehouse      Agricultural         10003386     LG STAINLS STL HONEY STRAINER                           $       40.92                            11   $         450.12
Virginia Warehouse      Agricultural         08102406     GAL ULTRA WHITE SPRING GATE                             $       22.08                            12   $         264.96
Virginia Warehouse      Agricultural         10004198     LG DEEP BSE POULTRY WATERER 3G                          $       19.43                            12   $         233.16
Virginia Warehouse      Agricultural         10502653     TRP HOOK FOR D-HANDLE TOOLS                             $        6.38                            12   $          76.56
Virginia Warehouse      Agricultural         07002649     SiloForm SILAGE SHEET 50' X 100' 5mil BLACK/WHITE       $      354.78                            13   $       4,612.14
Virginia Warehouse      Agricultural         10000602     FI HEATED ROUND BUCKET 2GAL                             $       34.10                            13   $         443.30
Virginia Warehouse      Agricultural         08102407     GAL BUNGEE GATE 11 1/2 - 23FT                           $       22.37                            14   $         313.18
Virginia Warehouse      Agricultural         08104029     GZ HEX NETTING 1INX72INX150FT                           $      146.77                            14   $       2,054.78
Virginia Warehouse      Agricultural         10002814     LITTLE GIANT POULTRY KIT DS/96                          $      270.22                            14   $       3,783.08
Virginia Warehouse      Agricultural         10003566     FI HEATED CHICKEN MAT                                   $       44.29                            14   $         620.06
Virginia Warehouse      Agricultural         10012008     RUBBERMAID STOCK TANK FLOAT VALVE                       $       24.58                            14   $         344.12
Virginia Warehouse      Agricultural         06635045     LG REPLACEMENT SCREW-ON CAP                             $        0.90                            15   $          13.50
Virginia Warehouse      Agricultural         07003664     PC CNSTR FILM 12X100 6M BLK                             $       60.60                            15   $         909.00
Virginia Warehouse      Agricultural         08103921     GAL M800 ENERGIZER 520 ACRES                            $      279.08                            15   $       4,186.20
Virginia Warehouse      Agricultural         10003767     GC OUTDOOR MOUNTING PEDESTAL                            $       32.69                            15   $         490.35
Virginia Warehouse      Agricultural         10003781     GC BATTERY BOX KIT/2 AXBT INCL                          $       81.46                            15   $       1,221.90
Virginia Warehouse      Agricultural         08104024     GZ HEX NETTING 1INX24INX150FT                           $       47.46                            17   $         806.82
Virginia Warehouse      Agricultural         10003760     GC SINGLE GATE OPENER KIT                               $      389.13                            17   $       6,615.21
Virginia Warehouse      Agricultural         10003783     SL CORRAL SHELTER 12X12FT                               $      363.66                            17   $       6,182.22
Virginia Warehouse      Agricultural         07003667     PC CNSTR FILM 20X100 6M BLK                             $      100.99                            18   $       1,817.82
Virginia Warehouse      Agricultural         08100833     DP BUNGEE STYLE GATE                                    $       20.82                            18   $         374.76
Virginia Warehouse      Agricultural         08102870     GAL POWER FENCE LEAD                                    $       15.44                            19   $         293.36
Virginia Warehouse      Agricultural         08103838     DP BATTERY/DS20 SOLAR FENCR 6V                          $       14.87                            19   $         282.53
Virginia Warehouse      Agricultural         10005790     GC SOLAR PANEL 30 WATT                                  $      135.85                            19   $       2,581.15
Virginia Warehouse      Agricultural         08102356     GAL JOINT CLAMP L SHAPE 10PK                            $       10.00                            20   $         200.00
Virginia Warehouse      Agricultural         08104719     GRIPPLE T CLIP JAR 30CT                                 $       29.21                            20   $         584.20
Virginia Warehouse      Agricultural         10003971     FI CHICKEN WATERER DEICER                               $       37.27                            20   $         745.40
Virginia Warehouse      Agricultural         08104034     GZ HEX NETTING 2INX48INX150FT                           $       46.51                            21   $         976.71
Virginia Warehouse      Agricultural         08103562     GAL POWER PTROL S10 BATTERY 6V                          $       12.76                            22   $         280.72
Virginia Warehouse      Agricultural         10014472     TTR OVL MEGA STOCK TANK 300GAL                          $      417.07                            22   $       9,175.54
Virginia Warehouse      Agricultural         08103687     GAL M160 ENERGIZER 60-100 ACRE                          $      110.78                            23   $       2,547.94
Virginia Warehouse      Agricultural         07003668     PC CNSTR FILM 24X100 6M BLK                             $      121.19                            24   $       2,908.56
Virginia Warehouse      Agricultural         08104406     GAL B60 ENERGIZER 60 ACRES                              $      113.16                            24   $       2,715.84
Virginia Warehouse      Agricultural         10004195     LG PLASTIC DOME FEEDER 60LB                             $       66.91                            24   $       1,605.84
Virginia Warehouse      Agricultural         10005740     WARE RUSTIC BARN CHICKEN COOP                           $      435.20                            24   $      10,444.80
Virginia Warehouse      Agricultural         10005792     FI PET BED WARMER                                       $       30.03                            24   $         720.72
Virginia Warehouse      Agricultural         08102388     GAL POLY TAPE 1/2IN ORG 656FT                           $       23.17                            25   $         579.25
Virginia Warehouse      Agricultural         07001100     DO NOT USE - ACME HD BAG BRN 8LB BDL/400                $       43.46                            26   $       1,129.96
Virginia Warehouse      Agricultural         08104019     GZ HARDWARE CLOTH 1/2X36X25FT                           $       34.19                            26   $         888.94
Virginia Warehouse      Agricultural         08102420     GAL SCR-ON ROD INSLTR WH PK25                           $       10.79                            28   $         302.12
Virginia Warehouse      Agricultural         08102461     GAL EQUIFENCE WHITE 1000FT                              $      207.90                            28   $       5,821.20
Virginia Warehouse      Agricultural         08103686     GAL M120 ENERGIZER 30-60 ACRES                          $       83.06                            28   $       2,325.68
Virginia Warehouse      Agricultural         10002617     FI HEATED TUB 200W 16GAL                                $       63.98                            28   $       1,791.44
Virginia Warehouse      Agricultural         10012074     RUBBERMAID STOCK TANK DRAIN PLUG KIT                    $       24.10                            28   $         674.80
Virginia Warehouse      Agricultural         08111920     FR FIELD FENCE C1 1047-6-12.5                           $      238.94                            29   $       6,929.26
Virginia Warehouse      Agricultural         08114922     GZ CAGE WIRE 14G 1X2X36INX25FT                          $       37.71                            29   $       1,093.59
Virginia Warehouse      Agricultural         10005787     GC WIRELESS VEHICLE SENSOR                              $      135.55                            29   $       3,930.95
Virginia Warehouse      Agricultural         10025256     FI FLOATING POND DE-ICER                                $       40.44                            29   $       1,172.76
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                                                                                                                 Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                              per Unit          as of 7/21/2022               Value

Virginia Warehouse      Agricultural         08102548     GAL RPL BATTERY 5AMP 12V F/S20                          $       29.11                             30   $         873.30
Virginia Warehouse      Agricultural         10025215     FI ECON FLOATING DE-ICER 1000W                          $       25.98                             31   $         805.38
Virginia Warehouse      Agricultural         10028201     TTR GRND LVL 150 MINERL FEEDER                          $      241.47                             31   $       7,485.57
Virginia Warehouse      Agricultural         08104602     GAL RING TOP OFFSET 6 3/4 PK/5                          $       10.20                             32   $         326.40
Virginia Warehouse      Agricultural         08102355     GAL FENCE CLIP-ON WARNING SIGN                          $        2.87                             33   $          94.71
Virginia Warehouse      Agricultural         07500311     BC SISAL TWINE S/B GOLD 10M                             $       59.18                             34   $       2,012.12
Virginia Warehouse      Agricultural         08103563     GAL FENCE AND EARTH LEADSET                             $        9.69                             34   $         329.46
Virginia Warehouse      Agricultural         08101407     GZ GARD N FENCE GRN 16G 36X50                           $       39.77                             35   $       1,391.95
Virginia Warehouse      Agricultural         08103855     OP 2IN HEX NETTING 24IN X 50FT                          $        9.50                             35   $         332.50
Virginia Warehouse      Agricultural         07500320     BC SISAL TWINE GOLD 7.2M                                $       59.18                             36   $       2,130.48
Virginia Warehouse      Agricultural         07002647     SiloForm SILAGE SHEET 32' X 100' 5mil BLACK/WHITE       $      224.11                             37   $       8,292.07
Virginia Warehouse      Agricultural         06671927     WARE CHATEAU CHICKEN COOP                               $      362.17                             38   $      13,762.46
Virginia Warehouse      Agricultural         08104717     GRIPPLE PLUS MEDIUM JAR 30CT                            $       29.21                             38   $       1,109.98
Virginia Warehouse      Agricultural         10027000     LG DF RUBBER FEED PAN 3GAL                              $        9.89                             39   $         385.71
Virginia Warehouse      Agricultural         10030616     LG DF FLAT BACK BUCKET BL 20QT                          $        8.99                             40   $         359.60
Virginia Warehouse      Agricultural         08102437     GAL PRCLN INSULTR WHT 1.5 PK10                          $        5.05                             43   $         217.15
Virginia Warehouse      Agricultural         08105667     OK GLV WLD MESH 14G 4X2X36 100                          $       74.07                             43   $       3,185.01
Virginia Warehouse      Agricultural         08103566     DARE WD POST INSULATOR YL BG15                          $        4.68                             44   $         205.92
Virginia Warehouse      Agricultural         08104851     GAL S12 LIT SOLAR FNC ENERGIZR                          $      106.82                             44   $       4,700.08
Virginia Warehouse      Agricultural         08103858     OP WELD WIRE 1X2X36INX25FT 14G                          $       61.01                             45   $       2,745.45
Virginia Warehouse      Agricultural         08102509     GAL INSUL-GRIP                                          $        1.44                             46   $          66.24
Virginia Warehouse      Agricultural         06650069     HILLS 3 HOG RINGS BX/100                                $        3.45                             47   $         162.15
Virginia Warehouse      Agricultural         07500284     BC BALER TWINE D/B OR 9.6M/170                          $       47.42                             49   $       2,323.58
Virginia Warehouse      Agricultural         08102468     GAL ONE-HAND GATE LATCH 14IN                            $       10.30                             49   $         504.70
Virginia Warehouse      Agricultural         08104030     GZ HEX NETTING 1INX72INX50FT                            $       41.27                             50   $       2,063.50
Virginia Warehouse      Agricultural         06611278     MLR FLAT BACK BUCKET GRN 8QT                            $        5.74                             53   $         304.22
Virginia Warehouse      Agricultural         08112847     GZ HRDW CLOTH 19G 1/2X1/2X24X5                          $        4.45                             53   $         235.85
Virginia Warehouse      Agricultural         10004193     LG PLASTIC DOME FEEDER 45LB                             $       62.75                             57   $       3,576.75
Virginia Warehouse      Agricultural         10030805     LG DURAFLEX PLSTC PAIL BRG 8QT                          $        5.39                             59   $         318.01
Virginia Warehouse      Agricultural         08102450     GAL PNLK WP INSULATOR BLK PK25                          $       10.00                             60   $         600.00
Virginia Warehouse      Agricultural         10003972     FI HEATED POULTRY DRINKER 2GAL                          $       37.93                             62   $       2,351.66
Virginia Warehouse      Agricultural         08103253     GAL CUT-OUT SWITCH ORANGE                               $        7.99                             63   $         503.37
Virginia Warehouse      Agricultural         08105375     GZ HEX NETTING 20GA 1X24X50FT                           $       21.92                             65   $       1,424.80
Virginia Warehouse      Agricultural         10012031     RUBBERMAID 150 GALLON STOCK TANK                        $      163.42                             68   $      11,112.56
Virginia Warehouse      Agricultural         10004191     LG PLASTIC DOME FEEDER 35LB                             $       59.86                             69   $       4,130.34
Virginia Warehouse      Agricultural         08103849     OP HRDWR CLOTH 1/2INX36INX10FT                          $       15.63                             71   $       1,109.73
Virginia Warehouse      Agricultural         10030807     LG DURAFLEX PLSTC PAIL PRP 8QT                          $        5.39                             72   $         388.08
Virginia Warehouse      Agricultural         08104025     GZ HEX NETTING 1INX36INX150FT                           $       68.77                             74   $       5,088.98
Virginia Warehouse      Agricultural         06611279     MLR FLAT BACK BUCKET NAVY 8QT                           $        5.74                             82   $         470.68
Virginia Warehouse      Agricultural         07001095     DO NOT USE - ACME HD PAPER BAG 6LB BNDLE 50             $       34.11                             82   $       2,797.02
Virginia Warehouse      Agricultural         10012004     LG DF PLASTIC BUCKET WHITE 8QT                          $        5.39                             86   $         463.54
Virginia Warehouse      Agricultural         08105374     GZ HEX NETTING 1X24X25 GRN                              $       21.05                             87   $       1,831.35
Virginia Warehouse      Agricultural         10014468     TTR OVL ULTRA STOCK TANK 170GL                          $      226.10                             87   $      19,670.70
Virginia Warehouse      Agricultural         10025308     FI HEATED FLAT BACK BUCKET 5GL                          $       35.58                             88   $       3,131.04
Virginia Warehouse      Agricultural         10004189     MLR DT POULTRY FEEDER/LEG 35LB                          $       32.16                             90   $       2,894.40
Virginia Warehouse      Agricultural         08111463     DP SPLICING SLEEVE 12.5G PK100                          $        9.70                             99   $         960.30
Virginia Warehouse      Agricultural         07014694     AGWAY AGRI HAY COVER 15FTX30FT                          $       62.41                            103   $       6,428.23
Virginia Warehouse      Agricultural         08104017     GZ HARDWARE CLOTH 1/2X24X25FT                           $       21.26                            108   $       2,296.08
Virginia Warehouse      Agricultural         10030702     LG PLASTC POULTRY FEEDER 22LB                           $       23.63                            108   $       2,552.04
Virginia Warehouse      Agricultural         08103854     OP 1IN HEX NETTING 48IN X 50FT                          $       36.05                            110   $       3,965.50
Virginia Warehouse      Agricultural         08111448     DP INSULATOR TUBING 50FT                                $        6.17                            110   $         678.70
Virginia Warehouse      Agricultural         10004185     MLR DT POULTRY FEEDER/LEG 17.5                          $       18.91                            120   $       2,269.20
Virginia Warehouse      Agricultural         08102453     GAL ECONO GATE HANDLE WHITE                             $        1.98                            123   $         243.54
Virginia Warehouse      Agricultural         10025221     FI SUBMERGIBL DE-ICER 1500W                             $       35.79                            123   $       4,402.17
Virginia Warehouse      Agricultural         10030806     LG DURAFLEX PLSTC PAIL NVY 8QT                          $        5.39                            123   $         662.97
Virginia Warehouse      Agricultural         10105529     TTR FIRE RING F/CAMP FIRES                              $       71.02                            123   $       8,735.46
Virginia Warehouse      Agricultural         08102444     GAL MLT-PRP INSULATOR BLK PK20                          $        9.21                            124   $       1,142.04
Virginia Warehouse      Agricultural         10012013     RUBBERMAID 50 GALLON STOCK TANK W/O PLUG                $       86.00                            125   $      10,750.00
Virginia Warehouse      Agricultural         07001110     DO NOT USE - ACME HD BAG BRN 3LB BDL/500                $       17.91                            128   $       2,292.48
Virginia Warehouse      Agricultural         08100228     DP TUBE PST INSULATOR 4IN BG50                          $        5.90                            128   $         755.20
Virginia Warehouse      Agricultural         10025257     FI UNV DRAIN PLUG DEICER 1500W                          $       41.28                            130   $       5,366.40
Virginia Warehouse      Agricultural         07014695     AGWAY AGRI HAY COVER 25FTX33FT                          $      108.57                            134   $      14,548.38
Virginia Warehouse      Agricultural         10014466     TTR OVL ULTRA STOCK TANK 100GL                          $      157.75                            135   $      21,296.25
Virginia Warehouse      Agricultural         08103852     GZ 1IN HEX NETTING 36IN X 50FT                          $       26.02                            136   $       3,538.72
Virginia Warehouse      Agricultural         07500276     BC BALER TWINE S/B OR 7.2M/170                          $       35.56                            141   $       5,013.96
Virginia Warehouse      Agricultural         08104720     BK DBL BRB STAPLES 1.50IN 75CT                          $        6.04                            151   $         912.04
Virginia Warehouse      Agricultural         07004858     DO NOT USE - SSC PAPER BAG 25LB BD/50                   $       75.91                            153   $      11,614.23
Virginia Warehouse      Agricultural         08103848     OP HARDWR CLOTH 1/2INX36INX5FT                          $        7.94                            153   $       1,214.82
Virginia Warehouse      Agricultural         08103853     OP 1IN HEX NETTING 48IN X 25FT                          $       22.90                            153   $       3,503.70
Virginia Warehouse      Agricultural         08104696     DP ELECTRIC FENCE WARNING SIGN                          $        1.88                            161   $         302.68
Virginia Warehouse      Agricultural         10025214     FI PREM ALUM SUB DE-ICER 1500W                          $       49.56                            161   $       7,979.16
Virginia Warehouse      Agricultural         05100032     DO NOT USE - 20IN X 9000FT SHRINK WRAP                  $       83.07                            168   $      13,955.76
Virginia Warehouse      Agricultural         10026705     MM PLTRY FOUNTAIN WATERER 5GAL                          $       29.38                            180   $       5,288.40
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                                                                                                             Wholesale Price   Units Included in APA     Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                          per Unit          as of 7/21/2022           Value

Virginia Warehouse      Agricultural         07500234     BC BALER TWINE D/B ORG 20M/110                      $       29.02                        183   $       5,310.66
Virginia Warehouse      Agricultural         10001469     FI HEATD BASE POULTRY FOUNTAIN                      $       35.37                        191   $       6,755.67
Virginia Warehouse      Agricultural         08105377     GZ HARDWRE CLOTH 19G 1/2X24X10                      $        8.67                        196   $       1,699.32
Virginia Warehouse      Agricultural         10000972     FI ALUMINUM UTILITY DE-ICER                         $       37.16                        209   $       7,766.44
Virginia Warehouse      Agricultural         10030697     LG DF PLASTIC PAIL GREEN 8QT                        $        5.39                        238   $       1,282.82
Virginia Warehouse      Agricultural         08104728     OPB LIGHT DUTY U POST 4FT                           $        3.10                        256   $         793.60
Virginia Warehouse      Agricultural         10004182     MLR DT POULTRY WATERER/LEGS 3Q                      $        6.24                        260   $       1,622.40
Virginia Warehouse      Agricultural         10025251     FI 1500 DRAIN PLUG DE-ICER 150                      $       40.96                        283   $      11,591.68
Virginia Warehouse      Agricultural         10025220     FI FLOATING DE-ICER 1250W                           $       33.16                        285   $       9,450.60
Virginia Warehouse      Agricultural         10004183     MLR DT POULTRY FEEDER/LEGS 8.5                      $       11.86                        295   $       3,498.70
Virginia Warehouse      Agricultural         10002014     MM MASON JAR WATERER BASE YLW                       $        1.48                        318   $         470.64
Virginia Warehouse      Agricultural         10001838     FI HEAT POULTRY FOUNTAIN 3GAL                       $       38.33                        348   $      13,338.84
Virginia Warehouse      Agricultural         10070153     LG DF PLASTIC BUCKET TEAL 8QT                       $        5.39                        350   $       1,886.50
Virginia Warehouse      Agricultural         10002012     MM MASON JAR WATERER BASE PUR                       $        1.48                        359   $         531.32
Virginia Warehouse      Agricultural         10004188     MLR DT POULTRY WATERER/LEG 2.5                      $       12.07                        381   $       4,598.67
Virginia Warehouse      Agricultural         10001984     ARGEE EZ OFF LID WHITE 5GAL                         $        2.00                        385   $         770.00
Virginia Warehouse      Agricultural         10030662     LG NESTING PLASTIC JAR 1GAL                         $        2.68                        429   $       1,149.72
Virginia Warehouse      Agricultural         10004201     MLR DT BEGINNER POULTRY KIT                         $       22.49                        437   $       9,828.13
Virginia Warehouse      Agricultural         08104727     OPB LIGHT DUTY U POST 3FT                           $        2.43                        582   $       1,414.26
Virginia Warehouse      Agricultural         10030701     LG PLASTC POULTRY FEEDER 11LB                       $       15.41                        641   $       9,877.81
Virginia Warehouse      Agricultural         10002807     LG PLTRY WATERER BASE LGN 1GAL                      $        2.64                        706   $       1,863.84
Virginia Warehouse      Agricultural         10030700     LG POULTRY FEEDER PLASTIC 3LB                       $        7.33                        724   $       5,306.92
Virginia Warehouse      Agricultural         10213419     DO NOT USE - SSC CHICK START KIT BOX INSERT         $        0.95                        802   $         761.90
Virginia Warehouse      Agricultural         08114924     OP LIGHT DUTY U-POST GREEN 4FT                      $        3.10                        890   $       2,759.00
Virginia Warehouse      Agricultural         10030664     LG SCREW ON WATERER JAR 1GAL                        $        2.50                      1,001   $       2,502.50
Virginia Warehouse      Agricultural         08114620     DO NOT USE - FI HEAVY DUTY U-POST GREEN 7FT         $        7.51                      1,350   $      10,138.50
Virginia Warehouse      Agricultural         10030669     LG SCREW ON WATERER JAR 1QT                         $        1.63                      2,262   $       3,687.06
Virginia Warehouse      Agricultural         10213417     DO NOT USE - SSC ECONOMY CHICK BOX                  $        1.63                      2,375   $       3,871.25
Virginia Warehouse      Agricultural         08100786     BK BARBED STAPLE 1 3/4IN 50LB                       $       88.00                      3,100   $     272,800.00
Virginia Warehouse      Agricultural         10001941     SS PLASTIC BUCKET WHT 5GAL                          $        4.90                      3,279   $      16,067.10
Virginia Warehouse      Agricultural         10003213     MM BROODER LAMP BULB CLR 250W                       $        3.74                      3,456   $      12,925.44
Virginia Warehouse      Agricultural         10003211     MLR BROODR LAMP W/CLAMP 10.5IN                      $       11.27                      4,069   $      45,857.63
Virginia Warehouse      Agricultural         10003212     MM BROODER LAMP BULB RED 250W                       $        5.99                      6,036   $      36,155.64
Virginia Warehouse      Animal Health        11401620     BABY CAKE POULTRY SUPPLMT 15OZ                      $        8.15                          1   $           8.15
Virginia Warehouse      Animal Health        11402190     LD FARRIERS FORMULA 11LB PAIL                       $       66.73                          4   $         266.92
Virginia Warehouse      Animal Health        11401175     COLOSTRUM SUPPLEMENT 16OZ                           $       17.29                          7   $         121.03
Virginia Warehouse      Animal Health        11443003     CUT-HEAL AEROSOL WOUND SPR 4OZ                      $       18.37                          7   $         128.59
Virginia Warehouse      Animal Health        11401900     MANNA PRO NURSEALL 3.5LB                            $       26.01                         12   $         312.12
Virginia Warehouse      Animal Health        11402505     MANNA CHICK STARTER NONMED 5LB                      $        5.21                         21   $         109.41
Virginia Warehouse      Animal Health        11400649     MANNA PRO CALF-MANNA 10LB                           $       13.98                         22   $         307.56
Virginia Warehouse      Animal Health        11450001     PELLET GOAT WORMER 25LB                             $       61.59                         23   $       1,416.57
Virginia Warehouse      Animal Health        11403073     REDMOND ROCK CRUSHED 5LB                            $       12.39                         35   $         433.65
Virginia Warehouse      Animal Health        11404051     MP CRACKED CORN/PURP CORN 10LB                      $       10.21                         50   $         510.50
Virginia Warehouse      Animal Health        11418640     50LB BAG STARTER GRIT                               $        9.37                         50   $         468.50
Virginia Warehouse      Animal Health        11403709     MP HEN HEALER MP OINTMENT 2OZ                       $        4.72                         53   $         250.16
Virginia Warehouse      Animal Health        11405689     DIATOMACEOUS EARTH 12LB                             $        8.68                         62   $         538.16
Virginia Warehouse      Animal Health        11403670     FRESH COOP ODOR CONTROL 20LB                        $       13.84                         68   $         941.12
Virginia Warehouse      Animal Health        11401331     GOAT TREATS LICORICE 6LB                            $        8.00                         70   $         560.00
Virginia Warehouse      Animal Health        11402995     FRSH FLAKE POULTRY BEDDNG 12LB                      $       12.58                         71   $         893.18
Virginia Warehouse      Animal Health        11403767     FRESH COOP DUST BATH 6LB JUG                        $       11.70                         77   $         900.90
Virginia Warehouse      Animal Health        11402998     MP SCRATCH GRAINS 10LB                              $        8.32                        122   $       1,015.04
Virginia Warehouse      Animal Health        11418650     50LB BAG GROWER GRIT                                $        9.37                        141   $       1,321.17
Virginia Warehouse      Animal Health        11405688     DIATOMACEOUS EARTH 30LB                             $       14.19                        147   $       2,085.93
Virginia Warehouse      Animal Health        11433333     BLOCK BLOAT GUARD 33.3LB                            $       28.60                        156   $       4,461.60
Virginia Warehouse      Animal Health        11403071     REDMOND ROCK 3LB                                    $        6.02                        160   $         963.20
Virginia Warehouse      Animal Health        11405690     DIATOMACEOUS POWDER 3LB                             $        8.06                        168   $       1,354.08
Virginia Warehouse      Animal Health        11404326     SWEET PDZ COOP REFRSHR GRAN 10                      $       13.17                        180   $       2,370.60
Virginia Warehouse      Animal Health        11405766     MP HYDRO-HEN 3N1 SUPPLEMNT 8OZ                      $        6.81                        201   $       1,368.81
Virginia Warehouse      Animal Health        11403032     DIATOMACEOUS EARTH 20LB                             $        8.11                        206   $       1,670.66
Virginia Warehouse      Animal Health        11403706     IVERMAX POUR ON 5 LTR                               $       67.36                        206   $      13,876.16
Virginia Warehouse      Animal Health        10210337     HENTASTIC PECK N MIX HERB 2LB                       $        4.36                        216   $         941.76
Virginia Warehouse      Animal Health        11405603     CALF MANNA PERF SUPPLEMNT 50LB                      $       45.09                        228   $      10,280.52
Virginia Warehouse      Animal Health        11422414     SAFE-GUARD BLOCK 25LB                               $       46.29                        443   $      20,506.47
Virginia Warehouse      Animal Health        11403029     DIATOMACEOUS EARTH 40LB                             $       11.54                        530   $       6,116.20
Virginia Warehouse      Lawn & Garden        02111720     WHITETAIL NO PLOW 5 LB                              $       16.57                          1   $          16.57
Virginia Warehouse      Lawn & Garden        06630592     DF PLASTIC DURAFORK BERRY BLUE                      $       12.02                          1   $          12.02
Virginia Warehouse      Lawn & Garden        10226097     MG WILDLIFE NETTING 14X14FT                         $        6.03                          1   $           6.03
Virginia Warehouse      Lawn & Garden        02103200     WHEAT COVER CROP 2000 LB                            $      401.19                          2   $         802.38
Virginia Warehouse      Lawn & Garden        10215123     REV MT HRDWRE F/FLY TAPE REEL                       $       24.00                          2   $          48.00
Virginia Warehouse      Lawn & Garden        10225333     BD KLEENUP HE W/G RTU GL DS/24                      $      298.37                          2   $         596.74
Virginia Warehouse      Lawn & Garden        10513550     LINK LEVL HEAD RAKE HANDLE 5FT                      $       12.91                          2   $          25.82
Virginia Warehouse      Lawn & Garden        11100052     SLAY 16 OZ                                          $      124.57                          2   $         249.14
Virginia Warehouse      Lawn & Garden        10219376     GLM HD BRIGHT COLOR CMBO DS150                      $    1,248.00                          3   $       3,744.00
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                                                                                                             Wholesale Price   Units Included in APA        Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                          per Unit          as of 7/21/2022              Value

Virginia Warehouse      Lawn & Garden        10502492     TRP POLY #12 SCOOP D-HANDLE                         $       11.57                             3   $           34.71
Virginia Warehouse      Lawn & Garden        10513660     LINK D-HANDLE SHOVEL 30IN                           $       16.57                             3   $           49.71
Virginia Warehouse      Lawn & Garden        10222194     ORTHO FIRE ANT KLR GRAN 11.5LB                      $       17.66                             4   $           70.64
Virginia Warehouse      Lawn & Garden        10224609     SPEC BUG STOP INDR FOGGER5 2OZ                      $       12.59                             4   $           50.36
Virginia Warehouse      Lawn & Garden        10212673     ES RAIN BARREL TERRACOTA 55GAL                      $      111.24                             5   $          556.20
Virginia Warehouse      Lawn & Garden        10213817     MEL THR-ARM REV SPRNKLR W/ WHL                      $       15.90                             5   $           79.50
Virginia Warehouse      Lawn & Garden        10511490     AMES POTATO HOOK 4 OVAL TINES                       $       37.55                             5   $          187.75
Virginia Warehouse      Lawn & Garden        10200328     SAFER INSECT KIL SOAP RTU 32OZ                      $        6.93                             6   $           41.58
Virginia Warehouse      Lawn & Garden        10211277     MTM MOLE KILLER EARTHWRM 12/PK                      $       18.70                             6   $          112.20
Virginia Warehouse      Lawn & Garden        10222555     BD RAT MAGIC SCENT PACKS                            $       14.16                             6   $           84.96
Virginia Warehouse      Lawn & Garden        10225731     BD DRP FORGED PRUNER SET 3/4IN                      $       18.38                             6   $          110.28
Virginia Warehouse      Lawn & Garden        10500638     CORONA BYPASS LOPPER 24IN                           $       26.56                             6   $          159.36
Virginia Warehouse      Lawn & Garden        10502226     BND ADJUSTABLE STEEL RAKE                           $       13.02                             6   $           78.12
Virginia Warehouse      Lawn & Garden        10210117     BD FLEA & ROACH SPRAY RTU GAL                       $       13.52                             8   $          108.16
Virginia Warehouse      Lawn & Garden        10215028     OSMC PLS OUT/IN PLANT FOOD 8LB                      $       16.90                             8   $          135.20
Virginia Warehouse      Lawn & Garden        10226606     CNS IN/OUT INSECTICIDE CN 16OZ                      $       16.11                             8   $          128.88
Virginia Warehouse      Lawn & Garden        10502293     TTP CULTIVATOR 4 TINE 5IN HEAD                      $       14.92                             8   $          119.36
Virginia Warehouse      Lawn & Garden        10513999     CORONA LEATHER SCABBARD                             $       11.23                             8   $           89.84
Virginia Warehouse      Lawn & Garden        11111112     CURTRINE PLUS 30 LB                                 $       72.86                             9   $          655.74
Virginia Warehouse      Lawn & Garden        10212674     ESPOMA RAIN BARREL BLACK 55GAL                      $      111.24                            11   $        1,223.64
Virginia Warehouse      Lawn & Garden        10224146     MEL SPRINKLER ADJ PATTERN                           $       26.25                            11   $          288.75
Virginia Warehouse      Lawn & Garden        10225082     CM BLND ORGNC RAISD BED MX 1CF                      $        9.39                            11   $          103.29
Virginia Warehouse      Lawn & Garden        10225251     MEL 6PT FLW CTL SPRINKELR/TRPD                      $       53.34                            11   $          586.74
Virginia Warehouse      Lawn & Garden        10513595     66682 EYE HOE HANDLE 5FT                            $       16.80                            11   $          184.80
Virginia Warehouse      Lawn & Garden        02142006     TIMOTHY 3LB                                         $        4.17                            12   $           50.04
Virginia Warehouse      Lawn & Garden        06684670     ATLAS DSTRY MOLE GARLIC TUBES                       $        7.63                            12   $           91.56
Virginia Warehouse      Lawn & Garden        10202842     BD TOMATO & BLOSSOM ST RTU 8OZ                      $        3.81                            12   $           45.72
Virginia Warehouse      Lawn & Garden        10203539     BD BUG & SLUG KILLER 1.5LB                          $       11.22                            12   $          134.64
Virginia Warehouse      Lawn & Garden        10204216     BD SYSTEMIC INSECT GRANULE 1LB                      $        6.84                            12   $           82.08
Virginia Warehouse      Lawn & Garden        10210402     ESPOMA VIOLET POTTING MIX 4QT                       $        2.61                            12   $           31.32
Virginia Warehouse      Lawn & Garden        10213015     BD VEG KILLER CONC 1GAL                             $       18.36                            12   $          220.32
Virginia Warehouse      Lawn & Garden        10213649     BD CRABGRAS/WEED PREVENTER 4LB                      $       10.95                            12   $          131.40
Virginia Warehouse      Lawn & Garden        10213654     REV ANT KILLER DUST 1 LB                            $        6.38                            12   $           76.56
Virginia Warehouse      Lawn & Garden        10213655     REV ANT KILLER GRANULES 1.5LB                       $        6.41                            12   $           76.92
Virginia Warehouse      Lawn & Garden        10221074     BD DA BED BUG KLR AEROSOL 15OZ                      $        7.65                            12   $           91.80
Virginia Warehouse      Lawn & Garden        10223716     SCOTTS HAND-HELD SPREADER                           $       15.44                            12   $          185.28
Virginia Warehouse      Lawn & Garden        10235170     MG ROSE FOOD 1.5LB                                  $        5.20                            12   $           62.40
Virginia Warehouse      Lawn & Garden        10201519     DURAPITCH 2 BEDDING FORK RED                        $       35.76                            13   $          464.88
Virginia Warehouse      Lawn & Garden        10203057     LG DURAFORK BEDDING FORK TEAL                       $       12.02                            13   $          156.26
Virginia Warehouse      Lawn & Garden        10222278     CHAPIN GARDEN SEEDER W/6 PLATE                      $      117.76                            13   $        1,530.88
Virginia Warehouse      Lawn & Garden        10501576     TT FORGED SCRAPER 7IN                               $        5.34                            13   $           69.42
Virginia Warehouse      Lawn & Garden        10513988     CORONA BYPASS LOPPER 26IN                           $       36.03                            13   $          468.39
Virginia Warehouse      Lawn & Garden        10201517     LG DURAFORK BEDDING FORK PUR                        $       12.02                            14   $          168.28
Virginia Warehouse      Lawn & Garden        10223572     EG X-TRM DEER BARRIER 8X100FT                       $      104.04                            15   $        1,560.60
Virginia Warehouse      Lawn & Garden        10502456     TRP SCOOP ABS 12G DHANDLE 29IN                      $       22.98                            16   $          367.68
Virginia Warehouse      Lawn & Garden        10225334     BD KLEENUP HE W/G RTU/WAND GL                       $       18.56                            18   $          334.08
Virginia Warehouse      Lawn & Garden        10502399     TRP MANURE/BEDING FORK 10 TINE                      $       30.74                            18   $          553.32
Virginia Warehouse      Lawn & Garden        10204595     BD ANT FLEA TICK KILLR GRAN 5M                      $        9.18                            19   $          174.42
Virginia Warehouse      Lawn & Garden        10209481     ESP FLOWER-TN 3-4-5 FERT 18LB                       $       13.08                            19   $          248.52
Virginia Warehouse      Lawn & Garden        10213820     MEL OSCILAT SPRINKLER W/TMR                         $       34.93                            19   $          663.67
Virginia Warehouse      Lawn & Garden        10217105     LF DEER/RABBIT CONC 1GAL                            $       97.92                            20   $        1,958.40
Virginia Warehouse      Lawn & Garden        10225248     MEL OSCILATNG SPRINKLER 3000SF                      $       13.12                            20   $          262.40
Virginia Warehouse      Lawn & Garden        02111281     ALFALFA EVERMORE 50 LB                              $      196.40                            22   $        4,320.80
Virginia Warehouse      Lawn & Garden        10225081     CM BLND ORGNC RAISD BED MX 2CF                      $       14.26                            23   $          327.98
Virginia Warehouse      Lawn & Garden        02143523     MASTER MUSTARD 50 LB                                $      124.68                            24   $        2,992.32
Virginia Warehouse      Lawn & Garden        10203801     BD MOSQUITO BEATER FOG 1/2GAL                       $       20.11                            24   $          482.64
Virginia Warehouse      Lawn & Garden        10209383     BD CAPTAIN JACK DEADBUG BRW QT                      $       23.86                            24   $          572.64
Virginia Warehouse      Lawn & Garden        10211859     LL RAPI FOAM WIRE TIE 32.5FT                        $        8.56                            24   $          205.44
Virginia Warehouse      Lawn & Garden        10222276     CHAPIN BACKPCK SPRAYER BTRY 4G                      $      228.12                            24   $        5,474.88
Virginia Warehouse      Lawn & Garden        10223785     CHAP CLN N SEAL DECK SPRAYR 1G                      $       18.65                            24   $          447.60
Virginia Warehouse      Lawn & Garden        10224587     SWAN JOHN DEERE HOSE 5/8X100                        $       44.83                            24   $        1,075.92
Virginia Warehouse      Lawn & Garden        11110526     TRIMEC CLASSIC 1 GA                                 $       47.09                            24   $        1,130.16
Virginia Warehouse      Lawn & Garden        10232019     EW COM BROADCAST SPREADER 50LB                      $      306.62                            25   $        7,665.50
Virginia Warehouse      Lawn & Garden        10212324     RS EZ STRAW LWN RPR MX TURF 28                      $       25.66                            26   $          667.16
Virginia Warehouse      Lawn & Garden        10511414     CORNOA AC LOPPING SHEAR 24IN                        $       32.28                            26   $          839.28
Virginia Warehouse      Lawn & Garden        02111742     IMPERIAL NO-PLOW 25 LB                              $       56.69                            27   $        1,530.63
Virginia Warehouse      Lawn & Garden        10500970     DF REPL FORK HEAD HOT PINK                          $       11.62                            27   $          313.74
Virginia Warehouse      Lawn & Garden        10201168     MEL TURRET SPRINKLER 8-PATTERN                      $        6.56                            28   $          183.68
Virginia Warehouse      Lawn & Garden        10213607     CHAP POLY BLEACH SPRAYER 1GL                        $       24.47                            28   $          685.16
Virginia Warehouse      Lawn & Garden        10225040     CM COMPOST/PEAT PLANT MIX 1CF                       $        9.45                            28   $          264.60
Virginia Warehouse      Lawn & Garden        10225051     CM BLND ORGNC POTTING SOIL 2CF                      $       13.51                            28   $          378.28
Virginia Warehouse      Lawn & Garden        11100854     PRAMITOL 25E HERB (WS) 1 GA                         $       57.33                            28   $        1,605.24
Virginia Warehouse      Lawn & Garden        10213821     MEL MT OSCILAT SPRNKLER W/NZLE                      $       35.82                            29   $        1,038.78
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                                                                                                             Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                          per Unit          as of 7/21/2022               Value

Virginia Warehouse      Lawn & Garden        10204011     CHAPIN POWDER DUSTER 16OZ                           $        17.38                            30   $          521.40
Virginia Warehouse      Lawn & Garden        10209247     SCOTTS MRCL GRO GARDEN FEEDER                       $        11.72                            30   $          351.60
Virginia Warehouse      Lawn & Garden        10212635     ELE CONTRACTR/FARM HOSE 3/4X50                      $        52.40                            31   $        1,624.40
Virginia Warehouse      Lawn & Garden        10213828     MEL PLY PLS SPRINKLER SPK 85FT                      $         5.06                            31   $          156.86
Virginia Warehouse      Lawn & Garden        10209476     ESPOMA GARDN-TN 3-4-4 FRT 36LB                      $        20.84                            32   $          666.88
Virginia Warehouse      Lawn & Garden        10212325     RS EZ STRAW LWN RPR MX TURF 11                      $        17.42                            32   $          557.44
Virginia Warehouse      Lawn & Garden        10215032     OSMC FLWR/VEGE PLANT FOOD 8LB                       $        18.65                            32   $          596.80
Virginia Warehouse      Lawn & Garden        02164245     OATS SPRING OGLE 48 LB                              $        20.06                            33   $          661.98
Virginia Warehouse      Lawn & Garden        10213826     MEL ROTRY SPRINKLER SPK 5000SF                      $        13.91                            33   $          459.03
Virginia Warehouse      Lawn & Garden        02111906     WHITETAIL IMP CHICK MAGNET 3LB                      $        27.69                            36   $          996.84
Virginia Warehouse      Lawn & Garden        10200357     MG TREE&SHRB FERT SPIKES PK/12                      $         6.48                            36   $          233.28
Virginia Warehouse      Lawn & Garden        10203721     BD BON-NEEM II RTU QT                               $        10.62                            36   $          382.32
Virginia Warehouse      Lawn & Garden        10212326     RS EZ STRAW SEED BLNKET 4X50FT                      $        23.45                            36   $          844.20
Virginia Warehouse      Lawn & Garden        10214063     ESP ORGANC ORCHID SOIL MIX 4QT                      $         3.15                            36   $          113.40
Virginia Warehouse      Lawn & Garden        10225516     CM ACID-LOVING PLANT SOIL 20QT                      $         6.44                            37   $          238.28
Virginia Warehouse      Lawn & Garden        10225517     CM TOMATOE/VEG PLANT SOIL 20QT                      $         6.44                            37   $          238.28
Virginia Warehouse      Lawn & Garden        10501984     DURAFORK BED FORK ALUM HDL RED                      $        27.78                            38   $        1,055.64
Virginia Warehouse      Lawn & Garden        10222578     BD EIGHT INSECT GRANULES 10LB                       $         9.72                            39   $          379.08
Virginia Warehouse      Lawn & Garden        02111755     IMPERIAL 30-06 MINERAL+PR 20LB                      $        20.04                            40   $          801.60
Virginia Warehouse      Lawn & Garden        10201403     BD AS HRTCLTRL SPRY OIL CNC GL                      $        25.49                            40   $        1,019.60
Virginia Warehouse      Lawn & Garden        10225515     CM ROSE/FLWR PLANTNG SOIL 20QT                      $         6.28                            40   $          251.20
Virginia Warehouse      Lawn & Garden        10502822     AGWAY HAND WEEDER                                   $         5.44                            40   $          217.60
Virginia Warehouse      Lawn & Garden        10210603     MG LIQUAFEED REFILL 4PK                             $        13.26                            42   $          556.92
Virginia Warehouse      Lawn & Garden        10210623     MG ALL PURPOSE PLANT FOOD 3LB                       $         8.61                            42   $          361.62
Virginia Warehouse      Lawn & Garden        10238801     LL RPTEST PH SOIL TESTER PK/10                      $         5.42                            43   $          233.06
Virginia Warehouse      Lawn & Garden        02111718     WHITETAIL FUSION 3.15 LB                            $        27.69                            46   $        1,273.74
Virginia Warehouse      Lawn & Garden        02111743     IMPERIAL NO-PLOW 9 LB                               $        28.51                            46   $        1,311.46
Virginia Warehouse      Lawn & Garden        06630594     DF PLASTIC DURAFORK LIME GREEN                      $        12.02                            46   $          552.92
Virginia Warehouse      Lawn & Garden        10208356     ESPOMA WEED PRV/LAWN FOOD 25LB                      $        24.31                            46   $        1,118.26
Virginia Warehouse      Lawn & Garden        10203709     BD ALUMINUM SULFATE 0-0-0 4LB                       $         7.87                            48   $          377.76
Virginia Warehouse      Lawn & Garden        10210766     BD ROSE RX 3N1 CONC PT                              $        15.71                            48   $          754.08
Virginia Warehouse      Lawn & Garden        10211947     MG ALL PURP PLANT FOOD AP 1LB                       $         3.63                            48   $          174.24
Virginia Warehouse      Lawn & Garden        10212818     LL RC VINYL STRETCH TIE 150X.5                      $         3.00                            48   $          144.00
Virginia Warehouse      Lawn & Garden        10218830     ESPOMA EARTHWORM CASTINGS 4QT                       $         5.55                            48   $          266.40
Virginia Warehouse      Lawn & Garden        10223742     GT SEVIN BUG KILLER RTU 1GL                         $        15.03                            48   $          721.44
Virginia Warehouse      Lawn & Garden        10224497     EC GRASS REPAIR KIT T/FES 4.25                      $        12.30                            48   $          590.40
Virginia Warehouse      Lawn & Garden        10226098     MG WILDLIFE NETTING 7X100FT                         $        14.43                            49   $          706.49
Virginia Warehouse      Lawn & Garden        10500971     DF REPL FORK HEAD LIME GREEN                        $        11.62                            50   $          581.00
Virginia Warehouse      Lawn & Garden        10502210     CEN GARDEN TOOL/KNEELR SET 4PC                      $        31.53                            52   $        1,639.56
Virginia Warehouse      Lawn & Garden        02143370     SS OAT BRASSICA WLDLFE MIX 50#                      $        26.69                            54   $        1,441.26
Virginia Warehouse      Lawn & Garden        10222378     SEVIN INSECT KILLER CONC 32OZ                       $        15.59                            54   $          841.86
Virginia Warehouse      Lawn & Garden        11110037     DO NOT USE - DYLOX 6.2G T&O 30#                     $        44.83                            54   $        2,420.82
Virginia Warehouse      Lawn & Garden        10225332     BD KLEENUP HE W/G RTU GL                            $        11.83                            56   $          662.48
Virginia Warehouse      Lawn & Garden        02111773     PURE ATTRACTION 26 LB                               $        32.71                            57   $        1,864.47
Virginia Warehouse      Lawn & Garden        10213829     MEL MTL PLS SPRINKLER SPK 85FT                      $         6.79                            59   $          400.61
Virginia Warehouse      Lawn & Garden        10210620     MG ALL PURPOSE PLANT FOOD 8OZ                       $         2.54                            60   $          152.40
Virginia Warehouse      Lawn & Garden        10214057     ESPOMA ORG GARDEN GYPSUM 6 LB                       $         4.22                            60   $          253.20
Virginia Warehouse      Lawn & Garden        10222517     ESP BONE MEAL PLANT FOOD 4LB                        $         4.22                            60   $          253.20
Virginia Warehouse      Lawn & Garden        10501874     CEN WATERING SET 2PC                                $        15.13                            60   $          907.80
Virginia Warehouse      Lawn & Garden        10202027     BD HYDRATED LIME 5LB                                $         7.06                            61   $          430.66
Virginia Warehouse      Lawn & Garden        10211065     RNDUP PUMP N GO WD/GR 1.33GL                        $        21.20                            64   $        1,356.80
Virginia Warehouse      Lawn & Garden        10223600     ELE VIPER HP HOSE 5/8INX50FT                        $        39.05                            64   $        2,499.20
Virginia Warehouse      Lawn & Garden        10203244     WDSTRM MOSQUITO/GNAT SCAT 5LB                       $        15.09                            66   $          995.94
Virginia Warehouse      Lawn & Garden        10217106     LF DEER/RABBIT CONC 40OZ                            $        31.75                            66   $        2,095.50
Virginia Warehouse      Lawn & Garden        10225056     CM BLEND WORM CASTINGS 8QT                          $        12.06                            66   $          795.96
Virginia Warehouse      Lawn & Garden        10224586     SWAN JOHN DEERE HOSE 5/8X50                         $        28.59                            71   $        2,029.89
Virginia Warehouse      Lawn & Garden        10207175     GT DACONIL FUNGICIDE CONC 16OZ                      $        14.74                            72   $        1,061.28
Virginia Warehouse      Lawn & Garden        06630593     DF PLASTIC DURAFORK HOT PINK                        $        12.02                            73   $          877.46
Virginia Warehouse      Lawn & Garden        02111735     WHITETAIL WINTER PEAS + 11 LB                       $        22.16                            81   $        1,794.96
Virginia Warehouse      Lawn & Garden        10201343     BD BORIC ACID ROACH POWDER 1LB                      $         5.01                            84   $          420.84
Virginia Warehouse      Lawn & Garden        10239030     JIFFY-POTS ROUND 4IN 6/PK                           $         2.55                            84   $          214.20
Virginia Warehouse      Lawn & Garden        10225173     GL SPREADER/PLS WHL 8IN 65LB                        $        63.95                            90   $        5,755.50
Virginia Warehouse      Lawn & Garden        10218779     COOP POOP A/P GARDEN FOOD 25LB                      $        10.42                            91   $          948.22
Virginia Warehouse      Lawn & Garden        10204880     PREM PROMIX BX GROW MED 3.8CF                       $        37.47                            94   $        3,522.18
Virginia Warehouse      Lawn & Garden        10220068     CHAP HND SPRAYER MLT USE 48OZ                       $        12.70                            94   $        1,193.80
Virginia Warehouse      Lawn & Garden        10223306     CHAP HAND CRANK SPREADER 1.6L                       $        15.66                            95   $        1,487.70
Virginia Warehouse      Lawn & Garden        10502823     AGWAY HAND CULTIVATOR                               $         5.54                            95   $          526.30
Virginia Warehouse      Lawn & Garden        10208255     BD TREE/SHRUB INSECT CNTRL GAL                      $        23.24                            96   $        2,231.04
Virginia Warehouse      Lawn & Garden        10210423     GRD TRIMEC CRBGRS KLR RTS 32OZ                      $        16.29                            96   $        1,563.84
Virginia Warehouse      Lawn & Garden        10215118     REV FLY CATCHER RIBBONS 5PK                         $         1.68                           100   $          168.00
Virginia Warehouse      Lawn & Garden        11101879     CUTRINE-PLUS (LIQUID) 9% 1 GA                       $        28.76                           100   $        2,876.00
Virginia Warehouse      Lawn & Garden        10502467     SS ANVIL PRUNER ALUM HANDLE                         $        10.12                           101   $        1,022.12
Virginia Warehouse      Lawn & Garden        10225249     MEL OSCILATNG SPRINKLER 3400SF                      $        15.69                           106   $        1,663.14
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                                                                                                             Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category     Number       Agway Product Description                          per Unit          as of 7/21/2022               Value

Virginia Warehouse      Lawn & Garden        10204582     BD MOLEMAX MOLE/VOLE REPEL 5LB                      $        9.31                            108   $       1,005.48
Virginia Warehouse      Lawn & Garden        10209478     ESPOMA GARDN-TN 3-4-4 FRT 18LB                      $       13.08                            108   $       1,412.64
Virginia Warehouse      Lawn & Garden        10208263     BD SHOT-GUN REPELS-ALL 6LB                          $       21.41                            109   $       2,333.69
Virginia Warehouse      Lawn & Garden        10222207     FOG NITROORGANIC FERTILIZER 36                      $       10.50                            112   $       1,176.00
Virginia Warehouse      Lawn & Garden        10200230     BD HSEHLD INSECT CNTRL RTU 1GL                      $       11.21                            116   $       1,300.36
Virginia Warehouse      Lawn & Garden        10210403     ESP ORG CACTS/PLM SOIL MIX 4QT                      $        2.61                            120   $         313.20
Virginia Warehouse      Lawn & Garden        10222518     ESP BLOOD MEAL PLANT FOOD 3LB                       $        5.53                            120   $         663.60
Virginia Warehouse      Lawn & Garden        10224506     EC FAST ACTING LIME 25LB                            $       13.58                            123   $       1,670.34
Virginia Warehouse      Lawn & Garden        10225507     WBR HW GRD STAKE 7/8X7/8X3 PK6                      $        5.03                            129   $         648.87
Virginia Warehouse      Lawn & Garden        02127080     LESPEDEZA SERECIA (UNHLD) 50LB                      $      174.20                            131   $      22,820.20
Virginia Warehouse      Lawn & Garden        02159658     SORGHUM UNIGRAZE II SUDAN                           $       35.11                            132   $       4,634.52
Virginia Warehouse      Lawn & Garden        10225878     MG WEEDENDER LS FABRIC 3X100FT                      $       17.82                            136   $       2,423.52
Virginia Warehouse      Lawn & Garden        02111744     IMPERIAL WHITETAIL 30-06 20 LB                      $       17.25                            138   $       2,380.50
Virginia Warehouse      Lawn & Garden        10502827     AGWAY HEDGE SHEAR                                   $       14.35                            139   $       1,994.65
Virginia Warehouse      Lawn & Garden        10224432     MEL T-POST PULSATING SPRINKLER                      $       21.25                            142   $       3,017.50
Virginia Warehouse      Lawn & Garden        02111787     WHITETAIL TL TINE TUBERS 3 LB                       $       20.99                            152   $       3,190.48
Virginia Warehouse      Lawn & Garden        10205690     MG MOIST CTRL POTTING MIX 2CF                       $       17.01                            159   $       2,704.59
Virginia Warehouse      Lawn & Garden        10501842     CEN HAMMERSTN GDN TOOL SET 5PC                      $       17.67                            168   $       2,968.56
Virginia Warehouse      Lawn & Garden        10502828     AGWAY CMPND ACTION BYPS LOPPER                      $       16.02                            173   $       2,771.46
Virginia Warehouse      Lawn & Garden        10211671     GLAMOS HD SUPPORT BLUE 14X42IN                      $        4.78                            175   $         836.50
Virginia Warehouse      Lawn & Garden        10212322     RS EZ STRAW LWN RPR MX SS 28LB                      $       25.66                            175   $       4,490.50
Virginia Warehouse      Lawn & Garden        10212323     RS EZ STRAW LWN RPR MX SS 11LB                      $       17.42                            175   $       3,048.50
Virginia Warehouse      Lawn & Garden        10202830     BD EIGHT INSECT CONTROL CNC PT                      $        7.60                            180   $       1,368.00
Virginia Warehouse      Lawn & Garden        10208011     BD SYSTEMIC INSECT CONTROL PT                       $       13.49                            180   $       2,428.20
Virginia Warehouse      Lawn & Garden        10214283     SPEC WASP/HORNET KILLER 20OZ                        $        4.25                            180   $         765.00
Virginia Warehouse      Lawn & Garden        10502457     TRP GRD HOE 6IN WD HANDLE 54IN                      $       12.97                            180   $       2,334.60
Virginia Warehouse      Lawn & Garden        10202821     BD COPPER FUNGICIDE DT/SPY 1LB                      $        6.13                            192   $       1,176.96
Virginia Warehouse      Lawn & Garden        10225331     BD KLEENUP HE W/G RTU QT                            $        5.02                            192   $         963.84
Virginia Warehouse      Lawn & Garden        10235126     MG PLANT FOOD SPIKES 1.1OZ                          $        1.07                            192   $         205.44
Virginia Warehouse      Lawn & Garden        10225930     AGW LITHIUM BATTRY SPRAYER 2GL                      $       70.10                            200   $      14,020.00
Virginia Warehouse      Lawn & Garden        10211948     MG ALL PURP PLANT FOOD 4LB                          $       10.70                            216   $       2,311.20
Virginia Warehouse      Lawn & Garden        10215125     REV FLY SWATTER                                     $        0.81                            216   $         174.96
Virginia Warehouse      Lawn & Garden        10209471     ESPOMA HOLLY-TN 4-3-4 FRT 36LB                      $       20.84                            222   $       4,626.48
Virginia Warehouse      Lawn & Garden        10237334     ETN HARDWOOD TOMATO STAKE 4FT                       $        2.23                            225   $         501.75
Virginia Warehouse      Lawn & Garden        10502829     AGWAY CMPND ACTION ANVL LOPPER                      $       16.02                            226   $       3,620.52
Virginia Warehouse      Lawn & Garden        02176200     SOYBEAN STONEWALL CT 50 LB                          $       30.88                            230   $       7,102.40
Virginia Warehouse      Lawn & Garden        10502894     TTP MANURE/BED FORK 10 TINE 50                      $       32.20                            233   $       7,502.60
Virginia Warehouse      Lawn & Garden        10209472     ESPOMA HOLLY-TN 4-3-4 FERT 4LB                      $        5.06                            240   $       1,214.40
Virginia Warehouse      Lawn & Garden        10225058     CM BLND ORGC GROWERS MIX 1.5CF                      $       22.80                            250   $       5,700.00
Virginia Warehouse      Lawn & Garden        10218333     SWAN SOAKER PRO HOSE 3/8X50FT                       $       14.57                            251   $       3,657.07
Virginia Warehouse      Lawn & Garden        11111130     SPEEDZONE EW 4X1 GA                                 $       82.35                            251   $      20,669.85
Virginia Warehouse      Lawn & Garden        11101885     DO NOT USE - COPPER SULFATE 50 LB                   $      109.17                            262   $      28,602.54
Virginia Warehouse      Lawn & Garden        10204000     BD COLORADO BEATLE BEATER PT                        $       15.75                            264   $       4,158.00
Virginia Warehouse      Lawn & Garden        10208254     BD TREE/SHRUB INSECT CNTRL QT                       $       10.82                            264   $       2,856.48
Virginia Warehouse      Lawn & Garden        10501879     CEN CUTTING SET 3PC                                 $       29.72                            267   $       7,935.24
Virginia Warehouse      Lawn & Garden        10220947     MG FLAT FREE STL WHLBARROW 6CF                      $       88.19                            272   $      23,987.68
Virginia Warehouse      Lawn & Garden        10502824     AGWAY PRUNER AND SAW SET 2PC                        $        9.90                            282   $       2,791.80
Virginia Warehouse      Lawn & Garden        10220067     CHAP HND SPRAYER UPSD DN 32OZ                       $        4.43                            287   $       1,271.41
Virginia Warehouse      Lawn & Garden        10502804     AGWAY ROUND POINT SHOVEL                            $       14.29                            287   $       4,101.23
Virginia Warehouse      Lawn & Garden        10502826     AGWAY ANVIL PRUNER                                  $        6.45                            287   $       1,851.15
Virginia Warehouse      Lawn & Garden        10213136     ESPOMA SOIL ACIDIFIER 6LB                           $        5.96                            294   $       1,752.24
Virginia Warehouse      Lawn & Garden        10208275     CJ LQ COPPER FUNGICIDE RTU QT                       $        6.31                            300   $       1,893.00
Virginia Warehouse      Lawn & Garden        10214118     AMDRO FIRE ANT BAIT 1LB                             $       12.90                            300   $       3,870.00
Virginia Warehouse      Lawn & Garden        10202851     BD ROT-STOP TOMATO BLSM PT                          $        6.67                            348   $       2,321.16
Virginia Warehouse      Lawn & Garden        10214364     AMDRO FIRE ANTS YARD BAIT 5LB                       $       22.92                            354   $       8,113.68
Virginia Warehouse      Lawn & Garden        10202899     BD WASP HORNET KLR AEROSL 15OZ                      $        4.36                            360   $       1,569.60
Virginia Warehouse      Lawn & Garden        10209488     ESP BULB-TONE 3-5-3 FERT 4LB                        $        5.06                            372   $       1,882.32
Virginia Warehouse      Lawn & Garden        10224610     SPEC WASP/HRNT KLR3 AERSL 20OZ                      $        8.23                            378   $       3,110.94
Virginia Warehouse      Lawn & Garden        10235190     MG TOMATO FOOD 1.5LB                                $        5.20                            378   $       1,965.60
Virginia Warehouse      Lawn & Garden        10236404     BD LIQUID COPPER 4E PT                              $       12.29                            396   $       4,866.84
Virginia Warehouse      Lawn & Garden        02111967     CHICORY 50 LB                                       $        5.28                            400   $       2,112.00
Virginia Warehouse      Lawn & Garden        02157654     MILLET GOLDEN GERMAN 50 LB                          $       61.27                            414   $      25,365.78
Virginia Warehouse      Lawn & Garden        10225329     BD KLEENUP HE W/G CONC QT                           $       11.92                            438   $       5,220.96
Virginia Warehouse      Lawn & Garden        10237338     ETN HARDWOOD TOMATO STAKE 6FT                       $        2.83                            450   $       1,273.50
Virginia Warehouse      Lawn & Garden        10222406     SWN SUPPLE HD HOSE 5/8INX50FT                       $       30.15                            457   $      13,778.55
Virginia Warehouse      Lawn & Garden        10209182     MG PREMIUM POTTING MIX 1CF                          $       10.00                            476   $       4,760.00
Virginia Warehouse      Lawn & Garden        10206504     ESPOMA BIOTONE STRTER PLUS 4LB                      $        4.74                            492   $       2,332.08
Virginia Warehouse      Lawn & Garden        10213109     GT RTBOOST ROOTING HORMONE 2OZ                      $        5.15                            492   $       2,533.80
Virginia Warehouse      Lawn & Garden        10201417     BD MOLETOX II MOLE/GPH KLR 1LB                      $        6.79                            516   $       3,503.64
Virginia Warehouse      Lawn & Garden        10213007     CJ NEEM OIL RTU QT                                  $        7.43                            516   $       3,833.88
Virginia Warehouse      Lawn & Garden        10502816     AGWAY 5-TINE WIRE MANURE FORK                       $       23.42                            516   $      12,084.72
Virginia Warehouse      Lawn & Garden        10202871     BD MEASURING CUP 4OZ                                $        1.32                            528   $         696.96
Virginia Warehouse      Lawn & Garden        10216718     BD REVENGE FLY STICK 10IN 2PK                       $        4.04                            528   $       2,133.12
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                                                                                                                    Wholesale Price   Units Included in APA     Extended Wholesale
Location of Inventory   Product Category            Number       Agway Product Description                          per Unit          as of 7/21/2022           Value

Virginia Warehouse      Lawn & Garden               10225506     WBR HW GRD STAKE 7/8X7/8X2 PK6                      $        3.39                        530   $       1,796.70
Virginia Warehouse      Lawn & Garden               10204583     BD MOLEMAX MOLE/VOLE REPL 10LB                      $       13.74                        590   $       8,106.60
Virginia Warehouse      Lawn & Garden               10502818     AGWAY D-HANDLE ALUMINUM SCOOP                       $       23.33                        654   $      15,257.82
Virginia Warehouse      Lawn & Garden               10212814     CJ NEEM OIL CONCENTRATE 16OZ                        $       16.81                        720   $      12,103.20
Virginia Warehouse      Lawn & Garden               10225510     WBR HW GRD STAKE 7/8X7/8X6 PK6                      $        9.96                        841   $       8,376.36
Virginia Warehouse      Lawn & Garden               10502808     AGWAY BOW RAKE                                      $       14.87                        847   $      12,594.89
Virginia Warehouse      Lawn & Garden               10502831     AG HD POST HOLE DIGGER/FG HNDL                      $       31.93                        924   $      29,503.32
Virginia Warehouse      Lawn & Garden               10502806     AGWAY D-HNDL RND POINT SHOVEL                       $       13.11                        942   $      12,349.62
Virginia Warehouse      Lawn & Garden               10214881     MOTOMCO GOPHER KILLER 1LB                           $        6.82                        968   $       6,601.21
Virginia Warehouse      Lawn & Garden               10225899     CEN WHEELBARROW W/WD HNDL 6CF                       $      130.89                        988   $     129,319.32
Virginia Warehouse      Lawn & Garden               10502813     AGWAY POLY RAKE 30IN                                $       12.80                      1,072   $      13,721.60
Virginia Warehouse      Lawn & Garden               10502815     AGWAY 4-TINE WIRE MANURE FORK                       $       20.46                      1,072   $      21,933.12
Virginia Warehouse      Lawn & Garden               10502805     AGWAY SQUARE POINT SHOVEL                           $       14.71                      1,169   $      17,195.99
Virginia Warehouse      Lawn & Garden               10225508     WBR HW GRD STAKE 7/8X7/8X4 PK6                      $        5.68                      1,229   $       6,980.72
Virginia Warehouse      Lawn & Garden               10502809     AGWAY GARDEN HOE                                    $       17.41                      1,298   $      22,598.18
Virginia Warehouse      Lawn & Garden               10502812     AGWAY MANURE/MULCH FORK                             $       21.09                      1,396   $      29,441.64
Virginia Warehouse      Lawn & Garden               10502814     AGWAY STEEL RAKE 24IN                               $       12.90                      1,405   $      18,124.50
Virginia Warehouse      Lawn & Garden               10225509     WBR HW GRD STAKE 7/8X7/8X5 PK6                      $        8.46                      1,495   $      12,647.70
Virginia Warehouse      Lawn & Garden               10224446     CEN PUMP SPRAYER/BRS NOZL 1/2G                      $        7.02                      1,679   $      11,786.58
Virginia Warehouse      Lawn & Garden               02142642     SS PREMIUM TALL FESCUE 20 LB                        $        3.06                      1,720   $       5,263.20
Virginia Warehouse      Lawn & Garden               02142095     GRASS MOUNTAIN MEADOW MX 50 LB                      $        3.89                      2,100   $       8,169.00
Virginia Warehouse      Lawn & Garden               10211200     CHAP POLY SPRAYER 1GAL                              $       15.18                      2,368   $      35,946.24
Virginia Warehouse      Lawn & Garden               10224338     GL FAST ACTING LIME 50LB                            $       19.14                      2,875   $      55,027.50
Virginia Warehouse      Lawn & Garden               10209180     MG PREM POTTING MIX 8QT                             $        5.02                      3,324   $      16,686.48
Virginia Warehouse      Lawn & Garden               02142405     SS IMPROV ORCHARD GR CTD 25 LB                      $        3.25                      3,325   $      10,806.25
Virginia Warehouse      Lawn & Garden               02143504     RADISH ECOTILL SOILBUSTER 50LB                      $        1.93                      3,550   $       6,851.50
Virginia Warehouse      Lawn & Garden               10225877     MG WEEDENDER LS FABRIC 3X50FT                       $       11.20                      3,794   $      42,492.80
Virginia Warehouse      Lawn & Garden               10224083     GLAMOS HD PLANT SUPPORT GAL 42                      $        5.59                      6,025   $      33,679.75
Virginia Warehouse      Lawn & Garden               10222355     CEN MP GARDEN SPRAYER 1GAL                          $       17.04                      9,212   $     156,972.48
Virginia Warehouse      Lawn & Garden               02111500     CLOVER CRIMSON 34% CTD 50 LB                        $        2.09                     10,350   $      21,631.50
Virginia Warehouse      Pet Food, Feed & Supplies   06648141     BAY ADVANTAG II FLEA DOG 11-20                      $       43.29                          1   $          43.29
Virginia Warehouse      Pet Food, Feed & Supplies   06682984     SD WETLANDHUNTER XSERIES 500YD                      $      148.67                          1   $         148.67
Virginia Warehouse      Pet Food, Feed & Supplies   10226658     HIG SNBRST F/D FRT B/P .52OZ                        $        2.98                          1   $           2.98
Virginia Warehouse      Pet Food, Feed & Supplies   10226659     HIG S/G BLEND RABBIT FOOD 6LB                       $       10.24                          1   $          10.24
Virginia Warehouse      Pet Food, Feed & Supplies   06609702     AGWAY DOG TIE OUT LARGE 20FT                        $        6.75                          2   $          13.50
Virginia Warehouse      Pet Food, Feed & Supplies   06609715     AGWAY DOG TIE OUT MED 40FT                          $        7.88                          2   $          15.76
Virginia Warehouse      Pet Food, Feed & Supplies   06654453     PS EZSPORT HARNESS F/M DOG BLK                      $       15.00                          2   $          30.00
Virginia Warehouse      Pet Food, Feed & Supplies   06661089     HJ LIQUI-VICT 2X WORMER 2OZ                         $       10.96                          2   $          21.92
Virginia Warehouse      Pet Food, Feed & Supplies   06682063     FUR S/H DESHEDDING TOOL/DOG MD                      $       26.17                          2   $          52.34
Virginia Warehouse      Pet Food, Feed & Supplies   06605604     HJ KENNEL DIP II 8OZ                                $       13.95                          3   $          41.85
Virginia Warehouse      Pet Food, Feed & Supplies   06645371     AGWAY SUPER AUGER STAKE 24IN                        $        6.23                          3   $          18.69
Virginia Warehouse      Pet Food, Feed & Supplies   06605602     HJ KENNEL DIP II 16OZ                               $       27.11                          4   $         108.44
Virginia Warehouse      Pet Food, Feed & Supplies   06645372     AGWAY MEDIUM DOG TIE-OUT 10FT                       $        4.08                          4   $          16.32
Virginia Warehouse      Pet Food, Feed & Supplies   06654456     PS EZSPORT HARNESS F/L DOG BLK                      $       17.99                          4   $          71.96
Virginia Warehouse      Pet Food, Feed & Supplies   06686551     SD NO BARK 8 LEVELS                                 $       52.67                          4   $         210.68
Virginia Warehouse      Pet Food, Feed & Supplies   06687243     GAR SPORT PRO BUNDLE                                $      243.58                          4   $         974.32
Virginia Warehouse      Pet Food, Feed & Supplies   06629965     NV K-9 ASPIRIN CHW LG DOG 75CT                      $        7.77                          5   $          38.85
Virginia Warehouse      Pet Food, Feed & Supplies   06648136     BAY ADVANTAGE II FLEA DOG 55                        $       43.37                          5   $         216.85
Virginia Warehouse      Pet Food, Feed & Supplies   06655758     BAY ADVNTX II FLEA 4-10LB 6PK                       $       70.53                          5   $         352.65
Virginia Warehouse      Pet Food, Feed & Supplies   06682979     SD FIELDTRAINER X-SERIES 500YD                      $      138.67                          5   $         693.35
Virginia Warehouse      Pet Food, Feed & Supplies   06655760     BAY ADVNTX II FLEA OVR55LB 6PK                      $       70.53                          6   $         423.18
Virginia Warehouse      Pet Food, Feed & Supplies   06682980     SD FIELDTRAINER STUBBORN 500YD                      $      139.33                          6   $         835.98
Virginia Warehouse      Pet Food, Feed & Supplies   06609726     AGWAY TIE OUT W/STAKE LRG 20FT                      $        9.52                          7   $          66.64
Virginia Warehouse      Pet Food, Feed & Supplies   06655754     BAY ADVNTX II FLEA 21-55LB 6PK                      $       70.53                          8   $         564.24
Virginia Warehouse      Pet Food, Feed & Supplies   06659228     PC SCOOPABLE CAT LITTER 40LB                        $       12.78                          8   $         102.24
Virginia Warehouse      Pet Food, Feed & Supplies   06666570     COSEQUIN SOFT CHEW F/DOG 45CT                       $       15.78                          8   $         126.24
Virginia Warehouse      Pet Food, Feed & Supplies   11401892     APPLE HORSE SNACKS 5LB                              $        9.79                          8   $          78.32
Virginia Warehouse      Pet Food, Feed & Supplies   06609708     AGWAY BEAST TIE OUT 40FT                            $       16.09                          9   $         144.81
Virginia Warehouse      Pet Food, Feed & Supplies   06609725     AGWAY TIE OUT W/STAKE MED 30FT                      $       10.65                          9   $          95.85
Virginia Warehouse      Pet Food, Feed & Supplies   06673372     A&H SLIDE MULTICAT LITTER 28LB                      $       19.77                          9   $         177.93
Virginia Warehouse      Pet Food, Feed & Supplies   06673373     A&H SLIDE NONSTP CAT LITTER 28                      $       19.77                          9   $         177.93
Virginia Warehouse      Pet Food, Feed & Supplies   06609707     AGWAY BEAST TIE OUT 30FT                            $       14.50                         10   $         145.00
Virginia Warehouse      Pet Food, Feed & Supplies   06609714     AGWAY DOG TIE OUT MED 30FT                          $        6.91                         10   $          69.10
Virginia Warehouse      Pet Food, Feed & Supplies   06615756     ADAMS FLEA/TICK DIP 4OZ                             $       10.51                         10   $         105.10
Virginia Warehouse      Pet Food, Feed & Supplies   06682058     FUR L/H DESHEDDING TOOL/DOG MD                      $       27.14                         10   $         271.40
Virginia Warehouse      Pet Food, Feed & Supplies   06621215     LG FEEDER W/METAL BOTTOM 5IN                        $        9.73                         11   $         107.03
Virginia Warehouse      Pet Food, Feed & Supplies   06678011     COSEQUIN SUPPLEMENT F/CAT 60CT                      $       14.14                         11   $         155.54
Virginia Warehouse      Pet Food, Feed & Supplies   06634754     PETAG GOATS MILK F/PUPS 12OZ                        $       19.04                         12   $         228.48
Virginia Warehouse      Pet Food, Feed & Supplies   06674652     ADVANTUS LARGE DOG 37.5MG 30CT                      $       50.25                         12   $         603.00
Virginia Warehouse      Pet Food, Feed & Supplies   06655716     FB HOOF DRESSING 1GAL                               $       28.37                         14   $         397.18
Virginia Warehouse      Pet Food, Feed & Supplies   06661023     HJ TONEKOTE SUPPLEMENT 16OZ                         $        8.51                         14   $         119.14
Virginia Warehouse      Pet Food, Feed & Supplies   06682057     FUR L/H DESHEDDING TOOL/DOG LG                      $       29.41                         14   $         411.74
Virginia Warehouse      Pet Food, Feed & Supplies   06609704     AGWAY DOG TIE OUT LARGE 40FT                        $        8.61                         15   $         129.15
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                                                                                                                    Wholesale Price   Units Included in APA     Extended Wholesale
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Virginia Warehouse      Pet Food, Feed & Supplies   06629966     NV K-9 ASPIRIN CHW SM DOG 100                       $        6.79                         16   $         108.64
Virginia Warehouse      Pet Food, Feed & Supplies   06648139     BAY ADVANTAGE II FLEA CAT 9LB                       $       42.38                         16   $         678.08
Virginia Warehouse      Pet Food, Feed & Supplies   06661081     HJ SARDEX II MANGE 9.5OZ                            $       10.18                         16   $         162.88
Virginia Warehouse      Pet Food, Feed & Supplies   06664601     ZG PLUS F/T DROP F/DOG 23-44LB                      $       13.43                         16   $         214.88
Virginia Warehouse      Pet Food, Feed & Supplies   06605601     HJ PARACIDE FL/TK SHAMPOO 8OZ                       $        6.38                         17   $         108.46
Virginia Warehouse      Pet Food, Feed & Supplies   06609730     AGWAY SNAP-AROUND TIE OUT 60LB                      $        6.91                         17   $         117.47
Virginia Warehouse      Pet Food, Feed & Supplies   06650031     PM DOG HOUSE INDIGO MED                             $       97.16                         17   $       1,651.72
Virginia Warehouse      Pet Food, Feed & Supplies   06686642     AP PETBARN 3 DOG HOUSE 25-50LB                      $       65.46                         17   $       1,112.82
Virginia Warehouse      Pet Food, Feed & Supplies   06609701     AGWAY DOG TIE OUT LARGE 15FT                        $        6.46                         19   $         122.74
Virginia Warehouse      Pet Food, Feed & Supplies   06648135     BAY ADVANTIX II FLEA DOG 11-20                      $       50.06                         19   $         951.14
Virginia Warehouse      Pet Food, Feed & Supplies   06684799     CAP FLEA TREATMENT/CAT 2-25LB                       $       30.51                         19   $         579.69
Virginia Warehouse      Pet Food, Feed & Supplies   06647843     FO REPL PUMP SPRAY DOG/CAT 6OZ                      $        6.66                         20   $         133.20
Virginia Warehouse      Pet Food, Feed & Supplies   06677046     JNC DINO BONES FOR DOGS 1PK                         $       10.17                         20   $         203.40
Virginia Warehouse      Pet Food, Feed & Supplies   06614008     ESBILAC MILK RPLCR PW PUP 12OZ                      $       18.24                         21   $         383.04
Virginia Warehouse      Pet Food, Feed & Supplies   06684798     CAP FLEA TREATMENT F/DOG >25LB                      $       30.51                         21   $         640.71
Virginia Warehouse      Pet Food, Feed & Supplies   06655759     BAY ADVNTX II FLEA OVR55LB 2PK                      $       26.42                         22   $         581.24
Virginia Warehouse      Pet Food, Feed & Supplies   11401890     PEPPERMINT HORSE SNACK 5LB                          $        9.79                         22   $         215.38
Virginia Warehouse      Pet Food, Feed & Supplies   06684797     CAP FLEA TREATMENT/DOG 2-25LB                       $       30.51                         23   $         701.73
Virginia Warehouse      Pet Food, Feed & Supplies   06661082     HJ ITCH NO MORE MED SHAMP 12OZ                      $        7.01                         25   $         175.25
Virginia Warehouse      Pet Food, Feed & Supplies   06640871     FUR DESHEDDING TOOL F/CATS LRG                      $       29.91                         27   $         807.57
Virginia Warehouse      Pet Food, Feed & Supplies   06600930     FP SPRG ACTN POOP SCOOP HRDSRF                      $       15.04                         29   $         436.16
Virginia Warehouse      Pet Food, Feed & Supplies   06648132     BAY ADVANTIX II FLEA DOG 55LB                       $       50.06                         29   $       1,451.74
Virginia Warehouse      Pet Food, Feed & Supplies   06661065     HAPPY JACK FLEA BEACON                              $       15.76                         29   $         457.04
Virginia Warehouse      Pet Food, Feed & Supplies   06614039     KMR MILK REPLACER KITTENS 12OZ                      $       19.80                         30   $         594.00
Virginia Warehouse      Pet Food, Feed & Supplies   06659869     SG DIATOMACEOUS EARTH 2LB                           $        6.34                         30   $         190.20
Virginia Warehouse      Pet Food, Feed & Supplies   06686641     AP PETBARN 3 DOG HOUSE 50-90LB                      $       81.07                         30   $       2,432.10
Virginia Warehouse      Pet Food, Feed & Supplies   06687044     SL PREMIYUM ADU RABBT FOOD 8LB                      $       10.80                         30   $         324.00
Virginia Warehouse      Pet Food, Feed & Supplies   06614010     ESBILAC MILK REPLACR PUP 11OZ                       $        4.60                         33   $         151.80
Virginia Warehouse      Pet Food, Feed & Supplies   06630085     SH WORMX DS LIQ WORMER DOG 2OZ                      $        9.15                         35   $         320.25
Virginia Warehouse      Pet Food, Feed & Supplies   90098766     CAP FLEA TREATMENT/DOG 2-25LB                       $       25.46                         40   $       1,018.40
Virginia Warehouse      Pet Food, Feed & Supplies   06686629     AGW ANML CRATE SGL DR 21X14X17                      $       18.47                         43   $         794.21
Virginia Warehouse      Pet Food, Feed & Supplies   06614508     PETAG NURSING KIT CARDED 4 OZ                       $        6.99                         44   $         307.56
Virginia Warehouse      Pet Food, Feed & Supplies   06660242     NEMEX-2 LIQUID WORMER 1 PINT                        $       96.24                         46   $       4,427.04
Virginia Warehouse      Pet Food, Feed & Supplies   06684637     WB PRAIRIE BISON BONE DG TREAT                      $        0.88                         48   $          42.24
Virginia Warehouse      Pet Food, Feed & Supplies   06655015     FARNAM LEATHER NEW 32OZ                             $       12.39                         55   $         681.45
Virginia Warehouse      Pet Food, Feed & Supplies   06615950     LEXOL LEATHER CONDITIONER 1L                        $       11.33                         57   $         645.81
Virginia Warehouse      Pet Food, Feed & Supplies   06664166     PS LITHIUM BATTERY 6 VOLT                           $        5.77                         65   $         375.05
Virginia Warehouse      Pet Food, Feed & Supplies   06686630     AGW ANML CRATE DBL DR 35X24X26                      $       48.49                         68   $       3,297.32
Virginia Warehouse      Pet Food, Feed & Supplies   06634751     KMR KITTEN MILK REP POWDER 6OZ                      $       13.72                         71   $         974.12
Virginia Warehouse      Pet Food, Feed & Supplies   06651388     JNC PORK FMUR BNE CHEW DOG 1PK                      $        2.87                         72   $         206.64
Virginia Warehouse      Pet Food, Feed & Supplies   06648134     BAY ADVANTIX II FLEA DOG 21-55                      $       50.06                         73   $       3,654.38
Virginia Warehouse      Pet Food, Feed & Supplies   06651156     PL KTN MILK REPLPMENT PWD 10.5                      $        9.89                         79   $         781.31
Virginia Warehouse      Pet Food, Feed & Supplies   06651158     PL PUP MILK REPLCMENT PWD 10.5                      $        9.49                         87   $         825.63
Virginia Warehouse      Pet Food, Feed & Supplies   06621347     LG FEEDER W/SIFTER BOTTOM 7IN                       $       11.10                         91   $       1,010.10
Virginia Warehouse      Pet Food, Feed & Supplies   11400541     PEPPERMINT HORSE NUGGET 1LB                         $        3.22                         95   $         305.90
Virginia Warehouse      Pet Food, Feed & Supplies   06655753     BAY ADVNTX II FLEA 21-55LB 2PK                      $       26.42                         97   $       2,562.74
Virginia Warehouse      Pet Food, Feed & Supplies   06621135     LG WIRE CAGE CLIPS 1LB                              $        3.35                        112   $         375.20
Virginia Warehouse      Pet Food, Feed & Supplies   06659224     PC SCOOPABLE CAT LITTER 25LB                        $        9.97                        114   $       1,136.58
Virginia Warehouse      Pet Food, Feed & Supplies   06681661     FARNAM FLYS-OFF OINTMENT 7OZ                        $        7.29                        115   $         838.35
Virginia Warehouse      Pet Food, Feed & Supplies   06634745     KMR KITTEN MILK REPLC LIQ 11OZ                      $        5.60                        117   $         655.20
Virginia Warehouse      Pet Food, Feed & Supplies   11405668     ALL PURPOSE GOAT PAIL 18LB                          $       19.48                        124   $       2,415.52
Virginia Warehouse      Pet Food, Feed & Supplies   11400540     APPLE HORSE NUGGET 1LB                              $        3.22                        126   $         405.72
Virginia Warehouse      Pet Food, Feed & Supplies   06687020     WB PEANUT BUTTER BONE DG TREAT                      $        1.00                        144   $         144.00
Virginia Warehouse      Pet Food, Feed & Supplies   06687021     WB SALMON BONE RECIPE DG TREAT                      $        1.00                        144   $         144.00
Virginia Warehouse      Pet Food, Feed & Supplies   06687023     WB HAM BONE RECIPE DOG TREAT                        $        1.00                        144   $         144.00
Virginia Warehouse      Pet Food, Feed & Supplies   06609718     AGWAY SPIRAL STAKE 18IN                             $        2.36                        149   $         351.64
Virginia Warehouse      Pet Food, Feed & Supplies   06687017     WB VENISON BONE POT RST TREAT                       $        1.00                        168   $         168.00
Virginia Warehouse      Pet Food, Feed & Supplies   06659226     CT NAT UNSCENT CAT LITTER 25LB                      $        5.64                        195   $       1,099.80
Virginia Warehouse      Pet Food, Feed & Supplies   55663055     BJ BB2 DEER ATTRACT GRAN 20LB                       $       16.94                        203   $       3,438.82
Virginia Warehouse      Pet Food, Feed & Supplies   57970032     BJ BB2 CUBE DEER ATTRACT 25LB                       $       20.98                        249   $       5,224.02
Virginia Warehouse      Pet Food, Feed & Supplies   11432540     SWT PDZ STL REFRESHR POWDER 40                      $       16.05                        341   $       5,473.05
Virginia Warehouse      Pet Food, Feed & Supplies   10002860     RW SHAVINGS PREM SAWDUST 3CUFT                      $        6.99                        741   $       5,179.59
Virginia Warehouse      Pet Food, Feed & Supplies   50001661     SM PREM HI ENRGY DOG FOOD 50LB                      $       31.13                        793   $      24,686.09
Virginia Warehouse      Pet Food, Feed & Supplies   11432542     SWEET PDZ STALL REFRSH GRAN 40                      $       12.50                      1,087   $      13,587.50
Virginia Warehouse      Pet Food, Feed & Supplies   50001654     SM PREM MAINT DOG FOOD 50LB                         $       28.49                      1,339   $      38,148.11
Virginia Warehouse      Pet Food, Feed & Supplies   50001863     SM PREM ENERGY + DOG FOOD 50LB                      $       31.13                      2,186   $      68,050.18
Virginia Warehouse      Seasonal Home & Hardware    06686547     DPC HD LG CAGE TRAP 12X12X28IN                      $       54.72                          1   $          54.72
Virginia Warehouse      Seasonal Home & Hardware    07005353     DO NOT USE - STN FM AUTO-LK TAPE 1 1/4X30FT         $       35.70                          1   $          35.70
Virginia Warehouse      Seasonal Home & Hardware    10111411     WBR SPIRIT II E210 GRILL LP BK                      $      448.00                          1   $         448.00
Virginia Warehouse      Seasonal Home & Hardware    10112083     WBR GEN SE-310 GAS GRILL LP BK                      $      601.27                          1   $         601.27
Virginia Warehouse      Seasonal Home & Hardware    10304585     21B-34M8766 FT TILLER 208CC 24                      $      600.61                          1   $         600.61
Virginia Warehouse      Seasonal Home & Hardware    10305279     GEN SW PRESSURE WASHER 2900PSI                      $      366.66                          1   $         366.66
Virginia Warehouse      Seasonal Home & Hardware    07005712     KC NYL TWST M/L WHT #18X1050FT                      $        5.88                          2   $          11.76
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                                                   Agway Item
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                                                                                                                   Wholesale Price   Units Included in APA        Extended Wholesale
Location of Inventory   Product Category           Number       Agway Product Description                          per Unit          as of 7/21/2022              Value

Virginia Warehouse      Seasonal Home & Hardware   07005754     KC SUPER GROUND STAKE 11IN                          $        2.21                             2   $            4.42
Virginia Warehouse      Seasonal Home & Hardware   09500164     HYDE PUTTY/JOINT KNIFE 3IN                          $        7.15                             2   $           14.30
Virginia Warehouse      Seasonal Home & Hardware   10115861     WBR SPIRIT SX 315 GAS GRILL                         $      850.00                             2   $        1,700.00
Virginia Warehouse      Seasonal Home & Hardware   10223621     MG WOODEN PLANTER TRICYCLE                          $       52.88                             2   $          105.76
Virginia Warehouse      Seasonal Home & Hardware   05300782     495-4 FUEL TNK FILTER RPL BOWL                      $       15.44                             3   $           46.32
Virginia Warehouse      Seasonal Home & Hardware   07005724     KC BRD ROPE CG/BRN/BLK 3/8X100                      $       10.27                             3   $           30.81
Virginia Warehouse      Seasonal Home & Hardware   07005980     ANC RECVRY STRAP POLY 2INX15FT                      $       14.31                             3   $           42.93
Virginia Warehouse      Seasonal Home & Hardware   09500975     DO NOT USE - WST SHRLK PRO ROLLER FRAME 9IN         $        8.43                             3   $           25.29
Virginia Warehouse      Seasonal Home & Hardware   09500978     DO NOT USE - BRC HANDY PAINT PAIL                   $       10.10                             3   $           30.30
Virginia Warehouse      Seasonal Home & Hardware   10101531     WBR ORG KETTLE BLACK 22IN                           $      122.75                             3   $          368.25
Virginia Warehouse      Seasonal Home & Hardware   10115858     WBR SUM S6 KAMADO CHARC GRILL                       $    1,711.71                             3   $        5,135.13
Virginia Warehouse      Seasonal Home & Hardware   10305280     GEN VS PRESSURE WASHER 3100PSI                      $      418.30                             3   $        1,254.90
Virginia Warehouse      Seasonal Home & Hardware   05904434     WH LP FRC AIR HEATER 30K-60K                        $      125.18                             4   $          500.72
Virginia Warehouse      Seasonal Home & Hardware   06753647     SAS NITRILE GLOVE BLK L 3/PK                        $        4.96                             4   $           19.84
Virginia Warehouse      Seasonal Home & Hardware   07003351     284BC LIGHT T HINGES ZINC 5IN                       $        1.41                             4   $            5.64
Virginia Warehouse      Seasonal Home & Hardware   07005745     KC PVC COATED WIRE GRN 5/32X50                      $        3.53                             4   $           14.12
Virginia Warehouse      Seasonal Home & Hardware   07005903     KC SISAL TWISTED ROPE 1/2X50FT                      $       13.78                             4   $           55.12
Virginia Warehouse      Seasonal Home & Hardware   09500996     DO NOT USE - 3M BL PAINTR TAPE SGL ROLL 1.5         $        5.04                             4   $           20.16
Virginia Warehouse      Seasonal Home & Hardware   10101529     WBR ORG KETTLE BLACK 18IN                           $       95.76                             4   $          383.04
Virginia Warehouse      Seasonal Home & Hardware   10115857     WBR SUM EX6 KAMADO CHARC GRILL                      $    1,015.18                             4   $        4,060.72
Virginia Warehouse      Seasonal Home & Hardware   05904427     WH KRS FRC AIR HEATER 140-180K                      $      435.48                             5   $        2,177.40
Virginia Warehouse      Seasonal Home & Hardware   06615576     HAVAHART TRAP 18INX5INX5IN                          $       33.51                             5   $          167.55
Virginia Warehouse      Seasonal Home & Hardware   07003750     DO NOT USE - WS MTLMTR SNIP LEFT CUT 9.75IN         $       20.07                             5   $          100.35
Virginia Warehouse      Seasonal Home & Hardware   07004143     STN X-HVY T HINGE W/O SCRW 8IN                      $        6.13                             5   $           30.65
Virginia Warehouse      Seasonal Home & Hardware   07005355     DO NOT USE - STN FM FRAMING HAMMER 22OZ             $       30.80                             5   $          154.00
Virginia Warehouse      Seasonal Home & Hardware   11500565     TOMCAT RAT/MICE GLUE BOARD PK2                      $        4.38                             5   $           21.90
Virginia Warehouse      Seasonal Home & Hardware   06700849     1290 STALLN LTHR PALM GLOVE L                       $        6.53                             6   $           39.18
Virginia Warehouse      Seasonal Home & Hardware   07004138     V284 LIGHT T-HINGE ZNC 4IN 2PK                      $        3.94                             6   $           23.64
Virginia Warehouse      Seasonal Home & Hardware   07005730     KC BRD ROPE REFL ORG 1/4X100FT                      $       10.27                             6   $           61.62
Virginia Warehouse      Seasonal Home & Hardware   09500994     DO NOT USE - 3M BL SURFCE TAPE SGL ROLL 1.5         $        8.64                             6   $           51.84
Virginia Warehouse      Seasonal Home & Hardware   05300284     RES TOWPOWR COUPLER LOCK BRASS                      $       10.18                             7   $           71.26
Virginia Warehouse      Seasonal Home & Hardware   07002757     DQB DRVWAY BRUSH SQUEEGEE 18IN                      $        8.33                             7   $           58.31
Virginia Warehouse      Seasonal Home & Hardware   07004590     DC ALKALINE 9V BATTERY 1/PK                         $        5.21                             7   $           36.47
Virginia Warehouse      Seasonal Home & Hardware   07004164     3240BC CLV GRAB HOOK BLU 1/4IN                      $        2.93                             8   $           23.44
Virginia Warehouse      Seasonal Home & Hardware   05300003     FR ROTARY HAND PUMP W/ADP/100S                      $      211.36                             9   $        1,902.24
Virginia Warehouse      Seasonal Home & Hardware   06617452     HYKO BEWARE OF THE DOG SIGN                         $        0.59                             9   $            5.31
Virginia Warehouse      Seasonal Home & Hardware   07005999     ANC TIEDOWN RATCHET 1.25X16                         $       17.33                             9   $          155.97
Virginia Warehouse      Seasonal Home & Hardware   09502618     DO NOT USE - PPG VOC COLORANT FUT V QND VLT         $       44.30                             9   $          398.70
Virginia Warehouse      Seasonal Home & Hardware   05903828     MH MH540T GC HEATER 30-45K BTU                      $       88.38                            10   $          883.80
Virginia Warehouse      Seasonal Home & Hardware   07003368     V508 REM PN HNGS BRS 1-1/2 2PK                      $        2.63                            10   $           26.30
Virginia Warehouse      Seasonal Home & Hardware   07005982     ANC RECVRY STRAP POLY 3INX30FT                      $       35.87                            10   $          358.70
Virginia Warehouse      Seasonal Home & Hardware   07003306     115BC CRNR BRACE ZINC 10X1-1/4                      $        5.91                            11   $           65.01
Virginia Warehouse      Seasonal Home & Hardware   07003466     3253BC GRAB HOOKS YLW 3/8IN                         $        5.39                            11   $           59.29
Virginia Warehouse      Seasonal Home & Hardware   07005753     KC SISAL TWINE NTRL MED 2250FT                      $       15.92                            11   $          175.12
Virginia Warehouse      Seasonal Home & Hardware   07010606     V172 PULL ZINC 5 1/2IN                              $        2.22                            11   $           24.42
Virginia Warehouse      Seasonal Home & Hardware   09502611     DO NOT USE - PPG VOC COLORNT FUT D THALO GR         $       30.34                            11   $          333.74
Virginia Warehouse      Seasonal Home & Hardware   06650684     SAS CHEM SPLASH SAFETY GOGGLES                      $        3.17                            12   $           38.04
Virginia Warehouse      Seasonal Home & Hardware   06720572     4087X UNLND LEATHER PALM GLOVE                      $       26.56                            12   $          318.72
Virginia Warehouse      Seasonal Home & Hardware   06796924     4087L DEERSKIN MECHANIC GLOVE                       $       26.56                            12   $          318.72
Virginia Warehouse      Seasonal Home & Hardware   07003332     118BC MEND BRACES ZINC 6X3/4IN                      $        0.85                            12   $           10.20
Virginia Warehouse      Seasonal Home & Hardware   07004196     2160BC EYE BOLT ZINC 3/8X4IN                        $        0.74                            12   $            8.88
Virginia Warehouse      Seasonal Home & Hardware   11503040     2LB ROEBIC K-77 ROOT KILLER                         $       16.01                            12   $          192.12
Virginia Warehouse      Seasonal Home & Hardware   07004166     3240BC CLV GRAB HOOK BLU 3/8IN                      $        4.75                            13   $           61.75
Virginia Warehouse      Seasonal Home & Hardware   07005855     KC NYL BRAID ROPE WHT 1/8X50FT                      $        1.48                            13   $           19.24
Virginia Warehouse      Seasonal Home & Hardware   11500562     TOMCAT PLACE PACS 3OZ PAIL/22                       $       32.77                            13   $          426.01
Virginia Warehouse      Seasonal Home & Hardware   06000421     LDR FLEXIBLE CAP 1-1/2IN                            $        1.92                            14   $           26.88
Virginia Warehouse      Seasonal Home & Hardware   07004165     3240BC CLV GRAB HOOK BL 5/16IN                      $        3.61                            14   $           50.54
Virginia Warehouse      Seasonal Home & Hardware   07004634     NO-SPILL GASOLINE CAN 5.0 GAL                       $       33.27                            14   $          465.78
Virginia Warehouse      Seasonal Home & Hardware   07005752     KC SISAL TWINE NATRL MED 300FT                      $        2.49                            14   $           34.86
Virginia Warehouse      Seasonal Home & Hardware   11500492     HAWK PLACE PACS RATS/MICE 8LB                       $       50.73                            14   $          710.22
Virginia Warehouse      Seasonal Home & Hardware   07004198     2160BC EYE BOLT ZINC 3/8X6IN                        $        0.82                            16   $           13.12
Virginia Warehouse      Seasonal Home & Hardware   08008439     CB SQUARE TRACK GALV 16 FT                          $       40.44                            16   $          647.04
Virginia Warehouse      Seasonal Home & Hardware   06615554     HH PRO CAGE TRAP 12X10X32IN                         $       64.19                            17   $        1,091.23
Virginia Warehouse      Seasonal Home & Hardware   06615582     HAVAHART TRAP 36INX11INX11IN                        $       74.13                            17   $        1,260.21
Virginia Warehouse      Seasonal Home & Hardware   10115562     DPC 0469 COIL SPRING TRAP SZ 1                      $        8.65                            17   $          147.05
Virginia Warehouse      Seasonal Home & Hardware   09500466     RUS SPRAY PAINT GRY PRIMR 12OZ                      $        4.88                            18   $           87.84
Virginia Warehouse      Seasonal Home & Hardware   07004587     DC ALKALINE C BATTERY 4/PK                          $        9.58                            19   $          182.02
Virginia Warehouse      Seasonal Home & Hardware   09500624     FLEX SEAL LIQ RUBBER BLK 1GAL                       $       84.32                            19   $        1,602.08
Virginia Warehouse      Seasonal Home & Hardware   06617490     HYKO SLOW MOVING VEHICLE EMBLM                      $        7.92                            20   $          158.40
Virginia Warehouse      Seasonal Home & Hardware   07003313     V115 CN BRACE ZN 3/4X1/2IN 4PK                      $        1.48                            20   $           29.60
Virginia Warehouse      Seasonal Home & Hardware   07003371     V508 REM PIN HNGE BR 2-1/2 2PK                      $        3.15                            20   $           63.00
Virginia Warehouse      Seasonal Home & Hardware   07003395     V2030 #108 BND HKS 2-1/4IN 5PK                      $        0.88                            20   $           17.60
Virginia Warehouse      Seasonal Home & Hardware   07003397     V2030 112 BND HKS 1-3/8IN 10PK                      $        0.88                            20   $           17.60
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                                  Case 22-10602-JKSAgway Item
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                                                                                                                  Wholesale Price   Units Included in APA         Extended Wholesale
Location of Inventory   Product Category           Number       Agway Product Description                         per Unit          as of 7/21/2022               Value

Virginia Warehouse      Seasonal Home & Hardware   07003417     V2072 809 CLSD HKS 2-1/8IN 3PK                     $        0.88                             20   $          17.60
Virginia Warehouse      Seasonal Home & Hardware   07003451     3203BC FIX SGL PULLEY NKL 3/4                      $        1.33                             20   $          26.60
Virginia Warehouse      Seasonal Home & Hardware   07004635     NO-SPILL KEROSENE CAN 5.0 GAL                      $       33.27                             20   $         665.40
Virginia Warehouse      Seasonal Home & Hardware   10220056     ANI B/R ATTRACTANT APPLE 6LB                       $       12.57                             20   $         251.40
Virginia Warehouse      Seasonal Home & Hardware   06686545     DPC #3-1 DR CAGE TRAP 10X12X32                     $       43.76                             21   $         918.96
Virginia Warehouse      Seasonal Home & Hardware   07003874     O-CEDAR MAXIPLUS LOBY DUST PAN                     $       16.91                             21   $         355.11
Virginia Warehouse      Seasonal Home & Hardware   10115556     DPC #110 BODY TRAP                                 $        6.63                             22   $         145.86
Virginia Warehouse      Seasonal Home & Hardware   11504402     RAMIK GRN BAIT PACKS 4OZ                           $       71.99                             22   $       1,583.78
Virginia Warehouse      Seasonal Home & Hardware   09500315     WL 3006 ACRYL LATEX CAULK 10OZ                     $        4.39                             23   $         100.97
Virginia Warehouse      Seasonal Home & Hardware   06603638     HYKO DRIVEWAY MARKER RED 48IN                      $        1.77                             24   $          42.48
Virginia Warehouse      Seasonal Home & Hardware   10214662     REV BAIT GLUE TRAY F/MICE 2PK                      $        1.98                             24   $          47.52
Virginia Warehouse      Seasonal Home & Hardware   05903981     DH ELE FRC AIR HEATER 240V-17K                     $       93.54                             26   $       2,432.04
Virginia Warehouse      Seasonal Home & Hardware   07001613     QUIK BLACKTOP REPAIR 50LB                          $       16.14                             26   $         419.64
Virginia Warehouse      Seasonal Home & Hardware   07001965     N258-699 TRIGGR SNAP 5/8X2-1/2                     $        1.96                             26   $          50.96
Virginia Warehouse      Seasonal Home & Hardware   11500487     TOMCAT MOUSE BAIT W/4 REFILLS                      $        4.62                             27   $         124.74
Virginia Warehouse      Seasonal Home & Hardware   05905455     MH BIG BUDDY HEATER 18K BTU                        $      135.87                             29   $       3,940.23
Virginia Warehouse      Seasonal Home & Hardware   06617461     HYKO AUTO FOR SALE SIGN 9X12IN                     $        0.59                             29   $          17.11
Virginia Warehouse      Seasonal Home & Hardware   11500493     JAGUAR PLACE PACS RATS/MICE 73                     $       67.60                             29   $       1,960.40
Virginia Warehouse      Seasonal Home & Hardware   06650680     SAS NUISANCE DUST MASK 5/PK                        $        1.84                             30   $          55.20
Virginia Warehouse      Seasonal Home & Hardware   07003385     V2000 HOOK/EYE STL ZNC 1IN 2PK                     $        0.87                             30   $          26.10
Virginia Warehouse      Seasonal Home & Hardware   11500510     JOB II BAIT CHNK RAT KILLR 8LB                     $       48.68                             32   $       1,557.76
Virginia Warehouse      Seasonal Home & Hardware   07003454     3214BC FIX DBL PULLEY 1-1/2IN                      $        6.65                             33   $         219.45
Virginia Warehouse      Seasonal Home & Hardware   07004215     STN BOLT SNAP CHROME 1/2X3IN                       $        1.25                             34   $          42.50
Virginia Warehouse      Seasonal Home & Hardware   10220058     ANI B/R ATTRACTANT ACORN 6LB                       $       12.57                             34   $         427.38
Virginia Warehouse      Seasonal Home & Hardware   06720574     8436 ASSEMBLY GRIP GLOVE L                         $        5.92                             36   $         213.12
Virginia Warehouse      Seasonal Home & Hardware   07002639     MW FUNNEL BLUE 1 PT                                $        0.73                             36   $          26.28
Virginia Warehouse      Seasonal Home & Hardware   06632956     W&F MLD/MLDW STAIN REMOVER .5G                     $       17.70                             39   $         690.30
Virginia Warehouse      Seasonal Home & Hardware   07002810     O-CEDAR WHSE 100% CORN BROOM                       $       18.70                             39   $         729.30
Virginia Warehouse      Seasonal Home & Hardware   07016656     AGWAY POLY TARP BLUE 30FTX40FT                     $       59.64                             39   $       2,325.96
Virginia Warehouse      Seasonal Home & Hardware   07003330     V118 MND BRACE GLV 3X5/8IN 4PK                     $        5.21                             40   $         208.40
Virginia Warehouse      Seasonal Home & Hardware   07004190     2150BC LAG SCREW ZN 7/16X5 1/4                     $        1.52                             42   $          63.84
Virginia Warehouse      Seasonal Home & Hardware   11500498     RAMIK BARS F/RAT/MICE 4PK 16OZ                     $       16.95                             42   $         711.90
Virginia Warehouse      Seasonal Home & Hardware   07005983     ANC RECVRY STRAP POLY 4INX40FT                     $       67.02                             43   $       2,881.86
Virginia Warehouse      Seasonal Home & Hardware   07004189     2150BC LAG SCREW ZNC 3/8X4 1/2                     $        0.83                             45   $          37.35
Virginia Warehouse      Seasonal Home & Hardware   07003374     V518 N/R PIN HINGES ZN 1IN 2PK                     $        1.74                             46   $          80.04
Virginia Warehouse      Seasonal Home & Hardware   06632957     W&F MLD/MLDW STAIN REMOVER GAL                     $       24.03                             48   $       1,153.44
Virginia Warehouse      Seasonal Home & Hardware   09500395     RUS SPR PAINT GLOSS BLK 12OZ                       $        4.88                             48   $         234.24
Virginia Warehouse      Seasonal Home & Hardware   10200563     EH WLD PERSIMMN SALT BLOCK 4LB                     $        4.15                             48   $         199.20
Virginia Warehouse      Seasonal Home & Hardware   07003355     V286S #12 WD SCRW 1-1/4IN 18PK                     $        1.22                             50   $          61.00
Virginia Warehouse      Seasonal Home & Hardware   07004187     2150BC LAG SCREW ZNC 1/4X3 3/4                     $        0.41                             50   $          20.50
Virginia Warehouse      Seasonal Home & Hardware   11500304     RAMIK MINI BARS PAIL 4LB                           $       23.62                             53   $       1,251.86
Virginia Warehouse      Seasonal Home & Hardware   11500346     RAMIK MULTI-CATCH MOUSE TRAP                       $       13.27                             54   $         716.58
Virginia Warehouse      Seasonal Home & Hardware   12100029     BT CLR LWN/LEAF BAG 39GAL 40CT                     $       18.40                             54   $         993.60
Virginia Warehouse      Seasonal Home & Hardware   10115566     DPC COIL SPRING TRAP SZ 1.5                        $        9.41                             55   $         517.55
Virginia Warehouse      Seasonal Home & Hardware   07002543     BEH GALV HOT DIP RND TUB 17GAL                     $       28.05                             57   $       1,598.85
Virginia Warehouse      Seasonal Home & Hardware   11500500     RAMIK GREEN RAT/MICE 4LB DS/15                     $      206.03                             57   $      11,743.71
Virginia Warehouse      Seasonal Home & Hardware   11504280     TOMCAT RAT BAIT STATION                            $       19.42                             57   $       1,106.94
Virginia Warehouse      Seasonal Home & Hardware   06617434     HYKO NO TRESP/HUNTING/FISH SIG                     $        1.31                             62   $          81.22
Virginia Warehouse      Seasonal Home & Hardware   06665725     HYKO DRIVEWAY MARKER 48IN                          $        2.24                             62   $         138.88
Virginia Warehouse      Seasonal Home & Hardware   05904585     DRFLM OUTDR FIRELOG 3-2LB LOG                      $        9.70                             64   $         620.80
Virginia Warehouse      Seasonal Home & Hardware   06753648     SAS NITRILE GLOVE BLK XL 3/PK                      $        4.96                             64   $         317.44
Virginia Warehouse      Seasonal Home & Hardware   06662154     EZR DIAL THERMOMETER AMER FLAG                     $        9.82                             66   $         648.12
Virginia Warehouse      Seasonal Home & Hardware   07003341     V121 CNR BRC 2-1/2X1-1/2IN 2PK                     $        3.28                             67   $         219.76
Virginia Warehouse      Seasonal Home & Hardware   10115558     DPC #220 BODY TRAP                                 $       16.71                             68   $       1,136.28
Virginia Warehouse      Seasonal Home & Hardware   07003390     V2001 HOOKS/EYES BRASS 2-1/2IN                     $        1.65                             69   $         113.85
Virginia Warehouse      Seasonal Home & Hardware   10115568     DPC COIL SPRING TRAP SZ 1.7                        $       12.97                             72   $         933.84
Virginia Warehouse      Seasonal Home & Hardware   07003445     3200BC ROPE CLEATS NICKEL 6IN                      $        1.69                             76   $         128.44
Virginia Warehouse      Seasonal Home & Hardware   11500532     RAMIK MINI BAR RAT KILL 4LB                        $       22.66                             76   $       1,722.16
Virginia Warehouse      Seasonal Home & Hardware   07002638     MW FUNNEL RED 1/2 PT                               $        0.52                             78   $          40.56
Virginia Warehouse      Seasonal Home & Hardware   06650682     SAS R95 DL CARTRDGE RESPIRATOR                     $       19.26                             81   $       1,560.06
Virginia Warehouse      Seasonal Home & Hardware   07000344     AGWAY #8 DELUXE BARN BROOM                         $       19.88                             87   $       1,729.56
Virginia Warehouse      Seasonal Home & Hardware   07014040     AGWAY TARP SLVR/BLK 20FTX40FT                      $       79.71                             89   $       7,094.19
Virginia Warehouse      Seasonal Home & Hardware   05300409     PEAK GEAR OIL SAE 85W-140 1GAL                     $       14.57                             93   $       1,355.01
Virginia Warehouse      Seasonal Home & Hardware   07004632     NO-SPILL GASOLINE CAN 1.25 GAL                     $       17.74                             97   $       1,720.78
Virginia Warehouse      Seasonal Home & Hardware   07016657     AGWAY POLY TARP BLUE 40FTX60FT                     $      104.17                            104   $      10,833.68
Virginia Warehouse      Seasonal Home & Hardware   07016665     AGWAY TIE DWN/J HK 1-1/2X14 2P                     $       13.84                            105   $       1,453.20
Virginia Warehouse      Seasonal Home & Hardware   05200152     NANO DRY LUBRICANT 11OZ                            $        8.57                            108   $         925.56
Virginia Warehouse      Seasonal Home & Hardware   07003367     V508 REM PN HNG ZN 1-1/2IN 2PK                     $        2.16                            116   $         250.56
Virginia Warehouse      Seasonal Home & Hardware   07016676     AGWAY CARGO NET/32 HKS 72X96IN                     $       11.07                            119   $       1,317.33
Virginia Warehouse      Seasonal Home & Hardware   07014023     AGWAY PLY TARP BLUE 20FTX40FT                      $       46.61                            122   $       5,686.42
Virginia Warehouse      Seasonal Home & Hardware   06686634     AGW ANML TRAP SGL DR 32X10X11                      $       46.20                            132   $       6,098.40
Virginia Warehouse      Seasonal Home & Hardware   07016655     AGWAY POLY TARP BLUE 20FTX30FT                     $       27.91                            133   $       3,712.03
Virginia Warehouse      Seasonal Home & Hardware   07014038     AGWAY TARP SLVR/BLK 12FTX20FT                      $       28.61                            134   $       3,833.74
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                                                                                                                  Wholesale Price   Units Included in APA     Extended Wholesale
Location of Inventory   Product Category           Number       Agway Product Description                         per Unit          as of 7/21/2022           Value

Virginia Warehouse      Seasonal Home & Hardware   07014021     AGWAY PLY TARP BLUE 20FTX20FT                      $        21.45                       135   $       2,895.75
Virginia Warehouse      Seasonal Home & Hardware   11504406     RAMIK NUGGETS PAIL 4LB                             $        29.52                       138   $       4,073.76
Virginia Warehouse      Seasonal Home & Hardware   11500516     HAVOC BAIT PELLET RAT/MICE 50G                     $        63.35                       143   $       9,059.05
Virginia Warehouse      Seasonal Home & Hardware   10200567     EH APPLE MINERAL BLOCK 4LB                         $         4.15                       144   $         597.60
Virginia Warehouse      Seasonal Home & Hardware   06686638     AGW ANML TRAP SGL DR 17X7X8                        $        23.69                       146   $       3,458.74
Virginia Warehouse      Seasonal Home & Hardware   07016618     AG CABLE TIES 8IN BLACK PK/100                     $         2.08                       152   $         316.16
Virginia Warehouse      Seasonal Home & Hardware   11500584     RATX NON-TXC RAT/MICE CTRL 3LB                     $        31.72                       162   $       5,138.64
Virginia Warehouse      Seasonal Home & Hardware   07003331     V118 MND BRACE GLV 4X5/8IN 4PK                     $         6.28                       165   $       1,036.20
Virginia Warehouse      Seasonal Home & Hardware   11300050     CC SEL90 TRACE MINERL BLK 50LB                     $        14.32                       168   $       2,405.76
Virginia Warehouse      Seasonal Home & Hardware   07004633     NO-SPILL GASOLINE CAN 2.5 GAL                      $        22.27                       176   $       3,919.52
Virginia Warehouse      Seasonal Home & Hardware   06686550     MLR DT EONOMY LIVE TRAP 2PK                        $        29.44                       177   $       5,210.88
Virginia Warehouse      Seasonal Home & Hardware   11500597     FNM RODENTEX BAIT STATION 2PK                      $         5.57                       180   $       1,002.60
Virginia Warehouse      Seasonal Home & Hardware   07014035     AGWAY TARP SLVR/BLK 8FTX10FT                       $         9.92                       183   $       1,815.36
Virginia Warehouse      Seasonal Home & Hardware   07014022     AGWAY PLY TARP BLUE 20FTX25FT                      $        25.73                       192   $       4,940.16
Virginia Warehouse      Seasonal Home & Hardware   11500499     RAMIK NUGGETS RAT/MOUSE 4LB                        $        14.83                       192   $       2,847.36
Virginia Warehouse      Seasonal Home & Hardware   07016664     AGWAY TIE DOWN/S HK 1-1/2X14FT                     $         6.92                       196   $       1,356.32
Virginia Warehouse      Seasonal Home & Hardware   07003429     2160BC EYE BOLTS 3/16X2-1/2IN                      $         0.27                       200   $          54.00
Virginia Warehouse      Seasonal Home & Hardware   07016669     AGWAY WNCH STRAP/FLT HOOK 4X30                     $        13.84                       200   $       2,768.00
Virginia Warehouse      Seasonal Home & Hardware   07003163     MW FLEXIBLE FUNNEL                                 $         3.01                       204   $         614.04
Virginia Warehouse      Seasonal Home & Hardware   06686639     AGW ANML TRAP DBL DR 42X11X12                      $        61.59                       250   $      15,397.50
Virginia Warehouse      Seasonal Home & Hardware   06654510     REDMOND MNRL SALT 10 FINE 50LB                     $        13.31                       253   $       3,367.43
Virginia Warehouse      Seasonal Home & Hardware   07014037     AGWAY TARP SLVR/BLK 12FTX16FT                      $        22.96                       253   $       5,808.88
Virginia Warehouse      Seasonal Home & Hardware   06686636     AGW ANML TRAP DBL DR 36X11X12                      $        56.27                       259   $      14,573.93
Virginia Warehouse      Seasonal Home & Hardware   07003428     2160BC EYE BOLTS 3/16X1-1/2IN                      $         0.24                       269   $          64.56
Virginia Warehouse      Seasonal Home & Hardware   11500598     FNM RODENTEX BAIT STATION 3PK                      $         6.86                       288   $       1,975.68
Virginia Warehouse      Seasonal Home & Hardware   07000343     AGWAY #9 BARN BROOM W/BLK HDL                      $        22.66                       300   $       6,798.00
Virginia Warehouse      Seasonal Home & Hardware   05200688     SUPER S AGRI HYDRULC FLUID 5GL                     $        43.58                       303   $      13,204.74
Virginia Warehouse      Seasonal Home & Hardware   06686637     AGW ANML TRAP SGL DR 24X7X8                        $        31.98                       309   $       9,881.82
Virginia Warehouse      Seasonal Home & Hardware   07016619     AG CABLE TIES 11IN BLK PK/100                      $         3.06                       313   $         957.78
Virginia Warehouse      Seasonal Home & Hardware   06676246     HH LIVE CATCH ANIMAL TRAP 2PK                      $        39.56                       324   $      12,817.44
Virginia Warehouse      Seasonal Home & Hardware   11500682     NEOGEN CYKILL BLOCKS POUCH 4LB                     $        23.04                       336   $       7,741.44
Virginia Warehouse      Seasonal Home & Hardware   07007658     GOLDLINE HD RUBBER STRAP 21IN                      $         2.30                       356   $         818.80
Virginia Warehouse      Seasonal Home & Hardware   07003430     2160BC EYE BOLTS 1/4INX4IN                         $         0.37                       398   $         147.26
Virginia Warehouse      Seasonal Home & Hardware   11300262     ROTO PLAIN SALT BRICK WHT 4LB                      $         1.60                       405   $         648.00
Virginia Warehouse      Seasonal Home & Hardware   07014020     AGWAY PLY TARP BLUE 15FTX20FT                      $        17.77                       409   $       7,267.93
Virginia Warehouse      Seasonal Home & Hardware   07014019     AGWAY PLY TARP BLUE 12FTX25FT                      $        16.84                       412   $       6,938.08
Virginia Warehouse      Seasonal Home & Hardware   06686640     AGW ANML TRAP SGL DR 42X15X16                      $        82.92                       417   $      34,577.64
Virginia Warehouse      Seasonal Home & Hardware   06807848     8412PS LATEX PALM GLOVE L                          $         2.03                       438   $         889.14
Virginia Warehouse      Seasonal Home & Hardware   12101158     BALL MASON JAR REGULAR PINT                        $        11.84                       451   $       5,339.84
Virginia Warehouse      Seasonal Home & Hardware   06807843     84023PL PGSKN LTR WORK GLOVE L                     $         6.33                       462   $       2,924.46
Virginia Warehouse      Seasonal Home & Hardware   11300263     ROTO RED TRACE MINERAL BRICK 4                     $         1.78                       495   $         881.10
Virginia Warehouse      Seasonal Home & Hardware   10224880     BLM WATERCAN LIVING GREEN 2GAL                     $         8.23                       505   $       4,156.15
Virginia Warehouse      Seasonal Home & Hardware   07016617     AG CABLE TIES 5IN BLACK PK/100                     $         1.15                       507   $         583.05
Virginia Warehouse      Seasonal Home & Hardware   05300429     PEAK ATF DEXRON III/MERCON QT                      $         3.03                       522   $       1,581.66
Virginia Warehouse      Seasonal Home & Hardware   07013706     AGWAY HOSE CLAMP AST 26PC                          $         3.52                       531   $       1,869.12
Virginia Warehouse      Seasonal Home & Hardware   07013709     AGWAY HITCH CLIP AST 150PC                         $         4.36                       540   $       2,354.40
Virginia Warehouse      Seasonal Home & Hardware   06686633     AGW ANML TRAP SGL DR 10X6X7                        $        11.85                       549   $       6,505.65
Virginia Warehouse      Seasonal Home & Hardware   07013701     AGWAY COTTER PIN AST 555PC                         $         4.12                       559   $       2,303.08
Virginia Warehouse      Seasonal Home & Hardware   07013705     AGWAY HOSE CLAMP AST LGE 20PC                      $         4.60                       606   $       2,787.60
Virginia Warehouse      Seasonal Home & Hardware   07014036     AGWAY TARP SLVR/BLK 10FTX12FT                      $        13.73                       606   $       8,320.38
Virginia Warehouse      Seasonal Home & Hardware   06686635     AGW ANML TRAP DBL DR 24X7X8                        $        37.90                       609   $      23,081.10
Virginia Warehouse      Seasonal Home & Hardware   07014597     AGW LARGE COTTER PIN AST 144PC                     $         5.99                       627   $       3,755.73
Virginia Warehouse      Seasonal Home & Hardware   07013702     AGWAY NUT/WASHER AST 460PC                         $         5.09                       636   $       3,237.24
Virginia Warehouse      Seasonal Home & Hardware   06807845     84092LP LTR PALM S/CFF GLOVE L                     $         2.75                       642   $       1,765.50
Virginia Warehouse      Seasonal Home & Hardware   07014018     AGWAY PLY TARP BLUE 12FTX20FT                      $        13.04                       687   $       8,958.48
Virginia Warehouse      Seasonal Home & Hardware   07013704     AGWAY SAE NUT/BOLT AST 347PC                       $         3.04                       703   $       2,137.12
Virginia Warehouse      Seasonal Home & Hardware   06807851     8427CK LTX PALM HI VIS GLOVE L                     $         1.69                       708   $       1,196.52
Virginia Warehouse      Seasonal Home & Hardware   07016620     AG CABLE TIES 24IN BLK PK/10                       $         1.50                       719   $       1,078.50
Virginia Warehouse      Seasonal Home & Hardware   07016623     AG CABLE TIES 11IN WH PK/100                       $         3.06                       756   $       2,313.36
Virginia Warehouse      Seasonal Home & Hardware   07016624     AG CABLE TIES 15IN WH PK/100                       $         4.04                       761   $       3,074.44
Virginia Warehouse      Seasonal Home & Hardware   07013710     AGWAY HOME HARDWARE AST 600PC                      $         3.64                       773   $       2,813.72
Virginia Warehouse      Seasonal Home & Hardware   05901192     MT PROPANE CYLINDER OPD 20LB                       $        54.08                       784   $      42,398.72
Virginia Warehouse      Seasonal Home & Hardware   07016622     AG CABLE TIES 8IN WH PK/100                        $         2.08                       827   $       1,720.16
Virginia Warehouse      Seasonal Home & Hardware   07014606     AGW METRIC NUT/BOLT ASST 347PC                     $         3.04                       831   $       2,526.24
Virginia Warehouse      Seasonal Home & Hardware   07016626     AG AST CABLE TIE CANSTR PK/350                     $         3.52                       875   $       3,080.00
Virginia Warehouse      Seasonal Home & Hardware   07016625     AG CABLE TIES 24IN WH PK/10                        $         1.50                       898   $       1,347.00
Virginia Warehouse      Seasonal Home & Hardware   07016627     AG AST CABLE TIE CANSTR PK/500                     $         4.90                       898   $       4,400.20
Virginia Warehouse      Seasonal Home & Hardware   07016632     AG CABLE TIES 12IN SS PK/25                        $         3.40                       914   $       3,107.60
Virginia Warehouse      Seasonal Home & Hardware   06686631     AGW ANML TRAP DBL DR 10X3X3                        $        14.81                       957   $      14,173.17
Virginia Warehouse      Seasonal Home & Hardware   06686632     AGW ANML TRAP DBL DR 18X5X6                        $        23.69                       962   $      22,789.78
Virginia Warehouse      Seasonal Home & Hardware   07016621     AG CABLE TIES 4IN WHT PK/100                       $         0.75                       987   $         740.25
Virginia Warehouse      Seasonal Home & Hardware   07016628     AG AST CABLE TIE 7 SZ PK/1000                      $         7.03                       997   $       7,008.91
Virginia Warehouse      Seasonal Home & Hardware   07016629     AG AST CBLE TIE CANSTR PK/1200                     $        10.38                     1,024   $      10,629.12
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                                                                                                                  Wholesale Price   Units Included in APA     Extended Wholesale
Location of Inventory   Product Category           Number       Agway Product Description                         per Unit          as of 7/21/2022           Value

Virginia Warehouse      Seasonal Home & Hardware   07014017     AGWAY PLY TARP BLUE 12FTX16FT                      $        10.27                     1,039   $      10,670.53
Virginia Warehouse      Seasonal Home & Hardware   12101164     BALL LIDS WIDE MOUTH PK/12                         $         4.72                     1,056   $       4,984.32
Virginia Warehouse      Seasonal Home & Hardware   05300258     ELITE WDSHIELD WASHER -20 1GAL                     $         3.18                     1,274   $       4,051.26
Virginia Warehouse      Seasonal Home & Hardware   05300449     PEAK 2-CYCLE ENGINE OIL 8OZ                        $         1.40                     1,668   $       2,335.20
Virginia Warehouse      Seasonal Home & Hardware   07014013     AGWAY PLY TARP BLUE 6FTX8FT                        $         2.66                     1,674   $       4,452.84
Virginia Warehouse      Seasonal Home & Hardware   07014014     AGWAY PLY TARP BLUE 8FTX10FT                       $         4.26                     1,686   $       7,182.36
Virginia Warehouse      Seasonal Home & Hardware   07014016     AGWAY PLY TARP BLUE 10FTX12FT                      $         6.46                     1,827   $      11,802.42
Virginia Warehouse      Seasonal Home & Hardware   10225702     SPARTAN MOSQUITO PRO TECH                          $        19.20                     2,525   $      48,480.00
Virginia Warehouse      Wild Bird                  10216434     WD FRUIT N BERRY BIRD FOOD 5LB                     $         7.51                         2   $          15.02
Virginia Warehouse      Wild Bird                  10223735     CB JUBILEE HUMMINGBIRD FEEDER                      $        15.41                         2   $          30.82
Virginia Warehouse      Wild Bird                  10226042     BB BEAUTIFUL BIRD FOOD 17LB                        $        17.19                         2   $          34.38
Virginia Warehouse      Wild Bird                  10214092     CB SONGBIRD VINTGE BIRD FEEDER                     $        22.21                         4   $          88.84
Virginia Warehouse      Wild Bird                  10220943     CB SM LANTERN BRD FEEDER 2.6LB                     $        15.41                         4   $          61.64
Virginia Warehouse      Wild Bird                  10222200     AB NUT/FRUIT BLND BIRD FOOD 20                     $        22.16                         4   $          88.64
Virginia Warehouse      Wild Bird                  10223314     AB PRM TRL MX WLD BIRD FOOD 20                     $        24.98                         8   $         199.84
Virginia Warehouse      Wild Bird                  10211746     STOKES SELECT BIRD FEEDER JMB                      $        15.56                        12   $         186.72
Virginia Warehouse      Wild Bird                  10212866     CB DIAMND HUMNGBRD FEEDER 30OZ                     $        18.64                        12   $         223.68
Virginia Warehouse      Wild Bird                  10220944     CB LG LANTERN BRD FEEDER 3.8LB                     $        20.76                        12   $         249.12
Virginia Warehouse      Wild Bird                  10221058     AB PREM BLND WILD BIRD FOOD 20                     $        15.96                        13   $         207.48
Virginia Warehouse      Wild Bird                  10212861     CB X-1 SQUIRREL PROOF FEEDER                       $        38.67                        16   $         618.72
Virginia Warehouse      Wild Bird                  10204956     WD WOODPECKER BIRD FOOD 20LB                       $        31.49                        22   $         692.78
Virginia Warehouse      Wild Bird                  10218642     CB SUREFILL SQUIRREL-X4                            $        34.93                        24   $         838.32
Virginia Warehouse      Wild Bird                  10204955     WD WOODPECKER BIRD FOOD 5LB                        $         8.77                        27   $         236.79
Virginia Warehouse      Wild Bird                  10204960     WD SONGBIRD BIRD FOOD 8LB                          $         9.72                        28   $         272.16
Virginia Warehouse      Wild Bird                  10211876     MB JUBILEE HUMMINGBIRD FEEDER                      $        22.75                        28   $         637.00
Virginia Warehouse      Wild Bird                  10212862     CB X-2 SQUIRREL PROOF FEEDER                       $        31.87                        28   $         892.36
Virginia Warehouse      Wild Bird                  10221770     AB CRK CORN WLD BRD/CRTR FD 10                     $         5.50                        32   $         176.00
Virginia Warehouse      Wild Bird                  10206455     13OZ WD NUT N BERRY BLOCK                          $         3.76                        33   $         124.08
Virginia Warehouse      Wild Bird                  10223883     GEN MILO BIRD FOOD 50LB                            $        24.43                        33   $         806.19
Virginia Warehouse      Wild Bird                  06617760     C&S HIGH ENERGY SUET 11.75OZ                       $         1.77                        36   $          63.72
Virginia Warehouse      Wild Bird                  10204961     WD SONGBIRD BIRD FOOD 20LB                         $        21.87                        36   $         787.32
Virginia Warehouse      Wild Bird                  10216436     WD FRUIT BLEND BIRD FOOD 20LB                      $        37.30                        60   $       2,238.00
Virginia Warehouse      Wild Bird                  10221045     AB NUT/FRT BLEND BIRD FOOD 5LB                     $         6.89                        60   $         413.40
Virginia Warehouse      Wild Bird                  10207118     WD DECK/PRCH/PAT BIRD FOOD 5LB                     $        10.46                        65   $         679.90
Virginia Warehouse      Wild Bird                  10201007     NYJER THSTLE WLD BRD SEED 50LB                     $        41.06                        79   $       3,243.74
Virginia Warehouse      Wild Bird                  10216435     WD FRUIT BLEND BIRD FOOD 5LB                       $        10.45                        80   $         836.00
Virginia Warehouse      Wild Bird                  10221052     AB CRTTR CRNCH BIRD/CRTTR FD 5                     $         5.04                        84   $         423.36
Virginia Warehouse      Wild Bird                  10219974     WD SIZZLE N HEAT BIRD FOOD 5LB                     $         9.10                        91   $         828.10
Virginia Warehouse      Wild Bird                  10224820     AB NO-WSTE WILD BIRD FOOD 5LB                      $         6.70                       112   $         750.40
Virginia Warehouse      Wild Bird                  10204980     WD GOURMET WILD BIRD FOOD 8LB                      $         8.41                       116   $         975.56
Virginia Warehouse      Wild Bird                  10221789     AB NUT/FRUIT SEED CAKE 2.40LB                      $         5.78                       116   $         670.48
Virginia Warehouse      Wild Bird                  10219975     WD SIZZLE N HEAT BRD FOOD 14LB                     $        23.37                       162   $       3,785.94
Virginia Warehouse      Wild Bird                  10224031     AGWAY SWEET BERRY SUET 11OZ                        $         1.02                       192   $         195.84
Virginia Warehouse      Wild Bird                  10221049     AB PREM TRL MX BRD FOOD 4.75LB                     $         7.51                       204   $       1,532.04
Virginia Warehouse      Wild Bird                  10224038     AGWAY SUET MIXED BRY/PNUT PK10                     $         9.60                       225   $       2,160.00
Virginia Warehouse      Wild Bird                  10216508     SAB SP VARIETY WITH FEEDER 5PK                     $         8.20                       240   $       1,968.00
Virginia Warehouse      Wild Bird                  10205179     WD SPECIAL FINCH FOOD 5LB                          $         9.95                       255   $       2,537.25
Virginia Warehouse      Wild Bird                  10225890     AGWAY 2 SEED BIRD FEEDER 2LB                       $        24.01                       262   $       6,290.62
Virginia Warehouse      Wild Bird                  10223702     WD BUGS N BERRIES BRD FOOD 4.5                     $        10.99                       300   $       3,297.00
Virginia Warehouse      Wild Bird                  10205018     WD INSHELL PEANUTS 5LB                             $        10.25                       334   $       3,423.50
Virginia Warehouse      Wild Bird                  10204987     WD NUT N BERRY BIRD FOOD 5LB                       $         7.59                       351   $       2,664.09
Virginia Warehouse      Wild Bird                  10204989     WD NUT N BERRY BIRD FOOD 20LB                      $        24.91                       495   $      12,330.45
Virginia Warehouse      Wild Bird                  10224036     AGWAY MEALWORM SUET 11OZ                           $         1.40                       528   $         739.20
Virginia Warehouse      Wild Bird                  06604305     HEATH BLUEBERY DOUGH SUET CAKE                     $         1.73                       564   $         975.72
Virginia Warehouse      Wild Bird                  10221055     AB PNUT WLD BRD/CRTTR FOOD 3                       $         5.73                       612   $       3,506.76
Virginia Warehouse      Wild Bird                  10225892     AGWAY FINCH TUBE BIRD FEEDER .4LB                  $        20.95                       652   $      13,659.40
Virginia Warehouse      Wild Bird                  10225889     AGWAY MTL CGE TBE BRD FEEDER .5LB                  $        22.65                       653   $      14,790.45
Virginia Warehouse      Wild Bird                  10225888     AGWAY GLS HUMGBRD FEEDER CLR 16OZ                  $        19.02                       654   $      12,439.08
Virginia Warehouse      Wild Bird                  10225885     AGWAY B/M CGE TBE BRD FEEDR 1.3LB                  $        24.92                       656   $      16,347.52
Virginia Warehouse      Wild Bird                  10225883     AGWAY MTL CGE TB BIRD FEEDER 1LB                   $        30.58                       667   $      20,396.86
Virginia Warehouse      Wild Bird                  10225893     AGWAY GLS HUMGBRD FEEDER RED 27OZ                  $        17.32                       667   $      11,552.44
Virginia Warehouse      Wild Bird                  10225891     AGWAY SLVR TUBE BIRD FEEDER 1.6LB                  $        26.28                       671   $      17,633.88
Virginia Warehouse      Wild Bird                  10225887     AGWAY GLS HUMBIRD FEEDER RED 45OZ                  $        20.61                       674   $      13,891.14
Virginia Warehouse      Wild Bird                  10225884     AGWAY MTL TB CLS BRD FEEDR 2.25LB                  $        27.97                       675   $      18,879.75
Virginia Warehouse      Wild Bird                  10225886     AGWAY MTL CGE TBE BRD FEEDR .8LB                   $        19.25                       678   $      13,051.50
Virginia Warehouse      Wild Bird                  10224030     AGWAY PEANUT BLEND SUET 11OZ                       $         1.02                       864   $         881.28
Virginia Warehouse      Wild Bird                  10224034     AGWAY BLUEBERRY SUET 11OZ                          $         1.02                       936   $         954.72
Virginia Warehouse      Wild Bird                  10224885     AGWAY NUTS/BERRY SUET 11OZ                         $         1.05                     1,008   $       1,058.40
Virginia Warehouse      Wild Bird                  10224035     AGWAY CHERRY SUET 11OZ                             $         1.02                     1,152   $       1,175.04
Virginia Warehouse      Wild Bird                  10224033     AGWAY ORANGE ZEST SUET 11OZ                        $         1.02                     1,176   $       1,199.52
Virginia Warehouse      Wild Bird                  10225898     AGWAY CAGE TUBE BIRD FEEDER L 1LB                  $        13.59                     1,490   $      20,249.10
Virginia Warehouse      Wild Bird                  10225896     AGWAY SUET BASKET W/CHAIN SMALL                    $         3.39                     1,662   $       5,634.18
Virginia Warehouse      Wild Bird                  10225894     AGWAY SUET BASKET W/HANGER SMALL                   $         3.08                     1,686   $       5,192.88
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                                  Case 22-10602-JKS
                                            Agway Item
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                                                                                                           Wholesale Price   Units Included in APA     Extended Wholesale
Location of Inventory   Product Category    Number       Agway Product Description                         per Unit          as of 7/21/2022           Value

Virginia Warehouse      Wild Bird           10225895     AGWAY SUET BASKET W/HANGER LARGE                   $         2.77                     1,686   $     4,670.22
Virginia Warehouse      Wild Bird           10225897     AGWAY PLS TB SFLW BRD FEEDR .33LB                  $         8.49                     1,722   $    14,619.78
Virginia Warehouse      Wild Bird           06653686     SP VARIETY SUET CAKES PK/6                         $         6.49                     1,764   $    11,448.36
Virginia Warehouse      Wild Bird           06656492     CS NUTTY TRT SUET BIRD FD 11OZ                     $         1.24                     1,968   $     2,440.32
Virginia Warehouse      Wild Bird           10224032     AGWAY WOODPECKER SUET 11OZ                         $         1.02                     2,016   $     2,056.32
Virginia Warehouse      Wild Bird           10224029     AGWAY HIGH ENERGY SUET 11OZ                        $         0.98                     2,460   $     2,410.80
Virginia Warehouse      Wild Bird           10201879     HTH HIGH ENERGY BIRD BLND SUET                     $         1.01                    56,868   $    57,322.94
                                                                                                                                               TOTAL   $ 6,848,422.15




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